    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 1 of 128




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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 2 of 128




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             7KLVFDVHLVDERXW+DUULV&RXQW\MDLOLQJVRPHRILWVSRRUHVWSHRSOHEHFDXVHWKH\FDQQRW

DIIRUG WR PDNH D PRQHWDU\ SD\PHQW  1DPHG 3ODLQWLII 0DUDQGD /\QQ 2'RQQHOO LV FXUUHQWO\

EHLQJ KHOG LQ WKH +DUULV &RXQW\ MDLO EHFDXVH VKH FDQQRW SD\ D  PRQH\ EDLO DIWHU EHLQJ

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SXUVXDQWWR+DUULV&RXQW\¶VSUHGHWHUPLQHGPRQH\EDLOVFKHGXOHDQGZLWKRXWDQ\LQTXLU\LQWRRU

ILQGLQJV FRQFHUQLQJ KHU DELOLW\ WR SD\  %HFDXVH VKH LV LPSRYHULVKHG DQG FDQQRW DIIRUG WKH

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MDLO EHFDXVH RI WKHLU SRYHUW\  2Q DQ\ JLYHQ QLJKW RYHU  SHRSOH DUUHVWHG IRU PLVGHPHDQRUV

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SRVWDUUHVWZHDOWKEDVHGGHWHQWLRQVFKHPH3ODLQWLIIVFKDOOHQJHLQWKLVDFWLRQWKHXVHRIVHFXUHG

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VFKHGXOHDQGZLWKRXWDQ\LQTXLU\LQWRRUILQGLQJVFRQFHUQLQJWKHLUDELOLW\WRSD\%HFDXVHWKH\DUHLPSRYHULVKHG
DQGFDQQRWDIIRUGWKHSD\PHQWUHTXLUHGE\WKH&RXQW\IRUWKHLUUHOHDVHWKH\ZHUHNHSWLQD+DUULV&RXQW\MDLOFHOO
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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 3 of 128




             %\ DQG WKURXJK WKHLU DWWRUQH\V DQG RQ EHKDOI RI WKHPVHOYHV DQG DOO RWKHUV VLPLODUO\

VLWXDWHG 3ODLQWLIIV VHHN LQMXQFWLYH UHOLHI WR HQMRLQ WKH &RXQW\¶V ZHDOWKEDVHG SRVWDUUHVW

GHWHQWLRQSURFHGXUHVDQGDGHFODUDWLRQWKDW'HIHQGDQWVFDQQRWHPSOR\DV\VWHPRIZHDOWKEDVHG

GHWHQWLRQE\LPSRVLQJDQGHQIRUFLQJVHFXUHGILQDQFLDOFRQGLWLRQVRISUHWULDOUHOHDVHZLWKRXWDQ

LQTXLU\LQWRDQGILQGLQJVFRQFHUQLQJWKHDUUHVWHH¶VSUHVHQWDELOLW\WRSD\

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DUUHVWHHV IURP FXVWRG\ XQOHVV WKH\ SD\ D PRQHWDU\ VXP  7KH DPRXQW RI PRQH\ UHTXLUHG LV

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     Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 4 of 128




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'HSDUWPHQW HPSOR\HHV DQG DJHQWV VXSHUYLVH PRQLWRU DQG JLYH LQVWUXFWLRQV WR WKH DUUHVWHHV

GXULQJ WKH KHDULQJ  7KH 6KHULII WKHUHIRUH KDV NQRZOHGJH WKDW VHFXUHG ILQDQFLDO FRQGLWLRQV RI

UHOHDVHDUHLPSRVHGZLWKRXWDQ\LQTXLU\LQWRRUILQGLQJVFRQFHUQLQJDSHUVRQ¶VDELOLW\WRSD\WKH

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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 5 of 128




                       7KH 6KHULII LV DZDUH RI ZKR LV LQ WKH MDLOWKDW WKH 6KHULII UXQV DQG WKH EDVLV IRU

HDFK LQPDWH¶V GHWHQWLRQ LQFOXGLQJZKHWKHU DQ\ LQPDWH LV VXEMHFW WRDQ\ GHWDLQHUVRU RWKHUZLVH

LQHOLJLEOH IRU SUHWULDO UHOHDVH DQG WKH DPRXQW RI PRQH\ EDLO DQ\ LQPDWH LV UHTXLUHG WR SD\ IRU

LPPHGLDWHUHOHDVH7KH6KHULIIWKHUHIRUHKDVNQRZOHGJHWKDWWKHLPSRVLWLRQRIVHFXUHGPRQH\

EDLOUHVXOWVLQV\VWHPLFZHDOWKEDVHGGHWHQWLRQDQGWKDWWKHUHDUHKXQGUHGVRISHRSOHLQKLVMDLO

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9LOODJRPH] DQG -LOO :DOODFH DUH DOO +DUULV &RXQW\ &ULPLQDO /DZ +HDULQJ 2IILFHUV  7KH\ DUH

&RXQW\ HPSOR\HHV ZKR DUH DSSRLQWHG DQG FDQ EH WHUPLQDWHG E\ D WZRWKLUGV YRWH RI D +DUULV

&RXQW\ERDUGFRPSRVHGRIWKUHHMXGJHVRIWKH'LVWULFW&RXUWVRI+DUULV&RXQW\WKUHHMXGJHVRI

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GHWHUPLQDWLRQV DQG VHW EDLO IRU DUUHVWHHV SXUVXDQW WR WKH &RXQW\¶V PRQH\ EDLO VFKHGXOH  7KH

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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 6 of 128




LQ WKH GHWHQWLRQ RI RQO\ WKRVH LQGLYLGXDOV ZKRDUH WRR SRRU WR SD\ WKHPRQH\ EDLODPRXQW VHW

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%URZQ 'RQ 6P\WK 0LNH )LHOGV -HDQ +XJKHV DQG /LQGD *DUFLD DUH WKH  +DUULV &RXQW\

&ULPLQDO&RXUWVDW/DZ-XGJHV

                       6LWWLQJ en banc WKH\ SURPXOJDWH +DUULV &RXQW\¶V SRVWDUUHVW SURFHGXUHV

LQFOXGLQJ WKH JHQHUDOO\ DSSOLFDEOH +DUULV &RXQW\ %DLO 6FKHGXOH DSSOLHG V\VWHPLFDOO\ WR DOO

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LPSRVHV DQG HQIRUFHV VHFXUHG ILQDQFLDO FRQGLWLRQV RI UHOHDVH RQ HYHU\ LQGLYLGXDO WKH 6KHULII¶V

'HSDUWPHQW DUUHVWV RU DFFHSWV LQWR FXVWRG\ ZLWKRXW DQ LQTXLU\ LQWR RU ILQGLQJV FRQFHUQLQJ DQ

DUUHVWHH¶VSUHVHQWDELOLW\WRSD\WKHSUHGHWHUPLQHGDPRXQWVHW

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ILQDQFLDO FRQGLWLRQV RI UHOHDVH EDVHG RQ WKH EDLO VFKHGXOH ZLWKRXW DQ\ LQTXLU\ LQWR RU ILQGLQJV

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WKH PRQH\ EDLO DPRXQWV LPSRVHG SXUVXDQW WR WKH SUHGHWHUPLQHG EDLO VFKHGXOH WKDW WKH\

SURPXOJDWHG(DFKMXGJHLVIXUWKHUDZDUHWKDW+HDULQJ2IILFHUVUHIXVHWRFRQVLGHUDELOLW\WRSD\



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 %HFDXVHGHFODUDWRU\UHOLHILVXQDYDLODEOHRQDQHPHUJHQF\SUHOLPLQDU\EDVLVDQGEHFDXVH3ODLQWLIIVDUHVXIIHULQJ
RQJRLQJ LUUHSDUDEOH KDUP 3ODLQWLIIV DUH VLPXOWDQHRXVO\ VHHNLQJ D SUHOLPLQDU\ LQMXQFWLRQ DJDLQVW WKH +HDULQJ
2IILFHUV HYHQ WKRXJK WKH ILQDO MXGJPHQW 3ODLQWLIIV VHHN LV D GHFODUDWLRQ WKDW WKH +HDULQJ 2IILFHUV¶ FRQGXFW LV
XQFRQVWLWXWLRQDO



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     Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 7 of 128




GXULQJWKHLQLWLDOPDJLVWUDWLRQKHDULQJVZKLFKDUHUHFRUGHGRQYLGHRDQGDXGLRDQGNHSWE\WKH

&RXQW\DQGWKHFOHUN¶VRIILFH

            (DFK MXGJH SURYLGHV EODQNHW JHQHULF LQVWUXFWLRQV WR WKH +HDULQJ 2IILFHUV DERXW

KRZWRVHWEDLODQGZKHQWRDSSURYHUHOHDVHRQSHUVRQDOERQGVIRULQGLYLGXDOVDVVLJQHGWRWKDW

MXGJH¶VFRXUW+HDULQJ2IILFHUVDUHUHTXLUHGWRIROORZHDFKMXGJH¶VLQVWUXFWLRQVDERXWZKHWKHU

DQGZKHQWRUHOHDVHDUUHVWHHVZLWKRXWVHFXUHGILQDQFLDOFRQGLWLRQV(DFKMXGJHKDVDFTXLHVFHGLQ

WKH +HDULQJ 2IILFHUV¶ RSHQ DQG QRWRULRXV FXVWRP RI IDLOLQJ DQG UHIXVLQJ WR FRQVLGHU DELOLW\ WR

SD\

            7KH &RXQW\ &RXUWV DW /DZ -XGJHV DUH VXHG LQ WKHLU LQGLYLGXDO DQG RIILFLDO

FDSDFLWLHVIRULQMXQFWLYHDQGGHFODUDWRU\UHOLHI

                                          )DFWXDO%DFNJURXQG

        $     7KH1DPHG3ODLQWLIIV:LOO%H+HOGLQ-DLO%HFDXVH7KH\$UH8QDEOH7R3D\
                WKH0RQH\%DLO'HPDQGHGIRU7KHLU5HOHDVH
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            0DUDQGD/\QQ2'RQQHOOLVD\HDUROGZRPDQ

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&RXQW\IRUDOOHJHGO\GULYLQJZKLOHKHUOLFHQVHZDVLQYDOLG6KHZDVLQIRUPHGWKDWEHFDXVHRI

WKH +DUULV &RXQW\ EDLO VFKHGXOH VKH ZRXOG EH UHOHDVHG LPPHGLDWHO\ EXW RQO\ LI VKH SDLG D

PRQH\EDLORI6KHZDVWROGWKDWVKHZLOOEHGHWDLQHGE\+DUULV&RXQW\LIVKHGRHVQRW

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            0V2'RQQHOODSSHDUHGE\YLGHRIURPWKHMDLODWDSUREDEOHFDXVHKHDULQJDQGD

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'HSXWLHVQRWWRVSHDNDWWKHKHDULQJ7KHKHDULQJODVWHGOHVVWKDQVHFRQGVDQGSXUVXDQWWRWKH

SROLFLHVDQGSUDFWLFHVGHVFULEHGLQWKLV&RPSODLQWQRLQTXLU\ZDVPDGHLQWRKHUSUHVHQWDELOLW\




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     Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 8 of 128




WRSD\7KHSUHGHWHUPLQHGPRQH\EDLODPRXQWUHTXLUHGE\WKH+DUULV&RXQW\EDLOVFKHGXOHZDV

FRQILUPHGWREH

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PHHWWKHEDVLFQHFHVVLWLHVRIOLIH6KHUHFHLYHVEHQHILWVIURPWKHIHGHUDOJRYHUQPHQW¶V:RPHQ

,QIDQWV DQG &KLOGUHQ :,&  SURJUDP WR KHOS PHHW WKH QXWULWLRQDO QHHGV RI KHU GDXJKWHU

%HFDXVH VKH FDQQRW DIIRUG VKHOWHU VKH VWD\V ZLWK D IULHQG  6KH UHFHQWO\ REWDLQHG D MRE DW D

UHVWDXUDQWZLWKLQWKHSDVWIHZZHHNVEXWVKHLVZRUULHGWKDWKHUFXUUHQWMDLOLQJZLOOFDXVHKHUWR

ORVHKHUMRE

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WDNHQ LQWR WKH FXVWRG\ RI +DUULV &RXQW\  6KH ZDV LQIRUPHG WKDW VKH ZRXOG EH UHOHDVHG

LPPHGLDWHO\EXWRQO\LIVKHSDLGDPRQH\EDLORI6KHZDVWROGWKDWVKHZLOOEHGHWDLQHG

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+HDULQJ 2IILFHU IRXQG SUREDEOH FDXVH IRU KHU DUUHVW  7KH KHDULQJ ODVW RQH PLQXWH DQG 

VHFRQGVDQGSXUVXDQWWRWKHSROLFLHVDQGSUDFWLFHVGHVFULEHGLQWKLV&RPSODLQWQRLQTXLU\ZDV

PDGH LQWR KHU DELOLW\ WR SD\  7KH SUHGHWHUPLQHG PRQH\ EDLO DPRXQW UHTXLUHG E\ WKH +DUULV

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VHFXULW\SURJUDPWRKHOSPHHWWKHQHHGVRIKHUROGHUVRQZKRKDV'RZQV6\QGURPHDQGRWKHU

PHGLFDO QHHGV  6KH DOVR VXSSRUWV KHU FKLOGUHQ XVLQJ FKLOG VXSSRUW SD\PHQWV  6KH LV QRW




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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 9 of 128




FXUUHQWO\ZRUNLQJDQGOLYHVZLWKKHUER\IULHQG6KHKHOSVZLWKKRXVHKROGH[SHQVHVZKHQVKH

KDVDMREDQGLVDEOH

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WRWKHSROLFLHVDQGSUDFWLFHVGHVFULEHGLQWKLV&RPSODLQWQRLQTXLU\ZDVPDGHLQWRKLVDELOLW\WR

SD\  7KH SUHGHWHUPLQHG PRQH\ EDLO DPRXQW UHTXLUHG E\ WKH +DUULV &RXQW\ EDLO VFKHGXOH ZDV

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OLYHV ZLWK KLVJLUOIULHQG¶VSDUHQWV+HKHOSVZLWKKRXVHKROGUHVSRQVLELOLWLHVWRFRPSHQVDWH KHU

IDPLO\IRUJLYLQJKLPDSODFHWROLYH

             %          'HIHQGDQWV¶:HDOWK%DVHG'HWHQWLRQ6\VWHP'HWDLQV$UUHVWHHV:KR&DQQRW
                           3D\7KHLU0RQH\%DLO$PRXQW:KLOH5HOHDVLQJ7KRVH:KR&DQ3D\
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DGPLQLVWUDWLYHRUGHUE\WKH+DUULV&RXQW\&ULPLQDO&RXUWVDW/DZ-XGJHVWRGHWHUPLQHPRQH\

EDLOIRUHYHU\RQHZKRLVDUUHVWHGIRUD&ODVV$RU%PLVGHPHDQRULQ+DUULV&RXQW\See([KLELW

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RWKHUZLVHGLUHFWHGE\WKH-XGJHVRIWKH+DUULV&RXQW\&ULPLQDO&RXUWVDW/DZ´Id. ³7KHLQLWLDO

EDLODPRXQWVKDOOEHGHWHUPLQHGE\DSSOLFDWLRQRIWKHEDLOVFKHGXOH´ 


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RIIHQVHV7H[&&3$UW E ± G +RZHYHU&RXQW\RIILFLDOVKDYHGHFLGHGLQVWHDGDVDPDWWHURISROLF\WR


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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 10 of 128




                       +DUULV&RXQW\LWVHOIPDGHSHUFHQWRIPLVGHPHDQRUDUUHVWVZLWKLQWKH&RXQW\

LQ7KHUHDUHURXJKO\DGGLWLRQDODJHQFLHVZLWKLQ+DUULV&RXQW\WKDWKDYHWKHDXWKRULW\

WR PDNH DUUHVWV  )RU H[DPSOH WKH &LW\ RI +RXVWRQ 3ROLFH 'HSDUWPHQW PDGH  SHUFHQW RI

DUUHVWVLQ

                       :KHQ D SHUVRQ LV DUUHVWHG ZLWKLQ +DUULV &RXQW\ VKH ZLOO EH WDNHQ WR D ³ILHOG

VWDWLRQ´ UXQ E\ WKH DUUHVWLQJ DXWKRULW\  ,I VKH LV DUUHVWHG E\ +DUULV &RXQW\ VKH ZLOO EH WDNHQ

HLWKHUWRDILHOGVWDWLRQRUGLUHFWO\WRWKHMDLO7KHVHILHOGVWDWLRQVYDU\LQVL]HDQGWKHLUFDSDFLW\

WRKROGDQGSURFHVVDUUHVWHHV6RPHLQFOXGHKROGLQJFHOOV,QRWKHUVDUUHVWHHVDUHPDGHWRVLW

VKDFNOHGWRDEHQFKZKLOHLQLWLDOSRVWDUUHVWSURFHGXUHVDUHFRQGXFWHG

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RIILFHUZLOOGHWHUPLQHZKHWKHUWKH+DUULV&RXQW\'LVWULFW$WWRUQH\¶V2IILFHZLVKHVWRSXUVXHWKH

FKDUJH E\ FDOOLQJ D KRWOLQH WKDW LV VWDIIHG  KRXUV D GD\  GD\V D ZHHN E\ +DUULV &RXQW\¶V

DVVLVWDQWGLVWULFWDWWRUQH\V7KHDUUHVWLQJRIILFHUGHVFULEHVWKHDOOHJDWLRQVWRWKHDVVLVWDQWGLVWULFW

DWWRUQH\RQGXW\ZKRPDNHVDFKDUJLQJGHFLVLRQRYHUWKHSKRQH

                       ,IWKHDVVLVWDQWGLVWULFWDWWRUQH\RQKRWOLQHGXW\GRHVQRWZLVKWRSXUVXHFKDUJHV

VKHWHOOVWKHRIILFHUWRUHOHDVHWKHLQGLYLGXDO

                       ,I WKH GLVWULFW DWWRUQH\ GHFLGHV WR SXUVXH WKH FKDUJHV VKH LQVWUXFWV WKH DUUHVWLQJ

RIILFHU WR LPSRVH PRQH\ EDLO SXUVXDQW WR WKH EDLO VFKHGXOH  See ([  ³7KH GLVWULFW DWWRUQH\

VKDOO DIIL[ DQ LQLWLDO EDLO DPRXQW DW WKH WLPH D FRPSODLQW LV ILOHG LQ D FRXQW\ FULPLQDO FRXUW DW

ODZ´   $W QR SRLQW GRHV DQ\ SHUVRQ SHUIRUP DQ\ LQTXLU\ LQWR WKH DUUHVWHH¶V DELOLW\ WR SD\ WKH

PRQH\EDLODPRXQWZULWWHQRQWKHVFKHGXOH

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UHO\RQWKH+DUULV&RXQW\EDLOVFKHGXOHIRUDOOLQGLYLGXDOVFKDUJHGZLWKDQ\PLVGHPHDQRU$VDPDWWHURISROLF\
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   +DUULV &RXQW\ 3UHWULDO 6HUYLFHV  $QQXDO                                                    5HSRUW                    DW           DYDLODEOH          DW
KWWSVSUHWULDOKDUULVFRXQW\W[JRY3DJHV$QQXDO5HSRUWVDVS[



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 11 of 128




             )URP WKH PRPHQW D VHFXUHG EDLO DPRXQW LV LPSRVHG DOO PLVGHPHDQRU DUUHVWHHV

DUH HOLJLEOH IRU UHOHDVH LI WKH\ FDQ SD\ WKH PRQH\ EDLO DPRXQW OLVWHG LQ WKH SUHGHWHUPLQHG

VFKHGXOHXQOHVVWKH\DUHVXEMHFWWRFHUWDLQKROGV HJLPPLJUDWLRQRUSUREDWLRQ 

             7KH$'$VHWWLQJEDLOWKHDJHQFLHVSURFHVVLQJLQGLYLGXDOVIRUUHOHDVHIURPILHOG

VWDWLRQV DQG WKH +DUULV &RXQW\ 6KHULII¶V 'HSDUWPHQW DOO KDYH DFFHVV WR LQIRUPDWLRQ DERXW

ZKHWKHUDQ\JLYHQDUUHVWHHLVVXEMHFWWRDQ\RIDYDULHW\RIQRQPRQHWDU\KROGV7KHVHHQWLWLHV

WKHUHIRUH NQRZ ZKHWKHU D ILQDQFLDO FRQGLWLRQ RI UHOHDVH LV WKH RQO\ UHDVRQ D SHUVRQ LV EHLQJ

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SKRQH FDOO WR DVN D IULHQG RU IDPLO\ PHPEHU WR SRVW EDLO RQ WKHLU EHKDOI RU FRQWDFW D ERQGLQJ

DJHQWWRDVVLVWLQSRVWLQJEDLO$SHUVRQZKRFDQDIIRUGWRSD\ZLOOEHUHOHDVHGIURPWKHILHOG

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             7KH LPSRVLWLRQ RI PRQH\ EDLO LV WKH PRPHQW RI GLIIHUHQWLDO WUHDWPHQW D SHUVRQ

ZLWK ILQDQFLDO UHVRXUFHV ZLOO EH UHOHDVHG DOPRVW LPPHGLDWHO\ DIWHU EDLO LV LPSRVHG EXW

'HIHQGDQWVZLOOFRQWLQXHWRUHTXLUHWKHGHWHQWLRQRIDSHUVRQZKRFDQQRWDIIRUGWRSD\KHUEDLO

7KLV SROLF\ DQG SUDFWLFH UHVXOWV LQ V\VWHPLF DQG DXWRPDWLF ZHDOWKEDVHG GHWHQWLRQ LQ +DUULV

&RXQW\

             ,QGLYLGXDOVZKRDUHDUUHVWHGSXUVXDQWWRZDUUDQWVDUHDOVRVXEMHFWHGWRWKHPRQH\

EDLOVFKHGXOH,QWKHVHFDVHVWKHGLVWULFWDWWRUQH\DJDLQPDNHVDFKDUJLQJGHFLVLRQRQWKHEDVLV

RI DOOHJDWLRQV E\ D SROLFH RIILFHU RU DQRWKHU FRPSODLQDQW DQG LPSRVHV D PRQH\ EDLO DPRXQW

DFFRUGLQJ WR WKH EDLO VFKHGXOH  7KH PRQH\ EDLO DPRXQW LV ZULWWHQ RQ WKH ZDUUDQW $ +HDULQJ

2IILFHU RU &RXQW\ &RXUW DW /DZ -XGJH PDNHV D ILQGLQJ RI SUREDEOH FDXVH EDVHG RQ WKH




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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 12 of 128




DOOHJDWLRQVLQWKHZDUUDQWDQGWKHQVLJQVWKHZDUUDQW$VDPDWWHURISROLF\WKH+HDULQJ2IILFHU

RU-XGJHLPSRVHVWKHPRQHWDU\EDLOUHTXLUHGE\WKHVFKHGXOH

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DUUHVWWKDWSHUVRQFDQSD\WKHVHFXUHGPRQH\EDLODPRXQWSUHGHWHUPLQHGE\WKHVFKHGXOHDQGEH

UHOHDVHG LPPHGLDWHO\ IURP WKH ILHOG VWDWLRQ SULRU WR IRUPDO ERRNLQJ 7KRVH ZKR NQRZ DERXW

DFWLYHZDUUDQWVIRUWKHLUDUUHVWFDQDYRLGHYHQEHLQJDUUHVWHGLIWKH\SD\D³QRQDUUHVW´ERQGsee

infra  Q,IWKHLQGLYLGXDOLVXQDEOHWRSD\VKHZLOOEHWUDQVSRUWHGWRDQGERRNHGLQWR

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GHSHQGLQJRQDYDULHW\RIIDFWRUVLQFOXGLQJZKHUHWKHSHUVRQZDVDUUHVWHG

                       +DUULV&RXQW\LVDODUJHFRXQW\DQGLQGLYLGXDOVDUUHVWHGZLWKLQLWVERUGHUVFDQEH

WDNHQLQLWLDOO\WRILHOGVWDWLRQVDVJHRJUDSKLFDOO\FORVHWRWKH+DUULV&RXQW\-DLODVWKH+RXVWRQ

3ROLFH6WDWLRQVORFDWHGDOLWWOHRYHUDPLOHIURPWKHMDLORUDVIDUDZD\DVIRUH[DPSOHWKH&LW\

RI/DNHYLHZZKLFKLVPRUHWKDQPLOHVDZD\




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 ,QGLYLGXDOVDUUHVWHGE\+DUULV&RXQW\RIILFHUVDUHJHQHUDOO\WDNHQGLUHFWO\WRWKH+DUULV&RXQW\-DLO+RZHYHUDV
QRWHG+DUULV&RXQW\LWVHOILVRQO\RQHRIURXJKO\DJHQFLHVZLWKDUUHVWLQJDXWKRULW\LQWKH&RXQW\

 7KHYDVWPDMRULW\RIDUUHVWHHVXVHDEDLOERQGDJHQWWRVHFXUHWKHLUUHOHDVHIURPMDLO7\SLFDOO\LIDFFHSWHGE\D
IRUSURILWEDLODJHQWDQDUUHVWHHZLOOKDYHWRSD\WKHIRUSURILWDJHQWDQRQUHIXQGDEOHIHHRISHUFHQWRIWKHYDOXH
RIWKHERQGWREHUHOHDVHGWKRXJKWKHLQGXVWU\VWDQGDUGIRUORZPRQH\EDLODPRXQWVLQ+DUULV&RXQW\H[FHHGV
SHUFHQW,QWKHIRUSURILWEDLOERQGLQGXVWU\LQ+DUULV&RXQW\FROOHFWHGDWOHDVWPLOOLRQGROODUVLQIHHV
See*HUDOG5:KHHOHU *HUDOG)U\3URMHFW2UDQJH-XPSVXLW5HSRUWHarris County’s Two-Tier Justice System:
Longitudinal Study of Effects of Harris County Felony and Misdemeanor Defendants’ Legal & Extralegal Attributes
on      Pretrial    Status      and      Case     Outcome       $SU             DW      DYDLODEOH    DW
KWWSZZZSUHWULDORUJGRZQORDGUHVHDUFK+DUULV&RXQW\ V7ZR
WLHU-XVWLFH6\VWHP 3URMHFW2UDQJH-XPSVXLW :KHHOHUDQG)U\SGI
>:KHHOHU  )U\ 5HSRUW @ 0LFKDHO %DUDMDV Will Lawmakers Reform the System That Keeps Poor, Legally
Innocent People in Lockup? 6HSW    DYDLODEOH DW  KWWSZZZKRXVWRQSUHVVFRPQHZVZLOOODZPDNHUV
UHIRUPWKHV\VWHPWKDWNHHSVSRRUOHJDOO\LQQRFHQWSHRSOHLQORFNXS TXRWLQJ D ERQGVPDQ VD\LQJ WKDW
³EHLQJSRRUUDLVHVDUHGIODJ´ 

    :KHHOHU )U\5HSRUWsupraQRWHDW



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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 13 of 128




                       5HFHQWO\PDQ\SHRSOHDUUHVWHGIRUPLVGHPHDQRUVKDYHEHHQKHOGRQPRQH\EDLO

LPSRVHG SXUVXDQW WR WKH SUHGHWHUPLQHG EDLO VFKHGXOH IRU DV ORQJ DV WZR RU WKUHH GD\V RU PRUH

EHIRUHEHLQJWUDQVIHUUHGWRWKH+DUULV&RXQW\-DLOIRUDYLGHROLQNSUREDEOHFDXVHKHDULQJ

                       6RPHWLPHDIWHUDUUHVWDQDUUHVWHH¶VFDVHGRFXPHQWVEHFRPHSXEOLFO\DYDLODEOHRQ

WKH'LVWULFW&RXUW&OHUN¶VZHEVLWH2QFHWKHDUUHVWHHLVLQ+DUULV&RXQW\FXVWRG\WKHDUUHVWHH¶V

RQOLQHFDVHUHFRUGVZLOOLQGLFDWHWKDWIDFW7KHDUUHVWHH¶VVSHFLILFORFDWLRQZLOOEHOLVWHGDV³LQ

SURFHVVLQJ´DW&RPPHUFH6WUHHW

                       :KLOH WKH LQGLYLGXDO LV LQ SURFHVVLQJ VKH LV FRPSOHWHO\ XQDYDLODEOH IRU DQ

DWWRUQH\ RURWKHU YLVLWDQGFDQQRWEHFRQWDFWHG-DLORIILFLDOVVWDWHWKDWLQGLYLGXDOVZKRDUHLQ

SURFHVVLQJDUHDFWXDOO\ORFDWHGLQWKHEDVHPHQWRIRQHRIIRXUMDLOEXLOGLQJVDQGWKHRQO\ZD\WR

ILQGDVSHFLILFSHUVRQLVIRUDJXDUGWRZDONWKURXJKWKHFHOOEORFNVDQGFDOOWKHSHUVRQ¶VQDPH

                       +RZHYHU MDLO RIILFLDOV DOVR VWDWH WKDW LI D SHUVRQ ZKR LV LQ SURFHVVLQJ LV DEOH WR

SD\WKHVFKHGXOHGPRQH\EDLOVKHZLOOEHIRXQGDQGUHOHDVHG7KXVGXULQJWKLVSHULRGRIWLPH

SRRU DUUHVWHHV DUH KHOG LQFRPPXQLFDGR EXW DQ LQGLYLGXDO ZKR KDV PRQH\ FDQ SXUFKDVH KHU

UHOHDVHIURPMDLO

                       6RPHWLPHDIWHUDSHUVRQDUULYHVDWWKH-DLO²DQGXVXDOO\EHIRUHVKHLVDVVLJQHGWR

DKRXVLQJXQLW²VKHZLOOEHWDNHQE\6KHULII¶V'HSDUWPHQWHPSOR\HHVWRDURRPLQWKHMDLOZLWK

VHYHUDO GR]HQ RWKHU QHZ DUUHVWHHV WR DSSHDU EHIRUH D +HDULQJ 2IILFHU ZKR ZLOO GHWHUPLQH

SUREDEOH FDXVH  7KLV DSSHDUDQFH WDNHV SODFH E\ YLGHROLQN ,W XVXDOO\ WDNHV EHWZHHQ  DQG 

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  )RUH[DPSOHDFFRUGLQJWRWKHFDVHUHFRUGVRQWKH+DUULV&RXQW\'LVWULFW&OHUN¶VZHEVLWHDQGWKH+RXVWRQ3ROLFH
'HSDUWPHQW¶VZHEVLWHDVRIDERXWDP(67RQ$XJXVWWKHIROORZLQJLQGLYLGXDOVZHUHDPRQJWKRVH
LQGLYLGXDOVEHLQJGHWDLQHGRQPRQH\EDLODQGDZDLWLQJWUDQVIHUWRWKHMDLOIRUDSUREDEOHFDXVHKHDULQJIRUDWOHDVW
WZRRUWKUHHGD\VDIWHUDUUHVW-XOLR5XL]DUUHVWHGRQ$XJXVWIRUSRVVHVVLRQRIPDULMXDQDXQGHUWZRRXQFHVDQG
KHOGRQDEDLO%ODQFKDUG%6WHZDUWDUUHVWHGRQ$XJXVWIRUSRVVHVVLRQRIPDULMXDQDXQGHUWZRRXQFHVDQG
KHOGRQDEDLO0LFKDHO5D\0DWDDUUHVWHGRQ$XJXVWIRULQWHUIHULQJZLWKWKHGXWLHVRIDSXEOLFVHUYDQW
DQG KHOG RQ D  EDLO DQG 2VFDU %DODUER DUUHVWHG RQ $XJXVW  IRU WUHVSDVV DQG KHOG RQ D  EDLO
$FFRUGLQJ WR +DUULV &RXQW\¶V ZHEVLWH WKHVH LQGLYLGXDOV KDG QR QRQPRQHWDU\ KROGV DQG ZHUH LQ FXVWRG\ VROHO\
EHFDXVHWKH\KDGQRWSDLGWKHLUPRQH\EDLO1RQHKDGVHHQD+HDULQJ2IILFHU



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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 14 of 128




KRXUVIRUDSHUVRQDUUHVWHGLQ+DUULV&RXQW\WREHJLYHQDSUREDEOHFDXVHKHDULQJEXWKXQGUHGV

RISHRSOHHYHU\PRQWKPXVWZDLWVHYHUDOGD\VDVDPDWWHURISUDFWLFH

                       7KHVH SROLFLHV KDYH FRQVLVWHQWO\ IRU \HDUV UHVXOWHG LQ WKH QHHGOHVV DQG

GHYDVWDWLQJ MDLOLQJ RI LPSRYHULVKHG SHRSOH DFFXVHG RI PLVGHPHDQRU RIIHQVHV  ,Q  

SHUFHQW RI PLVGHPHDQRU DUUHVWHHV ZHUH ERRNHG LQWR WKH MDLO EHFDXVH WKH\ ZHUH XQDEOH WR

LPPHGLDWHO\SD\IRUWKHLUUHOHDVH2WKHUDUUHVWHHVZLWKILQDQFLDOPHDQVZHUHDEOHWRSD\WKHLU

SUHGHWHUPLQHGPRQH\EDLODQGDYRLGWKHERRNLQJSURFHVVDOWRJHWKHU

                       ,QDQGDERXWSHUFHQWRIPLVGHPHDQRUDUUHVWHHVZHUHVWLOOVLWWLQJLQ

MDLO FHOOV DW WKH WLPH WKHLU PLVGHPHDQRU FDVH FRQFOXGHG EHFDXVH RI WKHLU LQDELOLW\ WR DIIRUG WKH

VHFXUHGILQDQFLDOFRQGLWLRQVHWIRUWKHLUUHOHDVH

                           LL 3UREDEOH &DXVH +HDULQJV DQG $SSURYDO RI %DLO $FFRUGLQJ WR WKH %DLO
                                6FKHGXOH
                                
                       7KH +DUULV &RXQW\ 6KHULII¶V 'HSDUWPHQW WKURXJK LWV MDLO SHUVRQQHO DVVHPEOHV

JURXSVRIURXJKO\WRSHRSOHPDQ\RIWKHPFKDUJHGZLWKPLQRUPLVGHPHDQRUVWKURXJKRXW

WKHGD\HYHU\GD\

                       6KHULII¶V 'HSDUWPHQW HPSOR\HHV DQG DJHQWV URXWLQHO\ WHOO DUUHVWHHV QRW WR VD\

DQ\WKLQJGXULQJWKHVHKHDULQJV

                       *HQHUDOO\ ZLWKLQ  KRXUV RI DUUHVW WKHVH JURXSV RI UHFHQW DUUHVWHHV GUHVVHG LQ

RUDQJHMXPSVXLWVRUVWUHHWFORWKHVDQGORFDWHGLQVLGHWKH+DUULV&RXQW\-DLODSSHDUYLDYLGHROLQN

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  *HUDOG 5 :KHHOHU  *HUDOG )U\ Project Orange Jumpsuit: The Misdemeanor Report #1 -DQ   
DYDLODEOHDWKWWSWKHPLVUHVHDUFKRUJILOHV0,6'BB5(3257SGI>:KHHOHU )U\5HSRUW@
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   +DUULV &RXQW\ 3UHWULDO 6HUYLFHV  $QQXDO 5HSRUW                           DW  DYDLODEOH DW
KWWSZZZKDUULVFRXQW\W[JRY&PS'RFXPHQWV$QQXDO5HSRUWV$QQXDO5HSRUWSGI VKRZLQJ
LQ 7DEOH % WKDW URXJKO\  SHUFHQW RI PLVGHPHDQRU DUUHVWHHV SRVW PRQH\ EDLO  3UHWULDO 6HUYLFHV  $QQXDO
5HSRUWsupraQRWHDW

  ,Q  DQ DYHUDJH RI  SHRSOH ZHUH DGPLWWHG WR WKH MDLO HYHU\ GD\ RQ PLVGHPHDQRU FKDUJHV  See 3UHWULDO
6HUYLFHV  $QQXDO 5HSRUW supra QRWH  DW  VWDWLQJ WKDW  SHRSOH ZKRVH PRVW VHULRXV FKDUJH ZDV D
PLVGHPHDQRUZHUHDGPLWWHGWRWKHMDLOLQ 



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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 15 of 128




EHIRUH RQH RI WKH ILYH 'HIHQGDQW +DUULV &RXQW\ +HDULQJ 2IILFHUV  7KH +HDULQJ 2IILFHU

GHWHUPLQHV SUREDEOH FDXVH IRU WKH DUUHVW DQG UHYLHZV WKH EDLO DPRXQW SUHYLRXVO\ LPSRVHG WR

HQVXUH WKDW LW FRQIRUPV WR WKH EDLO VFKHGXOH DQG WKH V\VWHPLF JHQHUDO SROLF\ LQVWUXFWLRQV IURP

+DUULV &RXQW\ &ULPLQDO &RXUWV DW /DZ -XGJHV DERXW KRZ WR DGPLQLVWHU WKH SUHGHWHUPLQHG

VFKHGXOH7KURXJKRXWWKHKHDULQJWKHDUUHVWHHVUHPDLQLQWKH+DUULV&RXQW\MDLOVXSHUYLVHGE\

6KHULII¶V'HSDUWPHQWHPSOR\HHVZKLOHWKH+HDULQJ2IILFHUDQGDSURVHFXWRUDUHLQDFRXUWURRP

LQWKH+DUULV&RXQW\&RXUWKRXVH

                       7KHVH KHDULQJV DUH UHIHUUHG WR ORFDOO\ DV ³PDJLVWUDWLRQV´ ³$UWLFOH 

KHDULQJV´RU³SUREDEOHFDXVHKHDULQJV´

                       7KH &RXQW\ VWULYHV WR KROG WKHVH KHDULQJV ZLWKLQ  KRXUV RI DUUHVW IRU SHRSOH

FKDUJHGZLWKPLVGHPHDQRUV+RZHYHUDUUHVWHHVRIWHQDUHQRWWUDQVSRUWHGWRWKH-DLOLQWLPHWR

PHHW WKDW GHDGOLQH DQG HYHQ ZKHQ WKH\ DUH WKH 6KHULII VRPHWLPHV IDLOV WR HQVXUH WKDW DOO

LQPDWHV LQ KLV FXVWRG\ UHFHLYH D KHDULQJ ZLWKLQ  KRXUV  +HDULQJ 2IILFHUV UHSUHVHQW DQG WKH

&RXQW\¶VRQOLQHFDVHUHFRUGVVKRZWKDWWKHKHDULQJVGRQRWDOZD\VWDNHSODFHZLWKLQKRXUVRI

DUUHVW  $W DQ\ SRLQW LQ WKH ERRNLQJ SURFHVV DQ DUUHVWHH FDQ SD\ KLV RU KHU SUHGHWHUPLQHG

PRQH\EDLODQGEHUHOHDVHG

                       ,I D SHUVRQ SD\V D SUREDEOH FDXVH GHWHUPLQDWLRQ LQ KHU FDVH ZLOO EH PDGH DW D

VXEVHTXHQWFRXUWDSSHDUDQFH

                       $Q DVVLVWDQW GLVWULFW DWWRUQH\ SDUWLFLSDWHV LQ WKH SUREDEOH FDXVH KHDULQJV E\

DUJXLQJIRUWKH+HDULQJ2IILFHUWRPDNHDILQGLQJRISUREDEOHFDXVHDQGVRPHWLPHVDVNLQJWKH

+HDULQJ2IILFHUWRLPSRVHEDLOLQDQDPRXQWKLJKHUWKDQWKHDPRXQWRQWKHVFKHGXOHRURQWKH


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 )RUH[DPSOH1DPHG3ODLQWLII5REHUW5\DQ)RUGZDVDUUHVWHGDWSPRQ0D\EXWGLGQRWKDYHD
SUREDEOHFDXVHKHDULQJXQWLO0D\DWDPSee+DUULV&RXQW\&ULPLQDO&RXUWVDW/DZ&DVH5HFRUGV2QOLQH
DYDLODEOHDWKWWSZZZKFGLVWULFWFOHUNFRPH'RFV3XEOLF6HDUFKDVS[



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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 16 of 128




ZDUUDQW  2QH SURVHFXWRU VWDWHG WKH SROLF\ UHFHQWO\ DW D SUREDEOH FDXVH KHDULQJ SXUVXDQW WR

+DUULV&RXQW\¶VEDLOVFKHGXOHSURFHGXUHLIDQDUUHVWHH³FDQ¶WSD\WKH\VLWLQMDLO´

                       +DUULV&RXQW\GRHVQRWSURYLGHGHIHQVHDWWRUQH\VDWWKLVKHDULQJIRUWKRVHZKRDUH

XQDEOHWRDIIRUGWRKLUHDQDWWRUQH\

                       $OPRVWRQHWKLUGRI+DUULV&RXQW\DUUHVWHHVODFNDKLJKVFKRROHGXFDWLRQDQGRQH

LQILYHKDYHVHULRXVPHQWDOKHDOWKSUREOHPV

                       7KHSURVHFXWRUDQG+HDULQJ2IILFHUVVRPHWLPHVHQJDJHLQH[SDUWHFRQYHUVDWLRQV

EHIRUH WKH YLGHROLQN LV WXUQHG RQ  7R WDNH RQH UHSUHVHQWDWLYH H[DPSOH GXULQJ RQH GRFNHW LQ

0DUFKRXWVLGHWKHDUUHVWHHV¶KHDULQJWKHSURVHFXWRUDQGWKH+HDULQJ2IILFHUFRPPHQWHGRQWKH

IDFWWKDWRQHRIWKHDUUHVWHHVRQWKHGRFNHWKDGEHHQDUUHVWHGPXOWLSOHWLPHVLQDWZRZHHNSHULRG

IRUWUHVSDVVLQJDWWKHVDPHSODFH7KH+HDULQJ2IILFHUDQGWKHSURVHFXWRUDJUHHGSULYDWHO\WKDW

WKH LQGLYLGXDO ZKR ZDV KRPHOHVV ZRXOG QRW EH UHOHDVHG ZLWKRXW D PRQH\ EDLO  7KH +HDULQJ

2IILFHULPSRVHGDPRQH\EDLO$IWHUWKHKHDULQJWKH+HDULQJ2IILFHUVDLG³+H¶VDSHVW

WRVRFLHW\´8QDEOHWRSD\WKHPRQH\EDLOWKHPDQDSSHDUHGVHYHUDOGD\VODWHUDWKLVILUVWFRXUW

GDWHDQGSOHGJXLOW\




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  3UHWULDO6HUYLFHV$QQXDO5HSRUWsupraQRWHDW+DUULV&RXQW\UHFHLYHGLQ0D\IURPWKH
0DF$UWKXU )RXQGDWLRQ WR FUHDWH D SURSRVDO WKDW ZRXOG OHDG WR D PRUH MXVW DQG HIIHFWLYH OHJDO V\VWHP  See 3UHVV
5HOHDVHMacArthur Announces 20 Jurisdictions to Receive Funding to Reduce Jail Use 0D\ DYDLODEOHDW
KWWSVZZZPDFIRXQGRUJSUHVVSUHVVUHOHDVHVPDFDUWKXUDQQRXQFHVMXULVGLFWLRQVUHFHLYHIXQGLQJUHGXFHMDLO
XVH +DUULV &RXQW\ VXEVHTXHQWO\ FRQYHQHG D &ULPLQDO -XVWLFH &RRUGLQDWLQJ &RXQFLOZKLFK LQYHVWLJDWHGZD\V WR
UHGXFH LQFDUFHUDWLRQ  $PRQJ WKH PRVW LPSRUWDQW UHIRUPV WKDW SDUWLFLSDQWV GLVFXVVHG ZDV WR SURYLGH GHIHQVH
DWWRUQH\V DW WKH SUREDEOH FDXVH KHDULQJV (DUO\ LQ -DQXDU\  WKH &RRUGLQDWLQJ &RXQVHO VXEPLWWHG LWV JUDQW
SURSRVDO WR WKH 0DF$UWKXU )RXQGDWLRQ VHHNLQJ  PLOOLRQ RYHU WZR \HDUV WR SXW LWV SODQV LQWR HIIHFW  7KH ILQDO
GRFXPHQWLQFOXGHGDSURSRVDOIRUFRXQVHORQO\IRULQGLYLGXDOVZKRDUHPHQWDOO\LOO0HDJDQ)O\QQBail Hearings:
Where Prosecutors and Magistrates Ensure Defenseless People Stay In Jail -DQ    DYDLODEOH DW
KWWSZZZKRXVWRQSUHVVFRPQHZVEDLOKHDULQJVZKHUHSURVHFXWRUVDQGPDJLVWUDWHVHQVXUHGHIHQVHOHVVSHRSOH
VWD\LQMDLO2Q$SULO+DUULV&RXQW\ZDVDZDUGHGDPLOOLRQ0DF$UWKXUJUDQWWRUHIRUPLWV
FULPLQDO MXVWLFH V\VWHP See Harris County receives $2 million grant to reform criminal justice system $SU 
  DYDLODEOH DW KWWSZZZFOLFNKRXVWRQFRPQHZVZDWFKOLYHKDUULVFRXQW\UHFHLYHVPLOOLRQJUDQWWR
UHIRUPFULPLQDOMXVWLFHV\VWHP



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 17 of 128




             ,QQRFDVHLVDPRQH\EDLOGHWHUPLQHGZLWKFRQVLGHUDWLRQIRUDQDUUHVWHH¶VDELOLW\

WR SD\ DQG LQ QR FDVH GRHV D +HDULQJ 2IILFHU PDNH DQ LQTXLU\ LQWR RU ILQGLQJV FRQFHUQLQJ D

SHUVRQ¶VSUHVHQWDELOLW\WRSD\

             :KHQWKHYLGHROLQNLVWXUQHGRQDUUHVWHHVDSSHDURQDWHOHYLVLRQVFUHHQVLWWLQJRQ

EHQFKHVLQDURRPDWWKHMDLO

             7KH +HDULQJ 2IILFHU FDOOV DQ LQGLYLGXDO¶V QDPH DQG UHDGV WKH FKDUJH  7KDW

LQGLYLGXDOJHWVXSDQGVWDQGVLQWKHPLGGOHRIDUHGVTXDUHRQWKHIORRURIWKHURRPLQWKHMDLO

$Q DVVLVWDQW GLVWULFW DWWRUQH\ WKHQ UHDGV IURP WKH FRPSODLQW  7KH +HDULQJ 2IILFHU GHFLGHV

ZKHWKHUWKHUHLVSUREDEOHFDXVHILQGLQJSUREDEOHFDXVHLQDOPRVWHYHU\FDVHDQGDOPRVWDOZD\V

VHWV VHFXUHG PRQH\ EDLO DFFRUGLQJ WR WKH SUHGHWHUPLQHG VFKHGXOH  6RPHWLPHV WKH +HDULQJ

2IILFHULQFUHDVHVWKHPRQH\EDLOIURPWKHDPRXQWUHTXLUHGE\WKHEDLOVFKHGXOH

             7KHSURFHVVRIVHWWLQJEDLODQGILQGLQJSUREDEOHFDXVHLVDURWHH[HUFLVHDQGWKH

KHDULQJVODVWDSSUR[LPDWHO\RQHPLQXWHDVDPDWWHURIURXWLQH

             $VDPDWWHURISROLF\DQGSUDFWLFH+HDULQJ2IILFHUVPDNHQRDWWHPSWWRGHWHUPLQH

DQ DUUHVWHH¶V ILQDQFLDO VLWXDWLRQ DQG WKH\ PDNH QR LQTXLU\ LQWR RU ILQGLQJV FRQFHUQLQJ DQ

DUUHVWHH¶VDELOLW\WRSD\WKHPRQH\EDLODPRXQWWKDWWKH\LPSRVH

             ,QDGGLWLRQWRPDNLQJQRDIILUPDWLYHLQTXLU\LQWRRUILQGLQJVFRQFHUQLQJDELOLW\WR

SD\+HDULQJ2IILFHUVDIILUPDWLYHO\UHIXVHWRKHDUDQ\DUJXPHQWWKDWDQDUUHVWHHUDLVHVDERXWKHU

DELOLW\ WR SD\  ,I DQ DUUHVWHH WHOOV WKH +HDULQJ 2IILFHU WKDWVKH FDQQRWSD\ WKH PRQH\ EDLO WKH

+HDULQJ2IILFHUDVDPDWWHURISROLF\DQGSUDFWLFHWHOOVWKHDUUHVWHHWKDWFRQVLGHULQJDUHGXFWLRQ

RIPRQH\EDLOIURPWKHVFKHGXOHLVQRWWKHSXUSRVHRIWKDWKHDULQJDQGWKDWWKHDUUHVWHHVKRXOG

KDYHKHUDWWRUQH\UDLVHWKHLVVXHZLWKWKH&RXQW\&RXUWDW/DZ-XGJHKDQGOLQJKHUFDVHDWKHU

ILUVW FRXUW GDWH DIWHU DQ DWWRUQH\ LV DVVLJQHG  $V RQH +HDULQJ 2IILFHU VWDWHG UHFHQWO\ SUREDEOH




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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 18 of 128




FDXVHKHDULQJVDUH³QRWWKHIRUXP´IRUGLVFXVVLQJDSHUVRQ¶VDELOLW\WRSD\PRQH\EDLORUUDLVLQJ

DQ\ UHODWHG LVVXHV DQG +HDULQJ 2IILFHUV VWDWH WKDW VXFK TXHVWLRQV PXVW EH DGGUHVVHG LQ DQ

DGYHUVDULDOVHWWLQJDIWHUDSSRLQWPHQWRIFRXQVHO

                       2QRQHUHFHQWRFFDVLRQWKDWLVW\SLFDORIVWDQGDUGSROLF\DIWHUD+HDULQJ2IILFHU

PDGH D EDLO GHFLVLRQ DFFRUGLQJ WR WKH PRQH\ EDLO VFKHGXOH WKH DUUHVWHH DVNHG WKH +HDULQJ

2IILFHU³&DQ,VD\VRPHWKLQJ"´7KH+HDULQJ2IILFHUUHVSRQGHG³<RXFDQWDONWRPHDOO\RX

ZDQWEXWLW¶VQRWJRLQJWRFKDQJHWKHRXWFRPH,¶PVHWWLQJLWDFFRUGLQJWRWKHVFKHGXOH7DONWR

\RXUODZ\HUDERXWLWLQWKHPRUQLQJ´

                       $IWHUFRPSOHWLQJDGRFNHWRISUREDEOHFDXVHKHDULQJVLQ0DUFKDQRWKHU+HDULQJ

2IILFHUZDVDVNHGE\DQREVHUYHUZKHWKHUWKHRIILFHULVDOORZHGWRFRQVLGHUDQDUUHVWHH¶VDELOLW\

WRSD\ZKHQVHWWLQJWKHPRQH\EDLO7KH+HDULQJ2IILFHUUHVSRQGHG³:KDWFDQ,GRDERXWWKDW"

7KH\KDYHDEDLOVFKHGXOH,FDQ¶WGRDQ\WKLQJDERXWWKDW´

                       3XUVXDQW WR SROLF\ DQG SUDFWLFH LW LV QRW SRVVLEOH IRU DUUHVWHHV WR FKDOOHQJH WKH

FRQVWLWXWLRQDOLW\ RI WKHLU PRQH\ EDLO EHIRUH WKH +HDULQJ 2IILFHU  +HDULQJ 2IILFHUV UHIXVH WR

FRQVLGHUGHYLDWLRQIURPWKHEDLOVFKHGXOHEDVHGRQDELOLW\WRSD\DQGUHIXVHWRKHDUHYLGHQFHRU

DUJXPHQWFRQFHUQLQJDELOLW\WRSD\

                       ,Q DOPRVW DOO FDVHV WKH +HDULQJ 2IILFHU DIILUPV WKH PRQH\ EDLO SUHYLRXVO\ VHW

SXUVXDQW WR WKH EDLO VFKHGXOH  ,I KRZHYHU WKH GLVWULFW DWWRUQH\ RU DUUHVWLQJ RIILFHU HUUHG LQ

VHWWLQJ WKH PRQH\ EDLO LH WKH PRQHWDU\ DPRXQW GLG QRW FRQIRUP WR WKH EDLO VFKHGXOH  WKH

+HDULQJ2IILFHUZLOODOWHUWKHPRQH\EDLO²E\UDLVLQJRUORZHULQJWKHPRQHWDU\DPRXQW²VR

WKDWLWPHHWVWKHVFKHGXOH




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     )O\QQsupraQRWH



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 19 of 128




             6RPHWLPHV GLVWULFW DWWRUQH\V ZLOO DUJXH IRU D PRQH\ EDLO WKDW H[FHHGV ZKDW WKH

VFKHGXOH UHTXLUHV  2QH GLVWULFW DWWRUQH\ UHFHQWO\ JDYH WKH IROORZLQJ H[DPSOH ,I VRPHRQH LV

FKDUJHGZLWKXQDXWKRUL]HGXVHRIDYHKLFOHEXWLVDOVREHLQJLQYHVWLJDWHGIRUDUPHGUREEHU\RI

WKHVDPHYHKLFOHWKHGLVWULFWDWWRUQH\ZLOODVNWKHMXGJHWRLPSRVHDPRQH\EDLOFRPPHQVXUDWH

ZLWKWKHPRUHVHYHUHFKDUJH7KHGLVWULFWDWWRUQH\VWDWHGWKDWVKHZRXOGDVNIRUWKHKLJKHUEDLOto

ensure that the person will be detained EHFDXVH D SHUVRQ VXVSHFWHG RI ³VRPHWKLQJ OLNH DUPHG

UREEHU\´VKRXOGQRWEHUHOHDVHGRQDORZPRQH\EDLOOLNH

             +HDULQJ2IILFHUVVRPHWLPHVUDLVHEDLOSXQLWLYHO\DQGDUELWUDULO\GRXEOLQJLWLIIRU

H[DPSOHDVKDSSHQHGUHFHQWO\DQDUUHVWHHUHVSRQGVWRDTXHVWLRQE\VWDWLQJ³<HDK´LQVWHDGRI

³<HV´

             ,I DQ LQGLYLGXDO LV QRW EURXJKW WR WKH SUREDEOH FDXVH KHDULQJ GXH WR PHGLFDO

UHDVRQV WKH +HDULQJ 2IILFHU ZLOO PDNH D ILQGLQJ RI SUREDEOH FDXVH DQG VHW PRQH\ EDLO LQ WKDW

SHUVRQ¶VDEVHQFHDFFRUGLQJWRWKHSUHGHWHUPLQHGVFKHGXOH

             ,Q+DUULV&RXQW\PRQH\EDLOLVLPSRVHGEDVHGVROHO\RQWKHDOOHJHGRIIHQVHDQG

WKHSHUVRQ¶VFULPLQDOKLVWRU\DQGZLWKRXWUHIHUHQFHWRDSHUVRQ¶VDELOLW\WRSD\UHVXOWLQJLQWKH

GHWHQWLRQRIDUUHVWHHVEDVHGRQWKHLUSRYHUW\

                 LLL 7KH8VHRI3HUVRQDO%RQGV

             +HDULQJ 2IILFHUV VRPHWLPHV UHFRPPHQG DUUHVWHHV IRU UHOHDVH RQ ³SHUVRQDO

ERQGV´ZKLFK'HIHQGDQWVXVHWRPHDQUHOHDVHZLWKRXWDQ\VHFXUHGILQDQFLDOFRQGLWLRQV

             5HFRPPHQGDWLRQVIRUUHOHDVHRQSHUVRQDOERQGVDUHEDVHGVROHO\RQWKHSHUVRQ¶V

FULPLQDO FKDUJH DQG FULPLQDO KLVWRU\ ² WKH\ KDYH QRWKLQJ WR GR DV D PDWWHU RI SROLF\ DQG

SUDFWLFHZLWKLQGLJHQFHRUDSHUVRQ¶VDELOLW\WRSD\DPRQH\EDLO7KHYDVWPDMRULW\RIDUUHVWHHV




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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 20 of 128




GXH WR WKH FKDUJH DJDLQVW WKHP RU WKHLU FULPLQDO KLVWRU\ DUH GHHPHG ³LQHOLJLEOH´ IRU SHUVRQDO

ERQGVDVDPDWWHURISROLF\

                       2QO\DERXWSHUFHQWRIPLVGHPHDQRUDUUHVWHHVZHUHDFWXDOO\UHOHDVHGRQSHUVRQDO

ERQGVLQDQG

                       3HUVRQDO ERQGV DUH QRW EDVHG RQ DQ\ LQTXLU\ LQWR DELOLW\ WR SD\ DQG +HDULQJ

2IILFHUVUHIXVHWRFRQGXFWVXFKLQTXLULHV

                       (YHQZKHQLQGLYLGXDOVDUHUHFRPPHQGHGIRUSHUVRQDOERQGVWKH\DUHQRWUHOHDVHG

LPPHGLDWHO\ DQG WKH\ PD\ QRW EH UHOHDVHG DW DOO  3UHWULDO 6HUYLFHV PXVW ILUVW ³YHULI\´ WKH

SHUVRQ¶V UHIHUHQFHV ² IRU H[DPSOH EHFDXVH 'HIHQGDQWV¶ SROLF\ LV WR UHTXLUH UHIHUHQFHV WR

FRQILUPDQDGGUHVVDSHUVRQZKRLVKRPHOHVVFDQQRWHYHQ³TXDOLI\´IRUUHOHDVHZLWKRXWSD\PHQW

RIWKHVFKHGXOHGDPRXQWRIEDLOsee infra6RPHWLPHVUHIHUHQFHVFDQQRWEHYHULILHGIRUGD\VRU

DZHHN6RPHWLPHVWKH\FDQQRWEHYHULILHGDWDOO,QWKRVHFDVHVWKHSHUVRQZLOOQRWEHUHOHDVHG

RQDSHUVRQDOERQGDQGZLOOEHGHWDLQHGXQOHVVVKHFDQSD\WKHPRQH\EDLO

                       $W DQ\ SRLQW LQ WKH YHULILFDWLRQ SURFHVV WKH DUUHVWHH FDQ SD\ WKH PRQH\ VHW

SXUVXDQWWRWKHVFKHGXOHDQGEHUHOHDVHGLPPHGLDWHO\

                       5HFRPPHQGDWLRQV IRU SHUVRQDO ERQGV LQ PLVGHPHDQRU FDVHV DUH IXUWKHU

FRQVWUDLQHGE\WKHLQVWUXFWLRQVRIWKH&RXQW\&RXUWVDW/DZ-XGJHVZKRSURYLGHVWULFWGLUHFWLYHV

WRWKH+HDULQJ2IILFHUVDERXWWKHPRQH\EDLOVHWWLQJSURFHVV

                       )RU H[DPSOH +HDULQJ 2IILFHUV DUH LQVWUXFWHG WKDW WKH\ PD\ QHYHU UHFRPPHQG

KRPHOHVV LQGLYLGXDOV IRU UHOHDVH ZLWKRXW VHFXUHG ILQDQFLDO FRQGLWLRQV  6RPH MXGJHV KDYH WROG

+HDULQJ 2IILFHUV QHYHU WR LVVXH QRQILQDQFLDO FRQGLWLRQV IRU DQ\ GHIHQGDQW ZKR LV DVVLJQHG WR



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 3UHWULDO6HUYLFHV$QQXDO5HSRUWsupraQRWHDW3UHWULDO6HUYLFHV$QQXDO5HSRUWsupraQRWHDW
DYDLODEOHDWKWWSVSUHWULDOKDUULVFRXQW\W[JRY/LEUDU\$QQXDO5HSRUWSGI



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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 21 of 128




WKHLU FRXUWURRP DW DOO RU IRU LQGLYLGXDOV ZKR KDYH SUHYLRXVO\ EHHQ JLYHQ SHUVRQDO ERQGV LQ

RWKHU FDVHV  2WKHU MXGJHV KDYH WROG +HDULQJ 2IILFHUV WR FRQVLGHU QRQVHFXUHG ILQDQFLDO

FRQGLWLRQVRQO\IRU³VWXGHQWV´+HDULQJ2IILFHUVRIWHQGHHPDQDUUHVWHH³QRWTXDOLILHG´IRUD

SHUVRQDOERQGLIVKHMXVWPRYHGWRWKH+RXVWRQDUHD

                       ,QDOOFDVHVSHUVRQDOERQGVDUHQRWJUDQWHGRQWKHEDVLVRIDQLQTXLU\LQWRDELOLW\

WRSD\

                       2QH+HDULQJ2IILFHUSXUVXDQWWRSROLF\UHFHQWO\WROGDJURXSRIDUUHVWHHV³'RQ¶W

DVN PH IRU D SHUVRQDO ERQG´  +H LQIRUPHGWKHPWKDWKHZRXOGFRQVLGHUUHOHDVHRQDSHUVRQDO

ERQGLIKHZDVDXWKRUL]HGWRFRQVLGHULWDQG³LI,¶PJRLQJWRJLYH\RXRQH,ZLOO´ZDUQLQJWKHP

DJDLQ³'RQ¶WDVN´

                       $W DQRWKHU KHDULQJ GXULQJ ZKLFK D +HDULQJ 2IILFHU VHW DQ DUUHVWHH¶V ERQG DW

 IRU GULYLQJ RQ D VXVSHQGHG OLFHQVH WKH DUUHVWHH SOHDGHG ZLWK WKH RIILFHU IRU UHOHDVH

ZLWKRXWUHTXLULQJVHFXUHGEDLOVWDWLQJWKDWKHKDG³QRPRQH\LQWKHZRUOG´DQGQHHGHGWRDWWHQG

DFXVWRG\KHDULQJVRKHFRXOGNHHSKLVIDPLO\WRJHWKHU7KH+HDULQJ2IILFHUUHIXVHGWRFRQVLGHU

WKHSHUVRQ¶VDELOLW\WRSD\RUSHUPLWKLPWREHUHOHDVHGZLWKQRQILQDQFLDOFRQGLWLRQVRIUHOHDVH

                       $QDUUHVWHH¶VLQGLJHQFHRUDELOLW\WRSD\LVQHYHUDIDFWRULQGHWHUPLQLQJZKHWKHU

WR UHFRPPHQG RU DSSURYH QRQILQDQFLDO FRQGLWLRQV RI UHOHDVH  +HDULQJ 2IILFHUV URXWLQHO\

SURKLELW DUUHVWHHV IURP VKDULQJ WKDW LQIRUPDWLRQ DQG DOZD\V UHIXVH WR FRQVLGHU LW ZKHQ VHWWLQJ

PRQH\EDLORUJUDQWLQJDSHUVRQDOERQGHYHQZKHQLWLVEURXJKWWRWKHLUDWWHQWLRQ

                           LY $VVLJQPHQWWRD+RXVLQJ8QLW



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 -DPHV3LQNHUWRQDQG/DXUD&DUXEDTough bail policies punish the poor and the sick, critics say 'HF 
DYDLODEOH DW KWWSZZZKRXVWRQFKURQLFOHFRPQHZVKRXVWRQWH[DVKRXVWRQDUWLFOH7RXJKEDLOSROLFLHVSXQLVKWKH
SRRUDQGWKHVLFNSKS"W EG FPSLG HPDLOSUHPLXP
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     Id.



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 22 of 128




            $Q\ DUUHVWHH ZKR ZDV QRW DVVLJQHG WR D KRXVLQJ XQLW EHIRUH KHU SUREDEOH FDXVH

KHDULQJZLOOUHPDLQLQDFFHVVLEOHWRDWWRUQH\VDQGHYHU\RQHHOVHRXWVLGHWKHMDLODIWHUWKHKHDULQJ

XQWLOWKHMDLODVVLJQVWKHLQGLYLGXDOWRDKRXVLQJXQLW

            ,WLVRQO\DIWHUEHLQJDVVLJQHGWRDKRXVLQJXQLWWKDWDQDUUHVWHHFDQEHFRQWDFWHG

E\DQ\RQHRXWVLGHWKHMDLODQGZLOOEHVFKHGXOHGIRUDKHDULQJLQD&RXQW\&RXUWDW/DZ

            $ VKHULII¶V GHSXW\ DW  &RPPHUFH 6WUHHW ZDV UHFHQWO\ DVNHG WR SURGXFH IRU

DWWRUQH\ YLVLWV VHYHUDO LQGLYLGXDOV ZKR KDG DWWHQGHG WKHLU SUREDEOH FDXVH KHDULQJV ZLWKLQ WKH

SUHYLRXVKRXUV$IWHUORRNLQJIRUWKHPHQIRUDQKRXUWKHGHSXW\VWDWHGWKDWWKHPHQFRXOG

QRWEHVHHQHYHQE\DQDWWRUQH\XQWLODIWHUWKH\KDGEHHQDVVLJQHGWRDKRXVLQJXQLWLQWKHMDLO

ZKLFK KDG QRW \HW KDSSHQHG  +H VDLG WKDW WKHLQGLYLGXDOV ZHUHDOOLQ WKH EDVHPHQWV RI RQH RI

IRXUEXLOGLQJVEXWKHGLGQRWNQRZZKLFKRQH7KHGHSXW\SURYLGHGDOLVWRIWKHIRXUIDFLOLWLHVLQ

ZKLFKWKHDUUHVWHHVPLJKWEHORFDWHG %DNHU6WUHHW-DLO1RUWK6DQ-DFLQWR1RUWK

6DQ-DFLQWR6WUHHW%DNHU6WUHHW 

            6KRUWO\ DIWHU WKDW FRQYHUVDWLRQ D VKHULII¶V GHSXW\ DW WKH MDLO EXLOGLQJ DW 

%DNHU 6WUHHW FRQILUPHG WKDW WKH VDPH PHQ FRXOG QRW EH FRQWDFWHG XQWLO DIWHU WKH\ KDG EHHQ

DVVLJQHGWRDKRXVLQJXQLW

            7KH GHSXWLHV VWDWHG WKDW LW ZRXOG WDNH  WR  KRXUV IRU WKDWWR KDSSHQ GXULQJ

ZKLFK WLPH QR RQH ZRXOG EH DEOH WR UHDFK WKHVH PHQ LQFOXGLQJ DQ\ DWWRUQH\  7KH VKHULII¶V

GHSXW\VDLGWKDWWKH\FRXOGQRWEHIRXQGIRUWKHSXUSRVHRIDQDWWRUQH\YLVLWEXWthey would be

found and released if money bond was posted

            ,Q WRWDO LW WDNHV D PLQLPXP RI  KRXUV DQG IUHTXHQWO\  RU  GD\V IRU DQ

DUUHVWHGSHUVRQWREHIXOO\ERRNHGLQWRWKHMDLODVVLJQHGWRDKRXVLQJXQLWDQGPDGHDYDLODEOHIRU

DQDWWRUQH\RUIDPLO\YLVLW,WFDQEHDQRWKHUVHYHUDOGD\VEHIRUHDSHUVRQDSSHDUVLQD&RXQW\




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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 23 of 128




&RXUWDW/DZDQGLVDVVLJQHGDQDWWRUQH\$WDQ\SRLQWGXULQJWKLVSHULRGRIWLPHDSHUVRQFDQ

SD\KHUPRQH\EDLODQGEHUHOHDVHG

                           Y )LUVW$SSHDUDQFHV

                       ,I DIWHU WKH SUREDEOH FDXVH KHDULQJ DQ DUUHVWHH LV VWLOO XQDEOH WR SXUFKDVH KHU

UHOHDVHIURPMDLOVKHZLOOEHWDNHQWRD&RXQW\&RXUWDW/DZXVXDOO\ZLWKLQWRKRXUVRIWKH

SUREDEOHFDXVHKHDULQJ+RZHYHUDUUHVWHHVZKRKDYHWKHLUSUREDEOHFDXVHKHDULQJVRQ)ULGD\

PRUQLQJ ZLOO QRW VHH D&RXQW\ &RXUW DW /DZ -XGJH XQWLO WKH IROORZLQJ0RQGD\ DW WKH HDUOLHVW

,QGLYLGXDOV ZKR DWWHQG SUREDEOH FDXVH KHDULQJV RQ )ULGD\ DIWHUQRRQ RU HYHQLQJ RU RYHU WKH

ZHHNHQGDUHXQOLNHO\WRVHHD-XGJHXQWLOWKHIROORZLQJ7XHVGD\DWWKHHDUOLHVW

                       'HWDLQHG LQGLYLGXDOV DUH DVVLJQHG FRXUWDSSRLQWHG DWWRUQH\V DW WKH ILUVW

DSSHDUDQFH KHDULQJ EXW WKHUH LV DV D PDWWHU RI SUDFWLFH QR UHYLHZ RI WKH PRQH\ EDLO DPRXQW

SUHYLRXVO\LPSRVHG7KH&RXQW\&RXUWVDW/DZ-XGJHVUHGXFHPRQH\EDLODPRXQWVSUHYLRXVO\

LPSRVHGLQOHVVWKDQSHUFHQWRIFDVHV

                       'HWDLQHGLQGLYLGXDOVUHPDLQLQORFNXSRXWVLGHRIWKHFRXUWURRPDQGDUHXVXDOO\

QRW HYHQ EURXJKW LQWR WKH FRXUWURRP RQ WKLV FRXUW GDWH XQOHVV WKH\ DUH SOHDGLQJ JXLOW\ ZKLFK

PDQ\ZKRDUHGHWDLQHGEHFDXVHWKH\DUHWRRSRRUWRSD\WKHLUPRQH\EDLOGREHFDXVHWKH\DUH

WROGWKDWWKH\FDQJHWRXWRIFXVWRG\PRUHTXLFNO\E\SOHDGLQJJXLOW\

                       2QH RI WKH SXUSRVHV DQG HIIHFWV RI +DUULV &RXQW\¶V SRVWDUUHVW GHWHQWLRQ LV WR

FRHUFH DQG SURFHVV ODUJH QXPEHUV RI JXLOW\ SOHDV SULRU WR DQ\ SHUVRQ FRQGXFWLQJ DQ\ OHJDO RU

IDFWXDO LQYHVWLJDWLRQ LQWR WKH FKDUJHV OHW DORQH WKH FRPSOHWH DQG ]HDORXV LQYHVWLJDWLRQ DQG

GHIHQVH UHTXLUHG E\ SURIHVVLRQDO VWDQGDUGV DQG WKH 6L[WK $PHQGPHQW WR WKH 8QLWHG 6WDWHV

&RQVWLWXWLRQ


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     3LQNHUWRQ &DUXEDsupraQRWH



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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 24 of 128




              2Q RQH W\SLFDO PRUQLQJ LQ 0DUFK  &RXQW\ &RXUW DW /DZ -XGJH 3DP

'HUE\VKLUH DFFHSWHG IRXU JXLOW\ SOHDV IURP GHWDLQHG LQGLYLGXDOV LQ VL[ PLQXWHV  7KHVH

LQGLYLGXDOV KDG MXVW PHW WKHLU DWWRUQH\V DQG WKHLU DWWRUQH\V KDG FRQGXFWHG QR PHDQLQJIXO

LQYHVWLJDWLRQLQWRWKHIDFWVRUFLUFXPVWDQFHVRIWKHFDVHV1RQHRIWKHGHIHQGDQWVKDGEHHQDEOH

WRSD\WKHVFKHGXOHGPRQH\EDLOVLQFHWKHLUDUUHVWVHYHUDOGD\VSULRU7KH\DSSHDUHGEHIRUHWKH

MXGJHLQRUDQJHMXPSVXLWVKDQGFXIIHGWRJHWKHU6HYHUDORIWKHPZHUHVHQWHQFHGWRWKUHHGD\VLQ

MDLO ZLWK FUHGLW IRU WKH WKUHH GD\V WKH\ VHUYHG EHWZHHQ WKHLU DUUHVW DQG JXLOW\ SOHD  7KLV LV D

URXWLQHHYHU\GD\RFFXUUHQFHLQ+DUULV&RXQW\¶VPLVGHPHDQRUFULPLQDOOHJDOV\VWHPHYHU\RQH

RIWKH&RXQW\&RXUWVDW/DZMXGJHVURXWLQHO\DFFHSWVJXLOW\SOHDVIURPLQGLYLGXDOVZKRDUHLQ

MDLO VROHO\ EHFDXVH WKH\ DUH WRR SRRU WR SD\ PRQH\ EDLO   SHUFHQW RI GHWDLQHG GHIHQGDQWV

SOHDGJXLOW\ZKLOHRQO\SHUFHQWRIUHOHDVHGGHIHQGDQWVSOHDGJXLOW\

              7KH&RXQW\&RXUWVDW/DZ-XGJHV²DQGHYHU\RWKHUDFWRULQWKH&RXQW\¶VSRVW

DUUHVWV\VWHP DVZHOODVDQ\RQHZKRKDVREVHUYHGSUREDEOHFDXVHKHDULQJVRUILUVWDSSHDUDQFHV 

² NQRZ WKDW PDQ\ RI WKH GHWDLQHG LQGLYLGXDOV ZKR DSSHDU LQ IURQW RI WKHP FKDUJHG ZLWK

PLVGHPHDQRUV DUH EHLQJ KHOG LQ MDLO VROHO\ EHFDXVH WKH\ DUH WRR SRRU WR SD\ WKH PRQH\ EDLO

DPRXQW VHW E\ WKH SUHGHWHUPLQHG VFKHGXOH  7KH\ DOO KDYH DFFHVV WR LQIRUPDWLRQ DERXW RWKHU

KROGVWKDWPLJKWEHNHHSLQJWKHSHUVRQLQMDLO7KHMXGJHVDQG6KHULII¶V'HSDUWPHQWHPSOR\HHV

DQGDJHQWVKDYHNQRZOHGJHWKDWLQKXQGUHGVRISHRSOH¶VFDVHVHYHU\GD\WKHUHLVQRUHDVRQIRUD

SHUVRQ¶V GHWHQWLRQ RWKHU WKDQ WKH SHUVRQ¶V LQDELOLW\ WR PDNH WKH PRQHWDU\ SD\PHQW VHW  7KH

+HDULQJ2IILFHUVDQG&RXQW\&RXUWVDW/DZ-XGJHVKDYHDFFHVVWREDVLFILQDQFLDOLQIRUPDWLRQLI

DQ DUUHVWHH KDV EHHQ LQWHUYLHZHG E\ 3UHWULDO 6HUYLFHV DQG WKH\ WKHUHIRUH NQRZ WKDW D ODUJH

PDMRULW\RIWKRVHDSSHDULQJEHIRUHWKHP ZKRKDYHQRWEHHQDEOHWRSD\PRQH\EDLOSULRUWRWKH

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 +HDWRQHWDOThe Downstream Consequences of Misdemeanor Pretrial DetentionDW IRUWKFRPLQJ6WDQIRUG
/DZ5HYLHZ  -XO\ DYDLODEOHDWKWWSSDSHUVVVUQFRPVROSDSHUVFIP"DEVWUDFWBLG 



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 25 of 128




DSSHDUDQFH  DUH HQWLUHO\ GHVWLWXWH VHYHUHO\ LPSRYHULVKHG RU RWKHUZLVH TXDOLI\ IRU FRXUW

DSSRLQWHGFRXQVHODQGGRQRWKDYHWKHDVVHWVWRDIIRUGWKHVHFXUHGILQDQFLDOFRQGLWLRQRIUHOHDVH

SUHVFULEHGE\WKHSUHGHWHUPLQHGVFKHGXOH

         6KHULII¶V 'HSDUWPHQW HPSOR\HHV DQG DJHQWV DOVR REVHUYH WKH SUREDEOH FDXVH

KHDULQJV ZKLFK RFFXU VHYHUDO WLPHV SHU GD\ DQG ZLWQHVV WKH 'HIHQGDQW +HDULQJ 2IILFHUV

URXWLQHO\ IDLOLQJ DQG UHIXVLQJ DV D PDWWHU RI SROLF\ DQG SUDFWLFH WR FRQVLGHU DELOLW\ WR SD\ RU

DOWHUQDWLYHV WR VHFXUHG ILQDQFLDO FRQGLWLRQV ZKHQ LPSRVLQJ VHFXUHG ILQDQFLDO FRQGLWLRQV RI

UHOHDVH

         7KH &RXQW\ &RXUWV DW /DZ -XGJHV DUH DZDUH RI WKH +HDULQJ 2IILFHUV¶ RSHQ

QRWRULRXV DQG V\VWHPLF IDLOXUH WR DFFRXQW IRU DELOLW\ WR SD\ +HDULQJ 2IILFHUV IUHTXHQWO\ VWDWH

WKDW WKH\ DUH UHIXVLQJ WR FRQVLGHU DELOLW\ WR SD\ EHFDXVH RI EODQNHW LQVWUXFWLRQV IURP WKH

'HIHQGDQW&RXQW\&RXUWVDW/DZ-XGJHV7KRVHLQVWUXFWLRQVLQFOXGHWKDWUHFRJQL]DQFHUHOHDVH

PD\QRWEHJLYHQWRLQGLYLGXDOVZKRDUHKRPHOHVVRUWRSHRSOHZKRKDYHSUHYLRXVO\EHHQJLYHQ

SHUVRQDOERQGV$GGLWLRQDOO\DUUHVWHHVZKRDUHWRRSRRUWRSD\PRQH\EDLODSSHDUGLUHFWO\LQ

IURQW RI WKH 'HIHQGDQW &RXQW\ &RXUWV DW /DZ -XGJHV  7KRVH VDPH MXGJHV URXWLQHO\ ILQG WKRVH

DUUHVWHHVWREHLQGLJHQWIRUSXUSRVHVRIDSSRLQWLQJFRXQVHO)XUWKHUDXGLRYLVXDOUHFRUGLQJVRI

DOORIWKHSUREDEOHFDXVHKHDULQJVDUHPDLQWDLQHGE\WKH&RXQW\DQGWKH&RXQW\&OHUN

         ,IDGHIHQGDQWGRHVQRWSOHDGJXLOW\DWKHUILUVWDSSHDUDQFHDGHIHQVHDWWRUQH\FDQ

ILOHDPRWLRQIRUDUHGXFWLRQRIWKHPRQH\EDLODPRXQW,WW\SLFDOO\WDNHVDWOHDVWRQHZHHNIRU

WKDWPRWLRQWREHKHDUG7KXVLQDW\SLFDOFDVHLWFDQWDNHZHOORYHUDZHHNDIWHUDUUHVWIRUD

SHUVRQ ZKR FDQQRW DIIRUG WKH SUHGHWHUPLQHG PRQH\ EDLO DPRXQW VHW E\ WKH VFKHGXOH WR REWDLQ

DQ\PHDQLQJIXOUHYLHZRIWKDWDPRXQW




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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 26 of 128




              7KLV SUHWULDO GHWHQWLRQ VFKHPH PHDQV WKDW D W\SLFDO LQGLYLGXDO ZLWKRXW ILQDQFLDO

PHDQVZLOOEHGHWDLQHGVROHO\EHFDXVHRIKHULQDELOLW\WRPDNHDPRQHWDU\SD\PHQWIRUDWOHDVW

WZR GD\V DQG XVXDOO\ WKUHH WR PRUH WKDQ VHYHQ GD\V ZLWKRXW DQ\ RSSRUWXQLW\ IRU UHOHDVH RU WR

UDLVHDQ\LVVXHVFRQFHUQLQJKHUDELOLW\WRSD\0RVWLPSRYHULVKHGDUUHVWHHVDUHGHWDLQHGORQJHU

$WDQ\PRPHQWLQWKLVSURFHVVDQDUUHVWHHZKRFDQSD\WKHPRQH\EDLOVHWE\WKHVFKHGXOHFDQ

ZDONRXWRIWKHGRRUVRIWKHMDLO

              ,Q   SHUFHQW RI WKH PRVW LPSRYHULVKHG PLVGHPHDQRU DUUHVWHHV ² WKRVH

ZKR ZHUH XQDEOH WR SD\ HYHQ D  PRQH\ EDLO WKH PLQLPXP DPRXQW DFFRUGLQJ WR WKH

SUHGHWHUPLQHG VFKHGXOH  ² ZHUH GHWDLQHG DW GLVSRVLWLRQ KDYLQJ EHHQ LQ MDLO DQ DYHUDJH RI

DOPRVWGD\V

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SRVWHGERQGDQGQHDUO\SHUFHQWRISHRSOHJLYHQDERQGRIWRQHYHUSRVWHGLW

              ,QDQGSHUFHQWRIPLVGHPHDQRUDUUHVWHHVZLWKPRQH\EDLOLPSRVHG

ZHUHVWLOOLQMDLOZKHQWKHLUFDVHZDVGLVSRVHGRI,QGLYLGXDOVGHWDLQHGSUHWULDODUHPRUHOLNHO\

WR EH VHQWHQFHG WR MDLO OHVV OLNHO\ WR EH VHQWHQFHG WR SUREDWLRQ DQG DUH JLYHQ VHQWHQFHV PRUH

WKDQWZLFHDVORQJDVWKRVHUHFHLYHGE\LQGLYLGXDOVZKRZHUHUHOHDVHGSUHWULDO

             &          7KH+DUULV&RXQW\-DLO




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 See:KHHOHU )U\5HSRUWsupraQRWHDW2QO\SHUFHQWRILQGLYLGXDOVGHWDLQHGDWGLVSRVLWLRQDUHQRW
FRQYLFWHG FRPSDUHG ZLWK  SHUFHQW RI LQGLYLGXDOV ZKR DUH IUHH ZKHQ WKHLU FDVH LV UHVROYHG  0RUHRYHU IRU
SHRSOHJLYHQDEDLOSHUFHQWRISHRSOHGHWDLQHGDWGLVSRVLWLRQZHUHJLYHQMDLOVHQWHQFHVFRPSDUHGWR
SHUFHQWRIGHIHQGDQWVUHOHDVHGRQEDLODWGLVSRVLWLRQId.
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     3UHWULDO6HUYLFHV$QQXDO5HSRUWsupraQRWHDW
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  3UHWULDO 6HUYLFHV  $QQXDO 5HSRUW supra QRWH  DW  VKRZLQJ LQ 7DEOH % WKDW URXJKO\  SHUFHQW RI
PLVGHPHDQRU DUUHVWHHV SRVW PRQH\ EDLO  3UHWULDO 6HUYLFHV  $QQXDO 5HSRUW supra QRWH  DW  3LQNHUWRQ 
&DUXEDsupraQRWH VWDWLQJWKDWDERXWKDOIRIDUUHVWHHVSD\ERQGVPHQIRUWKHLUUHOHDVH 
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     +HDWRQHWDOsupraQRWHDW



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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 27 of 128




               7KH+DUULV&RXQW\-DLOLVWKHODUJHVWMDLOLQ7H[DVDQGWKHWKLUGODUJHVWMDLOLQWKH

8QLWHG6WDWHV,WERRNVRQDYHUDJHLQGLYLGXDOVSHU\HDUDQGLQGLYLGXDOVSHUGD\

0RVW LQGLYLGXDOV DUUHVWHG LQ +DUULV &RXQW\ DUH WDNHQ ILUVW WR ILHOG VWDWLRQV UXQ E\ WKH &LW\ RI

+RXVWRQ +DUULV &RXQW\ RU VRPH RWKHU DUUHVWLQJ DXWKRULW\  $Q\RQH ZKR GRHV QRW SRVW EDLO

LPPHGLDWHO\DIWHUDUUHVWZLOOEHWUDQVSRUWHGWRWKH+DUULV&RXQW\-DLO

               7KH YDVW PDMRULW\ RI KXPDQ EHLQJV LQ +DUULV &RXQW\ -DLO FHOOV DUH QRW WKHUH

EHFDXVHWKH\KDYHEHHQFRQYLFWHGRIDFULPH,QVWHDGPRVWLQPDWHV²SHUFHQW²DUHEHLQJ

NHSWLQMDLOFHOOVSULRUWRWULDOGHVSLWHWKHSUHVXPSWLRQRILQQRFHQFHEHFDXVHWKH\FDQQRWDIIRUG

WRSD\PRQH\EDLO,IWKH\FRXOGSD\WKHPRQH\EDLODVVLJQHGWRWKHPWKH\FRXOGZDONRXWRIWKH

GRRUVRIWKHMDLODWDQ\WLPH

               ,Q 0DUFK  D W\SLFDO PRQWK WKH DYHUDJH GDLO\ SRSXODWLRQ RI WKH +DUULV

&RXQW\-DLOZDVLQGLYLGXDOVRIZKRPZHUHSUHWULDOGHWDLQHHV$ERXWSHUFHQWRI

WKRVHSUHWULDOGHWDLQHHV²LQGLYLGXDOV²KDGEHHQDUUHVWHGIRUPLVGHPHDQRUV7KHDYHUDJH

GDLO\ SRSXODWLRQ RI PLVGHPHDQRU SUHWULDO GHWDLQHHV LQ $SULO ZDV  DQG LQ 0D\ LW ZDV 

$OPRVWDOORIWKHVHLQGLYLGXDOVZHUHWKHUHRQO\EHFDXVHWKH\ZHUHXQDEOHWRDIIRUGPRQH\EDLORI

RUOHVV

               $OWKRXJKWKHMDLOSRSXODWLRQIHOOE\LQGLYLGXDOVEHWZHHQDQGWKH

SUHWULDOSRSXODWLRQIHOOE\RQO\LQPDWHV


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   6DUDK 5 *XLGU\ HW DO A Blueprint for Criminal Justice Policy Solutions in Harris County DW 
KWWSZZZDPHULFDQEDURUJFRQWHQWGDPDEDHYHQWVOHJDOBDLGBLQGLJHQWBGHIHQGDQWVOVBVFODLGBVXPPLWBBWFMF
BBKDUULVBFRXQW\BEOXHSULQWDXWKFKHFNGDPSGI>$%$5HSRUW@
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     Id.DW
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     See 2IILFHRI&ULPLQDO-XVWLFH&RRUGLQDWLRQHarris County–Jail Population March 2016 ReportDW>([KLELW@
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  See id. 2IILFH RI &ULPLQDO -XVWLFH &RRUGLQDWLRQ Harris County–Jail Population June 2016 Report 2IILFH RI
&ULPLQDO-XVWLFH&RRUGLQDWLRQHarris County–Jail Population July 2016 Report>([KLELWV@
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     $%$5HSRUWsupra QRWHDW



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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 28 of 128




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JUHZE\SHUFHQW

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ODXQFKHG DQ HUD RI IHGHUDO RYHUVLJKW EHFDXVH RI WKH VHULRXV DQG V\VWHPLF YLRODWLRQV RI

FRQVWLWXWLRQDO ULJKWV WKDW SHUYDGHG WKH IDFLOLW\  7KH LQYHVWLJDWLRQ OHG WKH &RXQW\ WR IRUP WKH

+DUULV&RXQW\&ULPLQDO-XVWLFH&RRUGLQDWLQJ&RXQFLOLQDQHIIRUWWRDGGUHVVWKHRYHUFURZGLQJLQ

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FRPPLVVLRQRIIHORQLHVDQGPLVGHPHDQRUVGXHWRWKHFULPLQRJHQLFHIIHFWVRIHYHQ




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DSRORJ\ UHSRUWLQJ RQ WKH FDVH RI *LOEHUW &UX] D GLVDEOHG YHWHUDQ ZKRVH  EDLO ZDV VHW LQ KLV
DEVHQFH0U&UX]UHIXVHGWRSOHDGJXLOW\OHDGLQJWRPRUHWKDQWZRPRQWKVLQMDLOGXULQJZKLFKWLPHKHORVWKLVMRE
DQGKLVFDUEHIRUHWKHFKDUJHVZHUHGLVPLVVHGIRUODFNRISUREDEOHFDXVH 
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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 29 of 128




EULHISUHWULDOFXVWRG\7KH&RXQW\ZRXOGKDYHVDYHGURXJKO\PLOOLRQLQVXSHUYLVLRQFRVWV

DORQH

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LQ WKH MDLO LQDGHTXDWH WUDLQLQJ RI MDLO VWDII DQG ODFN RI DFFHVV WR PHGLFDWLRQV DQG PHGLFDO

VHUYLFHV  )RU \HDUV WKH &RXQW\ KDV EHHQ DZDUH RI WKHVH LQWROHUDEOH FRQGLWLRQV ZKLFK H[LVW

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UHOHDVH VROHO\ EHFDXVH KH FRXOG DIIRUG WR SD\ IRU KLV UHOHDVH  +H KDG MXVW SRVWHG PRQH\ EDLO DQG ZDV EHLQJ
SURFHVVHGRXWRIWKHMDLODWWKHWLPHRIWKHIDWDODVVDXOW0HDJDQ)O\QQInmate Beaten To Death After Spending Less
Than 48 Hours In Harris County Jail $SU    DYDLODEOH DW  KWWSZZZKRXVWRQSUHVVFRPQHZVLQPDWH
EHDWHQWRGHDWKDIWHUVSHQGLQJOHVVWKDQKRXUVLQKDUULVFRXQW\MDLO
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     Jail Population ReportIRU0DUFKsupraQRWHDW
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   $%$ 5HSRUW supra QRWH  DW  VWDWLQJ WKDW WKHUH DUH  ERRNLQJV SHU GD\  3UHWULDO 6HUYLFH  5HSRUW
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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 30 of 128




QHYHU SRVWHG ERQG  $W DQ\ JLYHQ PRPHQW WKHUH DUH KXQGUHGV RI SHRSOH FKDUJHG RQO\ ZLWK

PLVGHPHDQRUV ZKR DUH EHLQJ GHWDLQHG LQ WKH +DUULV &RXQW\ -DLO VROHO\ EHFDXVH WKH\ FDQQRW

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              7KHQDPHG3ODLQWLIIVZRXOGQRWKDYHWRHQGXUHDPLQXWHRILQFDUFHUDWLRQLIWKH\

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ERQGLQJ DJHQFLHV ZKR RIIHU WKHP WKH RSSRUWXQLW\ WR SD\ IRU ³QRQDUUHVW ERQGV´ DSSURYHG DQG

XVHGE\WKH&RXQW\ZKLFKDOORZWKHPWRDYRLGDUUHVWDOWRJHWKHU

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DIIRUGWRKLUHFRXQVHOODZ\HUVDUHVRPHWLPHVDEOHWRDUUDQJH³ZDONWKURXJKV´IRUWKHLUFOLHQWV

ZKHUHE\WKHSHUVRQFKDUJHGZLWKDFULPHJRHVWRWKHFRXUWKRXVHSD\VWKHPRQH\EDLODQGJHWVD

FRXUWGDWHZLWKRXWHYHUJRLQJWKURXJKWKHDUUHVWDQGERRNLQJSURFHVV$UUHVWHHVDEOHWRSD\IRU

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ZKRFRXOGQRWSRVWWKHPRQH\EDLOWKDW+DUULV&RXQW\GHPDQGHGRIWKHP 
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   $OO $ERXW %DLO %RQGV Services for Non-Arrest Bonds in Houston DYDLODEOH DW
KWWSZZZDOODERXWEDLOERQGVKRXVWRQFRPVHUYLFHVQRQDUUHVWEDLOERQGV $OO $FFHVV %DLO %RQGV Services
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LQLWLDWHVWKHSURFHVVRIVFKHGXOLQJ\RXUGD\LQFRXUW7KLVUHOLHYHVWKHVWUHVVDQGZRUU\DERXWEHLQJDUUHVWHG´ 



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 31 of 128




         $UUHVWHHVDUHJLYHQDULJKWWRUHOHDVHSHQGLQJWULDOEXW'HIHQGDQWV¶ZHDOWKEDVHG

GHWHQWLRQ V\VWHP FRQGLWLRQV WKHLU UHOHDVH RQ WKHLU DELOLW\ WR DIIRUG PRQH\ EDLO WKXV W\LQJ WKHLU

SUHWULDOIUHHGRPWRWKHLUZHDOWKVWDWXV

         $VDPDWWHURISROLF\DQGSUDFWLFHZKHQDQHZDUUHVWHHLVEURXJKWWRWKH+DUULV

&RXQW\-DLOFRXQW\HPSOR\HHVLQIRUPWKHDUUHVWHHWKDWVKHZLOOEHUHOHDVHGIURPMDLOLPPHGLDWHO\

LIVKHSD\VKHUPRQH\EDLODPRXQW7KHDUUHVWHHLVWROGWKDWVKHZLOOUHPDLQLQMDLOLIVKHLVQRW

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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 32 of 128




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SURFHGXUHVWKDWFDQKHOSLQFUHDVHFRXUWDWWHQGDQFHDQGSXEOLFVDIHW\ZLWKRXWUHTXLULQJGHWHQWLRQ

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LQFOXGHXQVHFXUHGERQGUHSRUWLQJREOLJDWLRQVSKRQHDQGWH[WPHVVDJHUHPLQGHUVRIFRXUWGDWHV

ULGHVWRFRXUWIRUWKRVHZLWKRXWWUDQVSRUWDWLRQRUDVWDEOHDGGUHVVFRXQVHOLQJGUXJDQGDOFRKRO

WUHDWPHQW EDWWHUHU LQWHUYHQWLRQ SURJUDPV DQJHU PDQDJHPHQW FRXUVHV DOFRKRO PRQLWRUV RU LQ

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WRSRVWDFDVKEDLOLVW\SLFDOO\DOWKRXJKVXFKDJHQWVDUHIUHHWRUHIXVHWRSD\IRUWKHUHOHDVHRIDQDUUHVWHH
IRU DQ\ UHDVRQ RU IRU QR UHDVRQ  7KXV WKH DYDLODELOLW\ RI WKLUGSDUW\ DJHQWV DW OHDVW IRU WKRVH DUUHVWHHV ZKR FDQ
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   $USLW *XSWD &KULVWRSKHU +DQVPDQ  (WKDQ )UHQFKPDQ The Heavy Costs of High Bail: Evidence from Judge
Randomization 0D\    DW  DYDLODEOH DWKWWSZZZFROXPELDHGXaFMK*XSWD+DQVPDQ)UHQFKPDQSGI
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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 33 of 128




DOORZ LPPHGLDWH UHOHDVH XSRQ D SURPLVH WR SD\ WKH PRQHWDU\ DPRXQW LI WKH SHUVRQ GRHV QRW

DSSHDUDVUHTXLUHG VWD\DZD\RUGHUVFXUIHZVRUHYHQKRPHGHWHQWLRQ

              'HIHQGDQWV DUH SHUPLWWHG E\ ODZ WR XVH WKHVH DOWHUQDWLYHV EXW DV D PDWWHU RI

URXWLQH FKRRVH QRW WR IRU LPSRYHULVKHG PLVGHPHDQRU DUUHVWHHV  7KH YDVW PDMRULW\ RI +DUULV

&RXQW\DUUHVWHHVDUHSURFHVVHGDQGGHWDLQHGWKURXJK+DUULV&RXQW\¶VPRQH\EDLOVFKHPHUDWKHU

WKDQQRQPRQHWDU\VXSHUYLVLRQPHWKRGV$VDPDWWHURISROLF\DQGSUDFWLFH'HIHQGDQWVGRQRW

FRQVLGHU OHVV UHVWULFWLYH DOWHUQDWLYHV UDWKHU WKDQ GHWHQWLRQ EDVHG RQ PRQH\ EDLO WKDW D SHUVRQ

FDQQRWDIIRUG

              -XULVGLFWLRQVZLWKUREXVWSUHWULDOVHUYLFHVDQGQRQPRQHWDU\FRQGLWLRQVRIUHOHDVH

DFKLHYH FRXUWDSSHDUDQFH UDWHV RYHU  SHUFHQW ZLWK PRUH WKDQ  SHUFHQW RI WKRVH UHOHDVHG

SUHWULDOUHPDLQLQJDUUHVWIUHH DQG±SHUFHQWUHPDLQLQJDUUHVWIUHHIRUYLROHQWFULPHV 

              (PSLULFDO HYLGHQFH SURYHV WKDW XQVHFXUHG ERQG DORQH LV MXVW DV HIIHFWLYH DW

HQVXULQJDSSHDUDQFHLQFRXUWDVVHFXUHGPRQH\EDLO

              'HWHQWLRQRQPRQH\EDLOLQFUHDVHVWKHOLNHOLKRRGRIFRQYLFWLRQ$SHUVRQZKRLV

GHWDLQHGSUHWULDOLVSHUFHQWPRUHOLNHO\WREHFRQYLFWHGDQGSHUFHQWPRUHOLNHO\WRSOHDG

JXLOW\$GGLWLRQDOO\LQGLYLGXDOVGHWDLQHGSUHWULDOZLOOEHJLYHQORQJHUMDLOVHQWHQFHV0RQH\

EDLOLVGLVSURSRUWLRQDWHO\LPSRVHGRQQRQZKLWHDUUHVWHHV




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  0HJDQ6WHYHQVRQDistortion of Justice: How the Inability to Pay Bail Affects Case Outcomes 0D\ DW
 DYDLODEOH DW KWWSVZZZODZXSHQQHGXFIIDFXOW\UHVHDUFKGHWDLOVFIP"UHVHDUFKBLG  see also *XSWD HW
DOsupraQRWHDW ILQGLQJDSHUFHQWLQFUHDVHLQWKHOLNHOLKRRGRIFRQYLFWLRQXVLQJWKHVDPHGDWD +HDWRQHW
DOsupraQRWHDW
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     6WHYHQVRQsupraQRWHDW+HDWRQHWDOsupraQRWHDW
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     *XSWDHWDOsupraQRWHDW±



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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 34 of 128




              ,QGLYLGXDOV ZKR DUH GHWDLQHG ² LQVWHDG RI UHOHDVHG RQ PRQH\ EDLO RU RQ D

SHUVRQDO ERQG ² ZKHQ WKHLU FDVH LV UHVROYHG KDYH ZRUVH FDVH RXWFRPHV  )RU H[DPSOH 

SHUFHQWRILQGLYLGXDOVZKRDUHGHWDLQHGDWGLVSRVLWLRQLQ+DUULV&RXQW\DUHQRWFRQYLFWHGZKLOH

 SHUFHQW RI LQGLYLGXDOV ZKR DUH IUHH DW GLVSRVLWLRQ UHVROYH WKHLU FDVH ZLWKRXW D FRQYLFWLRQ

$GGLWLRQDOO\LQGLYLGXDOVZKRDUHEHLQJFRQILQHGRQPRQH\EDLOZKHQWKHLUFDVHLVUHVROYHG

ZLOO VSHQG D PHGLDQ RI WKUHH GD\V LQ MDLO ZKLFK FRVWV WKH &RXQW\ DERXW   ZKLOH

LQGLYLGXDOV ZKR DUH DEOH WR SD\ WKH  EDLO LQ FDVK RU WKH  QRQUHIXQGDEOH IHH WR D

FRPPHUFLDOERQGLQJDJHQW DQGDUHIUHHDWGLVSRVLWLRQZLOOVSHQGDQDYHUDJHRIRQO\RQHGD\LQ

MDLO

              6HWWLQJ D VHFXUHG PRQH\ EDLO ZLWKRXW DQ LQTXLU\ LQWR DELOLW\ WR SD\ DQG LQ DQ

DPRXQW KLJKHU WKDQ D SHUVRQ FDQ DIIRUG E\ GHILQLWLRQ GHIHDWV WKH SXUSRVH RI PRQH\ EDLO ² WR

LQFHQWLYL]HDSHUVRQWRUHWXUQWRFRXUW²DQGUHPRYHVDQ\OHJLWLPDWH OHWDORQHFRPSHOOLQJ VWDWH

LQWHUHVW LQ WKH VHWWLQJ RI D ILQDQFLDO FRQGLWLRQ  1RU LV VHWWLQJ PRQH\ EDLO ZLWKRXW ILQGLQJV

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  6WHYHQVRQsupraQRWHDW*XSWDHWDOsupraQRWHDW ILQGLQJDSHUFHQWLQFUHDVHLQWKHOLNHOLKRRG
RI FRQYLFWLRQ XVLQJ WKH VDPH GDWD  +HDWRQ HW DO supra QRWH  DW  $%$ 5HSRUW supra QRWH  DW 
 ³>'@HIHQGDQWV ZKR DUH QRW UHOHDVHG SUHWULDO DUH PRUH OLNHO\ WR EH LQFDUFHUDWHG IROORZLQJ D FRQYLFWLRQ DQG WKH\
JHQHUDOO\ UHFHLYH ORQJHU VHQWHQFHV XSRQ FRQYLFWLRQ´  /LVH 2OVRQ Study: Inmates who can’t afford bond face
tougher sentences           6HSW    DYDLODEOH DW KWWSZZZKRXVWRQFKURQLFOHFRPQHZVKRXVWRQ
WH[DVKRXVWRQDUWLFOH6WXG\,QPDWHVZKRFDQWDIIRUGERQGIDFHWRXJKHUSKS GLVFXVVLQJ &DUORV 0DWKLV
DQ$IULFDQ$PHULFDQPDQZKRZDVKHOGLQMDLOIRUVHYHQPRQWKVRQPLQRUGUXJDQGWKHIWFKDUJHVEHFDXVHKHFRXOG
QRW DIIRUG PRQH\ EDLO DQG ZKRVH FKDUJHV ZHUH GLVPLVVHG  ,VDPL $ULIXNX  -XG\ :DOOHQ Racial Disparities at
Pretrial and Sentencing and the Effects of Pretrial Services Programs 0DU    DYDLODEOH DW
KWWSZZZSUHWULDORUJGRZQORDGUHVHDUFK5DFLDO'LVSDULWLHVDW3UHWULDODQG6HQWHQFLQJDQG
WKH(IIHFWVRI3UHWULDO6HUYLFHV3URJUDPV1&&'SGI &\QWKLD ( -RQHV
“Give Us Free”: Addressing Racial Disparities in Bail Determinations1<8/HJLV 3XE3RO¶\  
7LQD/)UHLEXUJHUHWDOThe Impact of Race on the Pretrial Decision$PHULFDQ-RXUQDORI&ULPLQDO-XVWLFH  
DYDLODEOHDWKWWSOLEUHVXQFJHGXLUDVXI0DUFXPB&'BB,PSDFWBRIB5DFHSGI
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  :KHHOHU )U\5HSRUWsupraQRWHDW±/RZHQNDPSHWDOThe Hidden Costs of Pretrial DetentionDW
                       1RY                                            DYDLODEOH                     DW
KWWSZZZSUHWULDORUJGRZQORDGUHVHDUFK7KH+LGGHQ&RVWVRI3UHWULDO'HWHQWLRQ
/-$)SGI VWXG\LQJGHIHQGDQWVDQGILQGLQJWKDW³ZKHQKHOGGD\VORZULVNGHIHQGDQWVDUH
DOPRVWSHUFHQWPRUHOLNHO\WRFRPPLWQHZFULPHVEHIRUHWULDOWKDQHTXLYDOHQWGHIHQGDQWVKHOGQRPRUHWKDQ
KRXUV´  $UQROG )RXQGDWLRQ Pretrial Criminal Justice Research Summary   DW  available at
KWWSZZZDUQROGIRXQGDWLRQRUJVLWHVGHIDXOWILOHVSGI/-$)3UHWULDO&-5HVHDUFKEULHIB)1/SGI ILQGLQJ WKDW
³ORZULVNGHIHQGDQWVKHOG±GD\VZHUHSHUFHQWPRUHOLNHO\WRFRPPLWDQRWKHUFULPHZLWKLQWZR\HDUV´DQGWKDW
WKRVHGHWDLQHG³±GD\V\LHOGHGDSHUFHQWLQFUHDVHLQUHRIIHQVHUDWHV´ 



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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 35 of 128




FRQFHUQLQJ DELOLW\ WR SD\ WKH PRVW QDUURZO\ WDLORUHG ZD\ WR PHHW DQ\ RWKHU OHJLWLPDWH RU

FRPSHOOLQJJRYHUQPHQWLQWHUHVW

              7KH 'HIHQGDQWV¶ XVH RI PRQH\ EDLO OHDGV GLVSURSRUWLRQDWHO\ WR WKH GHWHQWLRQ RI

SHRSOHRIFRORUDVFRPSDUHGWRZKLWHV5HJDUGOHVVRIWKHDPRXQWRIPRQH\EDLOLPSRVHGSHRSOH

RIFRORUDUHPRUHOLNHO\WREHGHWDLQHGDWGLVSRVLWLRQWKDQZKLWHV

              8QQHFHVVDU\ SUHWULDO GHWHQWLRQ FDXVHV LQVWDELOLW\ LQ HPSOR\PHQW KRXVLQJ DQG

FDUH IRU GHSHQGHQWUHODWLYHV6WXGLHVVKRZWKDWWKRVHGHWDLQHGSUHWULDOIDFHZRUVHRXWFRPHV DW

WULDO DQG VHQWHQFLQJ WKDQ WKRVH UHOHDVHG SUHWULDO HYHQ ZKHQ FKDUJHG ZLWK WKH VDPH RIIHQVHV

'HWDLQHGGHIHQGDQWVDUHPRUHOLNHO\WRSOHDGJXLOW\MXVWWRVKRUWHQWKHLUMDLOWLPHHYHQLIWKH\DUH

LQQRFHQW7KH\KDYHDKDUGHUWLPHSUHSDULQJIRUWKHLUGHIHQVHJDWKHULQJHYLGHQFHDQGZLWQHVVHV

DQG PHHWLQJ ZLWK WKHLU ODZ\HUV  6WXGLHV DOVR VKRZ WKDW MXVW WZR GD\V RI SUHWULDO GHWHQWLRQ

LQFUHDVHVWKHOLNHOLKRRGRIIXWXUHDUUHVWVDQGLQFUHDVHVWKHIXWXUHULVNOHYHORIORZOHYHORIIHQGHUV

              3UHWULDO GHWHQWLRQ LV PRUH WKDQ WHQ WLPHV PRUH H[SHQVLYH WKDQ HIIHFWLYH SUHWULDO

VXSHUYLVLRQ SURJUDPV  7KURXJK QRQPRQHWDU\ WRROV SUHWULDO VXSHUYLVLRQ SURJUDPV FDQ VDYH

WD[SD\HUH[SHQVHZKLOHPDLQWDLQLQJKLJKSXEOLFVDIHW\DQGFRXUWDSSHDUDQFHUDWHV

                                                           &ODVV$FWLRQ$OOHJDWLRQV

              7KH QDPHG 3ODLQWLIIV EULQJ WKLV DFWLRQ RQ EHKDOI RI WKHPVHOYHV DQG DOO RWKHUV

VLPLODUO\VLWXDWHGIRUWKHSXUSRVHRIDVVHUWLQJWKHFODLPVDOOHJHGLQWKLV&RPSODLQWRQDFRPPRQ

EDVLV

              $FODVVDFWLRQLVDVXSHULRUPHDQVDQGWKHRQO\SUDFWLFDEOHPHDQVE\ZKLFKWKH


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  ,QGHSHQGHQWO\QRQHRIWKHUREXVWSURFHGXUHVUHTXLUHGIRUDYDOLGRUGHURISUHYHQWDWLYHGHWHQWLRQH[LVWVLQFOXGLQJ
WKDWWKHUHLVQRLQTXLU\OHWDORQHDQLQTXLU\ZLWKFRXQVHODQGEDVLFHYLGHQWLDU\QRUPVLQWRZKHWKHUDFRPSHOOLQJ
LQWHUHVWH[LVWVWRGHWDLQDSDUWLFXODUGHIHQGDQWZKHWKHUDQ\SDUWLFXODULGHQWLILDEOHGDQJHURUULVNH[LVWVDQGZKHWKHU
WKHUHDUHDOWHUQDWLYHVWRWKHXVHRIVHFXUHGPRQH\EDLOWKDWFRXOGPLWLJDWHDQ\SDUWLFXODUL]HGULVN
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     Id.see also:KHHOHU )U\5HSRUWsupraQRWHDW



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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 36 of 128




QDPHG3ODLQWLIIVDQGXQNQRZQ&ODVVPHPEHUVFDQFKDOOHQJHWKH'HIHQGDQWV¶XQODZIXOZHDOWK

EDVHGSRVWDUUHVWGHWHQWLRQVFKHPH

               7KLVDFWLRQLVEURXJKWDQGPD\SURSHUO\EHPDLQWDLQHGDVDFODVVDFWLRQSXUVXDQW

WR5XOH D  ±  DQG5XOH E  RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUH

               7KLV DFWLRQ VDWLVILHV WKH QXPHURVLW\ FRPPRQDOLW\ W\SLFDOLW\ DQG DGHTXDF\

UHTXLUHPHQWVRIWKRVHSURYLVLRQV

               7KH 3ODLQWLIIV SURSRVH D VLQJOH &ODVV VHHNLQJ GHFODUDWRU\ DQG LQMXQFWLYH UHOLHI

7KH 'HFODUDWRU\ DQG ,QMXQFWLYH &ODVV LV GHILQHG DV $OO &ODVV $ RU &ODVV % PLVGHPHDQRU

DUUHVWHHV ZKR DUH RU ZLOO EH GHWDLQHG LQ +DUULV &RXQW\ FXVWRG\ IRU DQ\ DPRXQW RI WLPH DIWHU

DUUHVWEHFDXVHWKH\DUHXQDEOHWRSD\PRQH\EDLO

              $          1XPHURVLW\)HG5&LY3 D  

               ,Q0DUFKWKHDYHUDJHGDLO\SRSXODWLRQRIPLVGHPHDQRUDUUHVWHHVEHLQJKHOG

SUHWULDORQPRQH\EDLOVWKH\FRXOGQRWDIIRUGZDVLQGLYLGXDOV7KLVZDVDW\SLFDOPRQWK

7KHSRSXODWLRQRISUHWULDOPLVGHPHDQRUGHWDLQHHVJUHZE\SHUFHQWLQWKHSDVW\HDU(LJKW

SHUFHQWRIWKHSUHWULDOSRSXODWLRQZKLFKQXPEHUVLQWKHWKRXVDQGVRQDQ\JLYHQGD\UHJXODUO\

FRQVLVWVRIPLVGHPHDQRURIIHQGHUVXQDEOHWRSD\DPRQH\EDLO

               2Q DQ\ JLYHQ GD\ WKHUH DUH WKRXVDQGV RI RXWVWDQGLQJ PLVGHPHDQRU DUUHVW

ZDUUDQWVLVVXHGLQ+DUULV&RXQW\DQGHYHU\GD\GR]HQVPRUHDUHLVVXHG

               $UUHVWHHV DUH KHOG LQ MDLO IRU YDU\LQJ OHQJWKV RI WLPH GHSHQGLQJ RQ KRZ ORQJ LW

WDNHVWKHPWRPDNHWKHFDVKSD\PHQWWKDWLVUHTXLUHGIRUWKHLUUHOHDVH

               6RPHDUUHVWHHVDUHDEOHWRSD\LPPHGLDWHO\IRUWKHLUUHOHDVH2WKHUVDUHIRUFHGWR

ZDLWRQHRUWZRGD\VXQWLOWKH\RUIDPLO\PHPEHUVFDQPDNHWKHSD\PHQW2WKHUVZLOOQHYHUEH
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     Jail Population ReportsupraQRWHDW
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     Id.



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 37 of 128




DEOHWRFRPHXSZLWKDQ\DPRXQWRIPRQH\WRSD\IRUWKHLUUHOHDVH

         7KH QXPEHU RI FXUUHQW DQG IXWXUH DUUHVWHHV VXEMHFW WR WKLV SROLF\ ² LI LW LV QRW

HQMRLQHG²QXPEHUVZHOOLQWRWKHWKRXVDQGV

        %      &RPPRQDOLW\)HG5&LY3 D  

         7KHUHOLHIVRXJKWLVFRPPRQWRDOOPHPEHUVRIWKH&ODVVDQGFRPPRQTXHVWLRQV

RIODZDQGIDFWH[LVWDVWRDOOPHPEHUVRIWKH&ODVV7KHQDPHG3ODLQWLIIVVHHNUHOLHIFRQFHUQLQJ

ZKHWKHU WKH 'HIHQGDQWV¶ SROLFLHV SUDFWLFHV DQG SURFHGXUHV YLRODWH WKH ULJKWV RI WKH &ODVV

PHPEHUV DQG UHOLHI PDQGDWLQJ WKDW WKH 'HIHQGDQWV FKDQJH WKHLU SROLFLHV SUDFWLFHV DQG

SURFHGXUHVVRWKDWWKHFRQVWLWXWLRQDOULJKWVRIWKH&ODVVPHPEHUVZLOOEHSURWHFWHGLQWKHIXWXUH

         &RPPRQ OHJDO DQG IDFWXDO TXHVWLRQV DULVH IURP RQH FHQWUDO VFKHPH DQG VHW RI

SROLFLHV DQG SUDFWLFHV WKH 'HIHQGDQWV¶ SRVWDUUHVW ZHDOWKEDVHG GHWHQWLRQ VFKHPH  7KH

'HIHQGDQWV RSHUDWH WKLV VFKHPH RSHQO\ DQG LQ PDWHULDOO\ WKH VDPH PDQQHU HYHU\ GD\   7KH

PDWHULDO FRPSRQHQWV RI WKH VFKHPH GRQRWYDU\IURP&ODVV PHPEHUWR&ODVVPHPEHUDQG WKH

UHVROXWLRQ RI WKHVH OHJDO DQG IDFWXDO LVVXHV ZLOO GHWHUPLQH ZKHWKHU DOO RI WKH PHPEHUV RI WKH

&ODVVDUHHQWLWOHGWRWKHFRQVWLWXWLRQDOUHOLHIWKDWWKH\VHHN

        $PRQJWKHPRVWLPSRUWDQWEXWQRWWKHRQO\FRPPRQTXHVWLRQVRIIDFWDUH

              x :KHWKHU WKH 'HIHQGDQWV KDYH D SROLF\ DQG SUDFWLFH RI XVLQJ D SUHGHWHUPLQHG
                  VFKHGXOHWRGHWHUPLQHWKHDPRXQWRIPRQH\UHTXLUHGWRVHFXUHSRVWDUUHVWUHOHDVH
              x :KHWKHU WKH 'HIHQGDQWV UHTXLUH WKDW VFKHGXOHG DPRXQW RI PRQH\ WR EH SDLG XS
                  IURQWEHIRUHUHOHDVLQJDSHUVRQIURPWKHMDLO
              x :KHWKHU 'HIHQGDQWV DW DQ\ VWDJH LQ WKH SRVWDUUHVW SURFHVV LQTXLUH LQWR D
                  SHUVRQ¶V DELOLW\ WR SD\ WKH SUHGHWHUPLQHG DPRXQW RI PRQH\ DQG PDNH ILQGLQJV
                 FRQFHUQLQJDQDUUHVWHH¶VSUHVHQWDELOLW\WRSD\DQ\DPRXQWVHW
              x :KDW VWDQGDUG SRVWDUUHVW SURFHGXUHV WKH 'HIHQGDQWV SHUIRUP RQ PLVGHPHDQRU
                 DUUHVWHHVIRUH[DPSOHZKHWKHU'HIHQGDQWVXVHDQ\RWKHUDOWHUQDWHSURFHGXUHVIRU
                 SURPSWO\UHOHDVLQJSHRSOHGHWHUPLQHGRWKHUZLVHHOLJLEOHIRUUHOHDVHEXWZKR DUH
                  XQDEOHWRDIIRUGDPRQHWDU\SD\PHQW
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                     $PRQJWKHPRVWLPSRUWDQWFRPPRQTXHVWLRQVRIODZLV



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 38 of 128




            x :KHWKHUDVHFXUHG³EDLOVFKHGXOH´VHWWLQJJHQHULFDPRXQWVRIPRQH\UHTXLUHGXS
               IURQWWRDYRLGSRVWDUUHVWGHWHQWLRQZLWKRXWDQ\LQTXLU\RUILQGLQJVLQWRDSHUVRQ¶V
               SUHVHQW DELOLW\ WR SD\ WKH DPRXQW VHW YLRODWHV WKH )RXUWHHQWK $PHQGPHQW¶V 'XH
               3URFHVVDQG(TXDO3URWHFWLRQSURYLVLRQV
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        &    7\SLFDOLW\)HG5&LY3 D  

         7KHQDPHG3ODLQWLIIV¶FODLPVDUHW\SLFDORIWKHFODLPVRIWKHRWKHUPHPEHUVRIWKH

&ODVV DQG WKH\ KDYH WKH VDPH LQWHUHVWV LQ WKLV FDVH DV DOO RWKHU &ODVV PHPEHUV  (DFK &ODVV

PHPEHU LV WKUHDWHQHG ZLWK LPPLQHQW DQGRU RQJRLQJ FRQILQHPHQW LQ MDLO EHFDXVH VKH FDQQRW

DIIRUGWRSD\DVWDQGDUGL]HGFDVKEDLODPRXQW7KHDQVZHUWRZKHWKHUWKH'HIHQGDQWV¶ZHDOWK

EDVHGGHWHQWLRQVFKHPHLVXQFRQVWLWXWLRQDOZLOOGHWHUPLQHWKHFODLPVRIWKHQDPHG3ODLQWLIIVDQG

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         ,I WKH QDPHG 3ODLQWLIIV VXFFHHG LQ WKH FODLP WKDW WKH 'HIHQGDQWV¶ SROLFLHV DQG

SUDFWLFHV FRQFHUQLQJ SRVWDUUHVW GHWHQWLRQ YLRODWH WKHLU FRQVWLWXWLRQDO ULJKWV WKDW UXOLQJ ZLOO

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LQWHUHVWLQWKHYLQGLFDWLRQRIWKHOHJDOFODLPVWKDWWKH\UDLVHLVHQWLUHO\DOLJQHGZLWKWKHLQWHUHVWV

RIWKHRWKHU&ODVVPHPEHUVHDFKRIZKRPKDVWKHVDPHEDVLFFRQVWLWXWLRQDOFODLPV7KH\DUH

PHPEHUVRIWKH&ODVVDQGWKHLULQWHUHVWVGRQRWFRQIOLFWZLWKWKRVHRIWKHRWKHU&ODVVPHPEHUV

         7KHUHDUHQRNQRZQFRQIOLFWVRILQWHUHVWDPRQJPHPEHUVRIWKHSURSRVHG&ODVV

DOO RI ZKRP KDYH D VLPLODU LQWHUHVW LQ YLQGLFDWLQJ WKHLU FRQVWLWXWLRQDO ULJKWV LQ WKH IDFH RI

'HIHQGDQWV¶SD\IRUIUHHGRPSRVWDUUHVWGHWHQWLRQV\VWHP

           3ODLQWLIIVDUHUHSUHVHQWHGE\DWWRUQH\VIURP(TXDO-XVWLFH8QGHU/DZ7H[DV)DLU

'HIHQVH 3URMHFW DQG 6XVPDQ *RGIUH\ ZKR KDYH H[SHULHQFH LQ OLWLJDWLQJ FRPSOH[ FLYLO ULJKWV

PDWWHUVLQIHGHUDOFRXUWDQGH[WHQVLYHNQRZOHGJHRIERWKWKHGHWDLOVRI'HIHQGDQWV¶VFKHPHDQG



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 39 of 128




WKHUHOHYDQWFRQVWLWXWLRQDODQGVWDWXWRU\ODZ&RXQVHOV¶UHOHYDQWTXDOLILFDWLRQVDUHPRUHIXOO\VHW

IRUWKLQWKHFRQWHPSRUDQHRXVO\ILOHG0RWLRQIRU&ODVV&HUWLILFDWLRQ

            7KH FRPELQHG HIIRUWV RI &ODVV FRXQVHO KDYH VR IDU LQFOXGHG H[WHQVLYH

LQYHVWLJDWLRQ LQWR IL[HG PRQH\ EDLO VFKHPHV RYHU D SHULRG RI PRQWKV LQFOXGLQJ QXPHURXV

LQWHUYLHZVZLWKZLWQHVVHVFRXUWHPSOR\HHVMDLOLQPDWHVIDPLOLHVMXGJHVDWWRUQH\VSUDFWLFLQJLQ

FRXUWVWKURXJKRXWWKHUHJLRQFRPPXQLW\PHPEHUVVWDWHZLGHH[SHUWVLQWKHIXQFWLRQLQJRIVWDWH

DQG ORFDO FRXUWV HPSLULFDO UHVHDUFKHUV DQG QDWLRQDO H[SHUWV LQ FRQVWLWXWLRQDO ODZ SRVWDUUHVW

SURFHGXUHODZHQIRUFHPHQWMXGLFLDOSURFHGXUHVFULPLQDOODZSUHWULDOVHUYLFHVDQGMDLOV

         &ODVV FRXQVHO KDYH D GHWDLOHG XQGHUVWDQGLQJ RI VWDWH ODZ DQG SUDFWLFHV DV WKH\

UHODWH WR IHGHUDO FRQVWLWXWLRQDO UHTXLUHPHQWV  &RXQVHO KDYH VWXGLHG WKH ZD\ WKDW WKHVH V\VWHPV

IXQFWLRQ LQRWKHUFLWLHVDQGFRXQWLHVLQ RUGHUWR LQYHVWLJDWHWKH ZLGHDUUD\RI ODZIXORSWLRQVLQ

SUDFWLFHIRUPXQLFLSDOLWLHV

         $V D UHVXOW FRXQVHO KDYH GHYRWHG HQRUPRXV WLPH DQG UHVRXUFHV WR EHFRPLQJ

LQWLPDWHO\IDPLOLDUZLWK'HIHQGDQWV¶VFKHPHDQGZLWKDOORIWKHUHOHYDQWVWDWHDQGIHGHUDOODZV

DQGSURFHGXUHVWKDWFDQDQGVKRXOGJRYHUQLW&RXQVHOKDYHDOVRGHYHORSHGUHODWLRQVKLSVZLWK

PDQ\ RI WKH LQGLYLGXDOV DQG IDPLOLHV YLFWLPL]HG E\ XQODZIXO ZHDOWKEDVHG SUHWULDO GHWHQWLRQ

SUDFWLFHV7KHLQWHUHVWVRIWKHPHPEHUVRIWKH&ODVVZLOOEHIDLUO\DQGDGHTXDWHO\SURWHFWHGE\

WKH3ODLQWLIIVDQGWKHLUDWWRUQH\V

              ( 5XOH E  

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SUDFWLFHVDQGSURFHGXUHVWKDWPDNHXSLWVZHDOWKEDVHGSRVWDUUHVWGHWHQWLRQVFKHPHKDYHDFWHG

LQ WKH VDPH XQFRQVWLWXWLRQDO PDQQHU ZLWK UHVSHFW WR DOO &ODVV PHPEHUV 7KH 'HIHQGDQWV DSSO\

DQG HQIRUFH D ZHDOWKEDVHG V\VWHP RI SUHWULDO MXVWLFH VRPH DUUHVWHHV FDQ SXUFKDVH WKHLU




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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 40 of 128




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'HIHQGDQWV IURP GHWDLQLQJ DUUHVWHHV ZKR FDQQRW DIIRUG FDVK SD\PHQWV  %HFDXVH WKH SXWDWLYH

&ODVVFKDOOHQJHVWKH'HIHQGDQWV¶VFKHPHDVXQFRQVWLWXWLRQDOWKURXJKGHFODUDWRU\DQGLQMXQFWLYH

UHOLHIWKDWZRXOGDSSO\WKHVDPHUHOLHIWRHYHU\PHPEHURIWKH&ODVV5XOH E  LVDSSURSULDWH

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ULJKWVZLOOVLPLODUO\SURWHFWHDFKPHPEHURIWKH&ODVVIURPEHLQJVXEMHFWHGWRWKH'HIHQGDQWV¶

XQODZIXO SROLFLHV DQG SUDFWLFHV $ GHFODUDWLRQ DQG LQMXQFWLRQ VWDWLQJ WKDW 'HIHQGDQWV FDQQRW

GHWDLQDUUHVWHHVGXHWRWKHLULQDELOLW\WRPDNHDPRQHWDU\SD\PHQWZRXOGSURYLGHUHOLHIWRHYHU\

&ODVVPHPEHU7KHUHIRUHGHFODUDWRU\DQGLQMXQFWLYHUHOLHIZLWKUHVSHFWWRWKH&ODVVDVDZKROH

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         3ODLQWLIIVVHHNWKHIROORZLQJUHOLHI

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MDLOLQJ D SHUVRQ EHFDXVH RI KHU LQDELOLW\ WR PDNH D PRQHWDU\ SD\PHQW  'HIHQGDQWV YLRODWH

3ODLQWLIIV¶ IXQGDPHQWDO ULJKW WR SUHWULDO OLEHUW\ E\ HQIRUFLQJ DJDLQVW WKHP D V\VWHP RI ZHDOWK

EDVHG GHWHQWLRQ WKDW NHHSV WKHP LQ MDLO VROHO\ EHFDXVH WKH\ FDQQRW DIIRUG WR SD\ PRQH\ EDLO

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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 41 of 128




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    IROORZLQJSURVSHFWLYHUHOLHIDJDLQVWWKH'HIHQGDQWVZKRDUHDOOJRYHUQPHQWDFWRUVSXUVXDQWWR

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        D $ GHFODUDWRU\ MXGJPHQW WKDW WKH 'HIHQGDQWV YLRODWH WKH QDPHG 3ODLQWLIIV¶ DQG &ODVV
            PHPEHUV¶ FRQVWLWXWLRQDO ULJKWV E\ RSHUDWLQJ D V\VWHP RI ZHDOWKEDVHG GHWHQWLRQ WKDW
            NHHSVWKHPLQMDLOVROHO\EHFDXVHWKH\FDQQRWDIIRUGWRSD\PRQH\EDLODPRXQWVLPSRVHG
            ZLWKRXWSURYLGLQJDQ\LQTXLU\LQWRRUILQGLQJVFRQFHUQLQJWKHLUSUHVHQWDELOLW\WRSD\
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            DQG &ODVV PHPEHUV¶ FRQVWLWXWLRQDO ULJKWV E\ VHWWLQJ VHFXUHG ILQDQFLDO FRQGLWLRQV RI
            UHOHDVHZLWKRXWILUVWSURYLGLQJDQLQTXLU\LQWRDQDUUHVWHH¶VSUHVHQWDELOLW\WRSD\PRQH\
            EDLO DQG PDNLQJ ILQGLQJV WKDW DQ DUUHVWHH KDV WKH SUHVHQW DELOLW\ WR SD\ DQ\ PRQHWDU\
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        F $QRUGHUSUHOLPLQDULO\HQMRLQLQJWKH+HDULQJ2IILFHU'HIHQGDQWVIURPLPSRVLQJVHFXUHG
            ILQDQFLDOFRQGLWLRQVRIUHOHDVHZLWKRXWILUVWSURYLGLQJDQLQTXLU\LQWRDQDUUHVWHH¶VSUHVHQW
            DELOLW\WRSD\PRQH\EDLODQGPDNLQJILQGLQJVWKDWDQDUUHVWHHKDVWKHSUHVHQWDELOLW\WR
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        G $Q RUGHU DQG MXGJPHQW SUHOLPLQDULO\ DQG SHUPDQHQWO\ HQMRLQLQJ WKH 6KHULII DQG KLV
            HPSOR\HHVDQGDJHQWVIURPUHTXLULQJDQ\LQGLYLGXDODUUHVWHGE\WKH6KHULII¶V'HSDUWPHQW
            WR VDWLVI\ D VHFXUHG ILQDQFLDO FRQGLWLRQ RI UHOHDVH XQOHVV WKH 6KHULII¶V 'HSDUWPHQW LV
            LQIRUPHGDQGEHOLHYHVLQJRRGIDLWKWKDWWKHUHKDVILUVWEHHQDQLQTXLU\LQWRWKHSHUVRQ¶V
            SUHVHQWDELOLW\WRSD\WKHPRQH\EDLODPRXQWDQGILQGLQJVWKDWWKHDUUHVWHHKDVWKHSUHVHQW
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            HPSOR\HHVDQGDJHQWVIURPDFFHSWLQJDQ\DUUHVWHHLQWRWKH6KHULII¶VFXVWRG\RQWKHEDVLV
            RIDQXQIXOILOOHGVHFXUHGILQDQFLDOFRQGLWLRQRIUHOHDVHXQOHVVWKH6KHULIILVLQIRUPHGDQG
            EHOLHYHVLQJRRGIDLWKWKDWWKHUHKDVILUVWEHHQDQLQTXLU\LQWRWKHSHUVRQ¶VSUHVHQWDELOLW\
            WRSD\WKHPRQH\EDLODPRXQWDQGILQGLQJVWKDWWKHDUUHVWHHKDVWKHSUHVHQWDELOLW\WRSD\
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            &RXUWV DW /DZ -XGJHV ZKR VLW HQ EDQF WR GHYHORS DQG RYHUVHH V\VWHPLF SRVWDUUHVW
            SROLFLHVDSSOLFDEOHWRDOODUUHVWHHVLQ+DUULV&RXQW\DQGRQZKRVHEHKDOIDOORIWKHRWKHU
            'HIHQGDQWVRSHUDWHWKH&RXQW\¶VPRQH\EDLOV\VWHPIURPLPSOHPHQWLQJDQGHQIRUFLQJD
            V\VWHPRIZHDOWKEDVHGGHWHQWLRQWKDWNHHSVDUUHVWHHVLQMDLOVROHO\EHFDXVHWKH\FDQQRW
            DIIRUG WR SD\ PRQH\ EDLO DPRXQWV LPSRVHG ZLWKRXW ILUVW SURYLGLQJ DQ LQTXLU\ LQWR WKH



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        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 42 of 128




            SHUVRQ¶V SUHVHQW DELOLW\ WR SD\ WKH PRQH\ EDLO DPRXQW DQG PDNLQJ ILQGLQJV WKDW WKH
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        J $GHFODUDWRU\MXGJPHQWWKDWWKH+DUULV&RXQW\&RXUWVDW/DZ-XGJHVYLRODWHWKHQDPHG
            3ODLQWLIIV¶ DQG &ODVV PHPEHUV¶ FRQVWLWXWLRQDO ULJKWV E\ SHUPLWWLQJ VHFXUHG ILQDQFLDO
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            SUHVHQWDELOLW\WRSD\PRQH\EDLODQGILQGLQJVWKDWDQDUUHVWHHKDVWKHSUHVHQWDELOLW\WR
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        K $Q\ RWKHU RUGHU DQG MXGJPHQW WKLV &RXUW GHHPV QHFHVVDU\ WR SUHOLPLQDULO\ DQG
            SHUPDQHQWO\HQMRLQ'HIHQGDQWV²ZKHWKHUDFWLQJRQEHKDOIRIWKH6WDWHWKH&RXQW\RU
            VRPHRWKHUJRYHUQPHQWHQWLW\²IURPLPSOHPHQWLQJDQGHQIRUFLQJDV\VWHPRIZHDOWK
            EDVHG GHWHQWLRQ WKDW NHHSV DUUHVWHHV LQ MDLO VROHO\ EHFDXVH WKH\ FDQQRW DIIRUG WR SD\
            PRQH\EDLODPRXQWVLPSRVHGZLWKRXWILUVWSURYLGLQJDQLQTXLU\LQWRDQGPDNLQJILQGLQJV
            FRQFHUQLQJWKHSHUVRQ¶VSUHVHQWDELOLW\WRSD\WKHVXP
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-XGJHVDUHQRWILQDOSROLF\PDNHUVIRUSRVWDUUHVWGHWHQWLRQSROLFLHVIRU+DUULV&RXQW\DQGDUHLQVWHDGDJHQWVRIWKH
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-XGJHVZKHWKHU&RXQW\RU6WDWHDFWRUVDUHDFWLQJLQWKHLUMXGLFLDOFDSDFLW\ZKHQWKH\FRPPLWWKHXQFRQVWLWXWLRQDO
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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 43 of 128




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                              $XVWLQ7H[DV
                              7HOHSKRQH  
                              )DFVLPLOH  
                              
                              /s/ Alec KarakatsanisBBBBBBBBBBBBBBB
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                          6RXWK%XLOGLQJWK)ORRU
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                              Attorneys for Plaintiffs
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                                       
Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 44 of 128
Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 45 of 128
Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 46 of 128
Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 47 of 128
Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 48 of 128
Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 49 of 128
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 50 of 128



RULE 9.    SETTING AND MODIFYING BAIL SCHEDULE
    9.1.   Pursuant to the agreed final judgment and order of the federal court in Roberson v. Richardson
           (No. H-84-2974), Southern District of Texas (1987)), the Harris County Criminal Court at Law
           Judges promulgate this initial bail schedule. The district attorney shall affix an initial bail
           amount at the time a complaint is filed in a county criminal court at law. The initial bail amount
           shall be determined by either presenting relevant information in the possession of the district
           attorney to a county criminal court at law judge, or Harris County Hearing Officer, or by
           applying the initial bail schedule. The district clerk shall record the bail amount set by the
           judicial officer or applied by the district attorney from the initial bail schedule in the case file.
           This shall be the exclusive means of setting the initial amount of bail, unless otherwise directed
           by the Judges of the Harris County Criminal Courts at Law.

                                                Misdemeanor Bail Schedule
             Class:     B, Standard Offense
                        1st Offense                                      $500
                        2nd Offense                                      $500, plus $500 for each prior misdemeanor conviction,
                                                                         plus $1,000 for each prior felony conviction (not to
                                                                         exceed $5,000)

             Class:     A, Standard Offense
                        1st Offense                                      $1,000
                        2nd Offense                                      $1,000, plus $500 for each prior misdemeanor
                                                                         conviction, plus $1,000 for each prior felony conviction
                                                                         (not to exceed $5,000)

             Class:     Family Violence or Threat of Violence
                        1st Offense                                      $1,500
                        2nd Offense                                      $1,500, plus $2,000 for each prior conviction for a
                                                                         violent offense or threat of violence

             Class:     DWI
                        First Offense                                    $500
                        Subsequent Offense                               $2,500, plus $1,000 for each prior conviction not to
                                                                         exceed $5,000

             Class:     Any offense committed while on bond,             $5,000
                        community supervision, intervention, or parole
                        Any motion to adjudicate or revoke community
                        supervision                                      $5,000




    9.2.   The initial bail amount shall be determined by application of the bail schedule. In any case
           where the district attorney desires a bond higher than that on the bail schedule, the district
           attorney shall make a request to a judge of the county criminal court at law or a criminal law
           hearing officer. The order, when signed by the judge or hearing officer shall be provided to the
           district clerk along with the complaint and information for filing.
    9.3.   The district clerk shall apply the amount of bond from the bail schedule except in cases where
           the district attorney has provided the clerk with an order setting bail signed by a judge of a
           county criminal court at law or a criminal law hearing officer, in which case the clerk will apply
           the amount of bail provided for in the order setting bail.

            Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 51 of 128
                                                  Harris County - Jail Population
                                                        March 2016 Report
                                              Comparison of Daily Average Jail Population

                                                                        1st Mtg
                                                                                        1 Year          Last         Current        Aug-09      Mar-15      Feb-16
                                                                           of
                                                                                         Ago           Month         Month
                                                                        Council                                                       -           -           -
       Category 1                                                       Aug-09         Mar-15         Feb-16         Mar-16         Mar-16      Mar-16      Mar-16
      Pretrial Detainees (By Highest Charge)                                                  Inmates                                      Percent Change
      DistrictCourtsͲOtherthanStateJailFelonies                                     4,582          5,086          5,108                        11%          0%
      DistrictCourtsͲStateJailFelonies                                                1,286          1,142          1,134                    Ͳ12%            Ͳ1%
      CountyCourts                                                                           422            513            545                       29%          6%
      OtherHarrisCoCourtdetainees(eg:JP,Family,Civil)                                   52             53             54                      4%           2%
      Pretrial Detainees                                                    6,151          6,342          6,794          6,841            11%         8%           1%
                                                % of total in Custody         54%            73%            78%            77%


      Probationers (no pending charges):
      DistrictCourts                                                          855            308            316            391                       27%         24%
      CountyCourts                                                              55             24             24             25                      4%           4%
      Probationers                                                             919            332            340            416       Ͳ55%            25%         22%
                                                % of total in Custody           8%             4%             4%             5%

      Prisoners Serving County Time: Post-Adjudication
      SentencedinCountyCourts                                                              363            319            339                       Ͳ7%          6%
      SentencedinDistrictCourtsͲStateJailFelons12.44A               13182            172              86           109                   Ͳ37%            27%
      SentencedinDistrictCourtsͲOther                                                    234            251            272                       16%          8%
      SentencedinJPCourts                                                                    13             17             19                      46%         12%
      Prisoners Serving County Time: Post-Adjudication                      2,919             782            673            739       Ͳ75%            Ͳ5%         10%
                                                % of total in Custody         26%              9%             8%             8%

      Sentenced to TDC/State Jail: Post-Adjudication
      SentencedtoTDC                                                                        455            365            384                   Ͳ16%             5%
      SentencedtoStateJail                                                                 111            112            103                       Ͳ7%         Ͳ8%
      PendingAppeals                                                                         145              92             99                  Ͳ32%             8%
      Sentenced to TDC/State Jail: Post-Adjudication                           632            711            569            586           Ͳ7%     Ͳ18%             3%
                                                % of total in Custody           6%             8%             7%             7%


      Others:
      BoardofPardons&Paroles(BOPP)                                        542            265            278            264                       0%          Ͳ5%
      Witnesses                                                                  71             32             39             34                      6%      Ͳ13%
      NonͲHarrisCountyPrisoners                                                99             52             41             42                  Ͳ19%             2%
      Others                                                                   674            349            358            340       Ͳ50%            Ͳ3%         Ͳ5%
                                                % of total in Custody           6%             4%             4%             4%

      3
          Received, Uncategorized in JIMS                                                     125                4              0
                                                % of total in Custody        0.0%           1.4%           0.0%           0.0%


      Total in Harris County Sheriff's Custody                          11,295      8,641    8,738    8,922      Ͳ21%            3%           2%
      3
          AverageinInmateProcessingCenter(IPC)                     354   358   248   343         Ͳ3%         Ͳ4%         38%
      Total Housed in Harris County Jail                                10,941      8,283    8,490    8,579      Ͳ22%            4%           1%


      Total Awaiting Transfer to TDCJ-ID (Paper-Ready)                         461            474            308            362       Ͳ21%        Ͳ24%            18%
                                                % of total in Custody           4%             5%             4%             4%

      1
       TheinmateCategoryDefinitionsforthisreportwerechangedeffectiveJanuary2011.DataforAugust
      2009hasbeenreallocatedtofitthenewcategories.
      2
           ValuetakendirectlyfromAugust2009report.
      3
           IPCIncludesthoseinintakeandreceiving.
Prepared by the Office of Criminal Justice Coordination                 04/04/2016                                                                                Page 1 of 6
                               Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 52 of 128
                                                                       Harris County - Jail Population
                                                                             March 2016 Report

                                               Comparison of Daily Average Jail Population vs. Facility Capacity

                                                                                      1st mtg of                                 Current     Aug-09       Mar-15       Feb-16
                                                                                                    1 Year Ago   Last Month
                                                                                       Council                                   Month
                                                                                                                                               -            -            -
                     Month/Year                                                        Aug-09        Mar-15        Feb-16       Mar-16       Mar-16       Mar-16       Mar-16


                     Total in HCSO custody                                               11,295         8,641         8,738        8,922      -21%           3%          2%
                                                            Less IPC1daily average          354           358           248          343       -3%          -4%          38%
                     Total Housed by HCSO                                                10,941         8,283         8,490        8,579      -22%           4%          1%
                           Harris County Jail Facilities Total Design Capacity            9,434         9,434         9,434        9,434
                                          Total over/(under) design capacity              1,507        (1,151)         (944)        (855)
                                       Percent over/(under) design capacity                 16%          -12%          -10%          -9%
                                                                                                                                                  without variance beds
                              Harris County Jail Facilities Total Design Capacity         9,434        9,434          9,434        9,434                     9,434
                                                TCJS Approved Variance Beds3              1,612          680            580          580                       -
                            Harris County Jail Total Capacity approved by TCJS           11,046       10,114         10,014       10,014                     9,434
                                                                         less 7%           (773)        (708)          (701)        (701)                     (660)
                                           Effective Housing Capacity (93%)2             10,273        9,406          9,313        9,313                     8,774

                     Total Housed by HCSO                                                10,941         8,283         8,490        8,579                     8,579
                               Total over/(under) Effective Housing Capacity                668        (1,123)         (823)        (734)                     (195)
                            Percent over/(under) Effective Housing Capacity                  7%          -12%           -9%        -7.9%                     -2.2%

                     1
                         IPC Includes those in intake and receiving.

                     2
                       Effective Housing Capacity is equivalent to 93% of the total number of beds available. At any given time, seven percent of beds are unavailable due to
                     classification issues, repairs, construction, etc. thus preventing 100% utilization of all beds in the facility.

                     3
                         As of November 6, 2014 the number of approved variance beds was reduced from 680 to 580 beds.




                                                                       TotalInmatesHoused
                12,000


                11,500


                11,000


                10,500
DailyAverage




                10,000


                 9,500

                                         Harris County Jail Facilities
                 9,000                Effective Housing Capacity 9,313


                 8,500


                 8,000                                                                Aug-09 to Mar-16: -22%

                 7,500




                  Prepared by the Office of Criminal Justice Coordination                    04/04/2016                                                                Page 2 of 6
           Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 53 of 128
                                                  Harris County - Jail Population
                                                        March 2016 Report


Observations

InMarch2016theaveragedailyjailpopulationhousedstoodat8,579reflectinganetincreaseof89personsfrom
lastmonth,withincreasesineachmajorcategoryofinmates.

Theaveragedailyjailpopulationhousedisdown22%fromthefirstmeetingoftheCouncilinSeptember2009
whenthepopulationtotaled10,941inmates,whichwas16%overdesigncapacityand7%overTCJSapproved
capacity.Includingapprovedvariancebeds,theaveragedailyjailpopulationhousedforMarchwas7.9%below
theeffectivehousingcapacity.Withouttheuseofvariancebeds,averagedailyjailpopulationhousedwas2.2%
beloweffectivehousingcapacity.

Pretrialdetaineesrepresent77%(6,841persons)ofthetotaljailpopulation,upslightlyfromthepreviousmonth
and8%higher(499persons)thanoneyearago.Thepretrialstatejailfelonydetaineepopulationdeclinedslightly
to1,134persons,12%fewer(152persons)thanoneyearago.Thenumberofpretrialfelonydetainees(excluding
state jail felonies) remains essentially the same as last month, up 11% from one year ago. The misdemeanor
pretrialdetaineepopulationincreasedby32personsfromlastmonthandis29%higher(123persons)thanone
yearago.

Thenumberofprobationerswithnopendingchargesincreasedby76personsfromlastmonthto416,andis25%
higherthanoneyearago.

PostͲadjudicated County prisoners represent 8% of the total jail population, up 10% from last month to 739
persons.Thiscategoryisdown5%(43persons)fromoneyearagoduetofewer12.44astatejailfelonsserving
timelocally.586personsor7%ofthetotalpopulationarepostͲadjudicatedprisonerssentencedtoTDCorstate
jail,down18%(125persons)fromoneyearago.

ThenumberofparoleviolatorsandnonͲHarrisCountyprisonersdeclinedby18personsfromlastmonthto340,
andisdown7%(9persons)fromoneyearago.

ThenumberofinmatesawaitingtransfertoTDCJͲID(i.e.PaperReady)averaged362,down31%fromoneyear
ago.

In March 2016, 26% (2,289 persons) of the average daily jail population housed had a mental health history
(previouslydiagnosedorprescribedpsychotropicmedication).775ofthese2,289hadeitherselfͲidentifiedas
beinghomelessorhadreceivedhomelessservicesinthecommunitypriortoincarceration.Anadditional12%
(1,044persons)oftheaveragedailyjailpopulationhousedmetthesamehomelesscriteria.





Note:Fluctuationinthejailpopulationasreportedhereisinfluencedbyavarietyoffactorssuchasthenumberofcasesfiled,thenumberofpeoplewhoare
releasedonbond,thelengthoftimetocompleteacase,holdsplacedonHarrisCountyinmatesbyotherjurisdictions,lengthofsentenceshandeddown,the
effectofearlyreleaseprograms,paroleboardprocessingofcases,andthelistgoeson.Thechangesobservedinthejailpopulationcategoriesfrommonth
tomonthareimpactedbyanynumberofthesefactorsandcannotbeattributedtoasinglecauseandeffect.

Note:EffectiveHousingCapacityisequivalentto93%ofthetotalnumberofbedsavailable.Atanygiventime,approximatelysevenpercentofbedsare
unavailableduetoclassificationissues,repairs,construction,etc.thuspreventing100%utilizationofallbedsinthefacility.TheTexasCommissiononJail
Standards(TCJS)hasapprovedtheuseof580variancebedsintheHarrisCountyJail.Whenthisadditionalcapacityisaddedtothedesigncapacity,thetotal
numberofbedsrisesto10,014,but7%(701beds)mustbesubtractedfromthisnumbertodeterminetheeffectivehousingcapacitywhichis9,313.(The
numberofvariancebedsissubjecttoperiodicreviewbyTCJS.)

 Prepared by the Office of Criminal Justice Coordination                04/04/2016                                                               Page 3 of 6
         Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 54 of 128
                                                                                       Harris County - Jail Population
                                                                                             March 2016 Report
                                                                                                                            Others                             Total Daily Average
                                                                                                                          (Witnesses,
                                                                                                                                                                      Population
                                                                                                                           Appeal,JP,
                                                     Sentencedto
                                                                                                                          Family,Civil)                              In Custody
                                                     TDC/StateJail                            BOPPViolators                                                            8,922
                                                                                                   264                        130
                                                         586                                                                                     InCustodyͲ Receiving
                                                                                                    3%                        1%
                                                          7%                                                                                               0
                                                                                                                                                          0%
                                         PrisonersServing
                                           CountyTime
                                               739
                                                8%

                                      Probationers
                                          416
                                          5%                                                                                                                                      PretrialDistrictCourt
                                                                                                                                                                                         Felonies
                                                                                                                                                                                           5,108
                                                                                                                                                                                            57%
                                      PretrialCounty
                                           Court
                                      Misdemeanors
                                            545
                                            6%


                                           PretrialDistrictCourt
                                             StateJailFelonies
                                                    1,134
                                                     13%




                                                                         HARRISCOUNTYJAILͲ PopulationHousedbyHCSO
                                                                                               excludesInmateProcessingCenter(IPC)
                                                                                                            2009Ͳ 2016
                                       11300

                                                                                                                                       10,941         11,099
                                                                                                                                                                 10,939
                                                                                                                                2009                                            10,897
                                       10800



                                                                                                                                                                                           10,377
                                       10300
                                           2010         10,139                                                                                                   10,161
                                                                                                                      9,996
           DailyAveragePopulation




                                           2011                                                                                                                                                     2009

                                        9800                                                                                                                                                        2010
                                                                                                                                                                                           9,758
                                                                                                                                                                                                    2011
                                                                                                                                                                                                    2012

                                        9300                                                                                                                                                        2013
                                               HarrisCountyJailFacilitiesEffectiveHousingCapacity9,313
                                                                                                                      9,064                                                                         2014
                                                                                                                                                                                                    2015

                                                                                                                              8,950                                                                 2016
                                        8800
                                                                                                                      8,824
                                           2012                                                                       8,565
                                           2013         8,576                       8,579
                                                                       8,490
                                           2014         8,358                                       8,648                                                                                  8,417
                                        8300                                                                                                                                               8,308
                                           2016         8,235
                                                                               8,283                                                                                                       8,181
                                           20158,205

                                        7800
                                                  Jan            Feb           Mar           Apr    May         Jun           Jul      Aug      Sep        Oct            Nov        Dec


Prepared by the Office of Criminal Justice Coordination                                                         04/04/2016                                                                               Page 4 of 6
         Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 55 of 128
                                            Harris County - Jail Population
                                                  March 2016 Report
                       MentalHealth                                                              Total AverageDaily
                    History,NoHomeless                                                              Population
                     Designation;1,514;
                             17%
                                                                                                       InCustody
                                                                                                          8,922
          MentalHealthHistory
           andHomeless;775;
                  9%



                                                                             NoMentalHealth
                                                                               HistoryandNo
          NoMentalHealth                                                      Homeless
          History,Homeless;                                                Designation;5,591;
              1,042;12%                                                            62%




          InCustodyͲ Receiving
           (StatusUnknown);0;
                    0%


                                    MentalHealthHistoryand/orHomeless




                                                      BOPP    Other       InCustodyͲ Receiving
                              Sentencedto
                              TDC/StateJail                                                        Total AverageDaily
                   PrisonersServing
                                                                                                        Population
                     CountyTime                                                                        InCustody
                                                                                                           8,922
                  Probationers



                                                                                 PretrialDistrictCourt
                                                                                 FeloniesͲ Otherthan
            PretrialCountyCourt                                                     StateJail
               Misdemeanors




              PretrialDistrict
              CourtStateJail
                 Felonies



                                     MentalHealthHistoryand/orHomeless
Prepared by the Office of Criminal Justice Coordination      04/04/2016                                                    Page 5 of 6
                                 Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 56 of 128
                                                                                  Harris County - Jail Population
                                                                                        March 2016 Report

                                                                                            PretrialDetainees
                            6000



                            5000
                                                                       DistrictCourtsͲ OtherthanStateJailFelonies

                            4000
 DailyAverage




                            3000



                            2000


                                                                                                            MarͲ14toMarͲ16:20%
                            1000



                                 0



                       MarͲ14 AprͲ14 MayͲ14 JunͲ14 JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16
DistrictCourtFelonies 4246 4310 4365 4452 4486 4515 4543 4549 4565 4584 4689 4,652 4,582 4,731 4,753 4,879 4,946 4925 4930 4885 4885 4941 5078 5086 5108


                                  1600


                                  1500
                                                                                    DistrictCourtsͲ StateJailFelonies
                                  1400


                                  1300


                                  1200
 DailyAverage




                                  1100


                                  1000

                                                                                                                 MarͲ14toMarͲ16:17%
                                     900


                                     800




                                           MarͲ14 AprͲ14 MayͲ14 JunͲ14 JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16
                    StateJailFelonies     973 1023 1082 1094 1042 1022 1057 1059 1087 1055 1112 1,187 1,286 1,377 1,410 1,492 1,485 1425 1329 1233 1181 1153 1094 1142 1134



                           600




                           550                                                                            CountyCourts

                           500
 DailyAverage




                           450




                           400
                                                                                                                MarͲ14toMarͲ16:6%

                           350




                                 MarͲ14 AprͲ14 MayͲ14 JunͲ14 JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16
                 CountyCourts    516    530    469     464   473    458    445    464    452    412     438   418    422    483    453     461   505    497    512    503    482    493     498   513    545




                 Prepared by the Office of Criminal Justice Coordination                                       04/04/2016                                                                             Page 6 of 6
         Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 57 of 128
                                                        Harris County - Jail Population
                                                               June 2016 Report
                                                    Comparison of Daily Average Jail Population

                                                                                 1st Mtg
                                                                                                1 Year             Last          Current        Aug-09      Jun-15         May-16
                                                                                   of
                                                                                                 Ago              Month          Month
                                                                                 Council                                                          -              -           -
        Category 1                                                               Aug-09         Jun-15            May-16         Jun-16         Jun-16      Jun-16         Jun-16
        Pretrial Detainees (By Highest Charge)                                                          Inmates                                        Percent Change
        DistrictCourtsͲOtherthanStateJailFelonies                                             4,879            5,166           5,213                          7%          1%
        DistrictCourtsͲStateJailFelonies                                                        1,492            1,426           1,396                          Ͳ6%         Ͳ2%
        CountyCourts                                                                                    461             527            508                          10%         Ͳ4%
        OtherHarrisCoCourtdetainees(eg:JP,Family,Civil)                                              51            49             46                     Ͳ10%            Ͳ6%
        Pretrial Detainees                                                           6,151           6,883            7,168          7,163            16%            4%          0%
                                                       % of total in Custody          54%              75%              76%            75%

        Probationers (no pending charges):
        DistrictCourts                                                                 855              354             359            351                          Ͳ1%         Ͳ2%
        CountyCourts                                                                    55                  23            27             25                         9%          Ͳ7%
        Probationers                                                                    919              377             386            376       Ͳ59%               0%          Ͳ3%
                                                       % of total in Custody            8%               4%               4%             4%

        Prisoners Serving County Time: Post-Adjudication
        SentencedinCountyCourts                                                                       352             337            309                      Ͳ12%            Ͳ8%
        SentencedinDistrictCourtsͲStateJailFelons12.44A                      13182              175             166            189                          8%          14%
        SentencedinDistrictCourtsͲOther                                                             231             237            245                          6%          3%
        SentencedinJPCourts                                                                               15            15             16                         7%          7%
        Prisoners Serving County Time: Post-Adjudication                             2,919               773             755            759       Ͳ74%               Ͳ2%         1%
                                                       % of total in Custody          26%                8%               8%             8%

        Sentenced to TDC/State Jail: Post-Adjudication
        SentencedtoTDC                                                                                 461             437            526                          14%         20%
        SentencedtoStateJail                                                                          118             110            143                          21%         30%
        PendingAppeals                                                                                  140               94             88                     Ͳ37%            Ͳ6%
        Sentenced to TDC/State Jail: Post-Adjudication                                  632              719             641            757           20%            5%          18%
                                                       % of total in Custody            6%               8%               7%             8%


        Others:
        BoardofPardons&Paroles(BOPP)                                               542              250             327            340                          36%         4%
        Witnesses                                                                        71                  47            41             37                     Ͳ21%         Ͳ10%
        NonͲHarrisCountyPrisoners                                                                          59            52             57
        NotGuiltybyReasonofInsanity(NGRI)                                          99                                  7              6               0%                Ͳ11%
        Others                                                                          674              356             427            440       Ͳ35%               24%         3%
                                                       % of total in Custody            6%               4%               5%             5%
        3
            Received, Uncategorized in JIMS                                                              108                 0              0
                                                       % of total in Custody                          1.2%             0.0%           0.0%


        Total in Harris County Sheriff's Custody                                 11,295 9,216 9,377 9,495                    Ͳ16%               3%          1%
                               3
                                   AverageinInmateProcessingCenter(IPC) 354      392       372   386         9%             Ͳ2%         4%
        Total Housed by HCSO                                                     10,941 8,824 9,005 9,109                    Ͳ17%               3%          1%
                                                              Total Outsourced 1,040     Ͳ        217   232     Ͳ78%               0%          7%
        Total Housed in Harris County Jail Facilities                            9,901         8,824            8,788          8,877


        Total Awaiting Transfer to TDCJ-ID (Paper-Ready)                                461              465             411            499           8%             7%          21%
                                                       % of total in Custody            4%               5%               4%             5%

        1
         TheinmateCategoryDefinitionsforthisreportwerechangedeffectiveJanuary2011.
        DataforAugust2009hasbeenreallocatedtofitthenewcategories.
        2
             ValuetakendirectlyfromAugust2009report.
        3
             IPCIncludesthoseinintakeandreceiving.



Prepared by the Office of Criminal Justice Coordination                          07/19/2016                                                                                       Page 1 of 6
                     Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 58 of 128
                                                                   Harris County - Jail Population
                                                                          June 2016 Report

                                              Comparison of Daily Average Jail Population vs. Facility Capacity

                                                                                      1st mtg of                               Current     Aug-09       Jun-15       May-16
                                                                                                   1 Year Ago   Last Month
                                                                                       Council                                 Month           -           -            -
                      Month/Year                                                      Aug-09        Jun-15       May-16        Jun-16       Jun-16      Jun-16       Jun-16



                      Total in HCSO custody                                              11,295        9,216         9,377        9,495      -16%         3%           1%
                                                                        1
                                                            Less IPC daily average          354          392           372          386       9%          -2%          4%
                      Total Housed by HCSO                                               10,941        8,824         9,005        9,109      -17%         3%           1%
                                                            Less Outsourced               1,040          -             217          232
                      Total Housed in Harris County Jail Facilities                       9,901        8,824         8,788        8,877

                               Harris County Jail Facilities Total Design Capacity        9,434        9,434         9,434        9,434
                                              Total over/(under) design capacity            467         (610)         (646)        (557)
                                             Percent over/(under) design capacity             5%         -6%            -7%         -6%
                                                                                                                                                without variance beds
                               Harris County Jail Facilities Total Design Capacity        9,434        9,434         9,434        9,434                    9,434
                                                 TCJS Approved Variance Beds2             1,612          680           580          580                       -
                            Harris County Jail Total Capacity approved by TCJS           11,046      10,114         10,014      10,014                     9,434
                                                                        less 7%            (773)       (708)          (701)       (701)                     (660)
                                              Effective Housing Capacity (93%)3          10,273       9,406          9,313       9,313                     8,774

                      Total Housed in Harris County Jail Facilities                       9,901        8,824         8,788        8,877                    8,877
                               Total over/(under) Effective Housing Capacity               (372)        (582)         (525)        (436)                     104
                             Percent over/(under) Effective Housing Capacity              -3.6%        -6.2%         -5.6%        -4.7%                     1.2%

                      1
                          IPC Includes those in intake and receiving.

                      2
                          As of November 6, 2014 the number of approved variance beds was reduced from 680 to 580 beds.

                      3
                        Effective Housing Capacity is equivalent to 93% of the total number of beds available. At any given time, seven percent of beds are unavailable due to
                      classification issues, repairs, construction, etc. thus preventing 100% utilization of all beds in the facility.




                                                                        TotalInmatesHoused
                 12,000


                 11,500


                 11,000


                 10,500
 DailyAverage




                 10,000


                  9,500

                             Harris County Jail Facilities
                  9,000      Effective Housing Capacity 9,313


                  8,500


                  8,000
                                                                                      Aug-09 to Jun-16: -17%

                  7,500




Prepared by the Office of Criminal Justice Coordination                                    07/19/2016                                                                         Page 2 of 6
           Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 59 of 128
                                                  Harris County - Jail Population
                                                         June 2016 Report


Observations

In June 2016 the average daily jail population housed stood at 9,109, a net increase of 104 persons from the
previousmonth.IncreaseswereobservedinthosesentencedtoTDC/StateJailandparoleviolators.


Theaveragedailyjailpopulationhousedisdown18%fromthefirstmeetingoftheCouncilinSeptember2009
when the population totaled 10,941 inmates, which was 16% over design capacity and 7% over TCJS approved
capacity.Includingapprovedvariancebeds,theaveragedailyjailpopulationhousedforJunewasϮ%belowthe
effectivehousingcapacity.Anaverageof232inmateswerehousedinotherTexascounties.


Pretrialdetaineesrepresent75%(7,163persons)ofthetotaljailpopulation,essentiallythesameastheprevious
monthand4%higher(280persons)thanoneyearago.Thepretrialfelonypopulation(excludingstatejailfelonies)
increasedby47personsto5,213,7%higherthanoneyearago.Thenumberofpretrialstatejailfelonydetainees
declinedby30personsfromlastmonth,6%lessthanoneyearago.Themisdemeanorpretrialdetaineepopulation
declinedby19personsfromlastmonthandis10%higher(47persons)thanoneyearago.

Thenumberofprobationerswithnopendingchargesdeclined3%fromlastmonthto351,essentiallythesame
asoneyearago.

PostͲadjudicatedCountyprisonersrepresent8%ofthetotaljailpopulation,unchangedfromlastmonth,and2%
(14persons)lessthanoneyearago.757personsor8%ofthetotalpopulationarepostͲadjudicatedprisoners
sentencedtoTDCorstatejail,up5%fromoneyearago.

Thenumberofparoleviolatorsincreased4%(13persons)fromlastmonthto340,36%higherthanoneyearago.

ThenumberofinmatesawaitingtransfertoTDCJͲID(i.e.PaperReady)averaged499,up7%fromoneyearago.

InJune2016,27%(2,453persons)oftheaveragedailyjailpopulationhousedhadamentalhealthhistory
(previouslydiagnosedorprescribedpsychotropicmedication).825ofthese2,453hadeitherselfͲidentifiedas
beinghomelessorhadreceivedhomelessservicesinthecommunitypriortoincarceration.Anadditional11%
(1,004persons)oftheaveragedailyjailpopulationhousedmetthesamehomelesscriteria.




Note:Fluctuationinthejailpopulationasreportedhereisinfluencedbyavarietyoffactorssuchasthenumberofcasesfiled,thenumberofpeoplewhoare
releasedonbond,thelengthoftimetocompleteacase,holdsplacedonHarrisCountyinmatesbyotherjurisdictions,lengthofsentenceshandeddown,the
effectofearlyreleaseprograms,paroleboardprocessingofcases,andthelistgoeson.Thechangesobservedinthejailpopulationcategoriesfrommonth
tomonthareimpactedbyanynumberofthesefactorsandcannotbeattributedtoasinglecauseandeffect.

Note:EffectiveHousingCapacityisequivalentto93%ofthetotalnumberofbedsavailable.Atanygiventime,approximatelysevenpercentofbedsare
unavailableduetoclassificationissues,repairs,construction,etc.thuspreventing100%utilizationofallbedsinthefacility.TheTexasCommissiononJail
Standards(TCJS)hasapprovedtheuseof580variancebedsintheHarrisCountyJail.Whenthisadditionalcapacityisaddedtothedesigncapacity,thetotal
numberofbedsrisesto10,014,but7%(701beds)mustbesubtractedfromthisnumbertodeterminetheeffectivehousingcapacitywhichis9,313.(The
numberofvariancebedsissubjecttoperiodicreviewbyTCJS.)

 Prepared by the Office of Criminal Justice Coordination                 07/19/2016                                                               Page 3 of 6
         Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 60 of 128
                                                                                       Harris County - Jail Population
                                                                                              June 2016 Report
                                                                                                                                                                                          Total Daily Average
                                                                                                                                             Others(Witnesses,
                                                                                                             BOPPViolators
                                                                                                                                           Appeal,JP,Family,Civil)                         Population
                                                  Sentencedto                                                  340
                                                  TDC/StateJail                                                  4%                                 146                                      In Custody
                                                      757                                                                                             1%
                                                                                                                                                                                                 9,495
                                                       8%

                                           PrisonersServing
                                             CountyTime
                                                 759
                                                  8%

                                      Probationersw/o
                                       LawViolations                                                                                                                                                     PretrialDistrictCourt
                                            376                                                                                                                                                                  Felonies
                                             4%                                                                                                                                                                    5,213
                                                                                                                                                                                                                    55%

                                      PretrialCounty
                                           Court
                                      Misdemeanors
                                            508
                                            5%


                                                PretrialDistrictCourt
                                                  StateJailFelonies
                                                         1,396
                                                          15%




                                                                           HARRISCOUNTYJAILͲ PopulationHousedbyHCSO
                                                                               excludesInmateProcessingCenter(IPC)
                                                                                            2013Ͳ 2016
                                       9,400


                                                                                                                                                                            9,262
                                                  HarrisCountyJailFacilitiesEffectiveHousingCapacity9,313
                                       9,200

                                                                                                                                 9,109
                                                                                                                                 9,064
                                                                                                                                                                                          9,024
                                       9,000                                                                      9,005
                                                                                                                                                8,950
           DailyAveragePopulation




                                                                                                                                 8,824
                                       8,800
                                                                                                     8,770
                                                                                                                                                              8,730                                                           2013
                                                  2013
                                                                                                                   8,648                                                                                8,658                 2014
                                                                                                                                                                            8,638
                                       8,600                                                                                                                                             8,592                               2015
                                                          8,576                       8,579
                                                                                                                                  8,565                                                                                       2016
                                                                         8,490
                                                  2014                                                                                                                                                  8,440
                                                                                                     8,423                                                                  8,424                                     8,417
                                       8,400
                                                                         8,352
                                                          8,358
                                                  2016                                                                                                                                                                8,308
                                                                                         8,283
                                                          8,235
                                       8,200
                                                           8,205                                                                                                                                                      8,181
                                                  2015


                                       8,000
                                                    Jan            Feb           Mar           Apr           May           Jun            Jul           Aug           Sep           Oct           Nov           Dec



Prepared by the Office of Criminal Justice Coordination                                                                    07/19/2016                                                                                            Page 4 of 6
         Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 61 of 128
                                            Harris County - Jail Population
                                                   June 2016 Report

                     MentalHealth                                                          Total AverageDaily
                  History,NoHomeless                                                          Population
                   Designation;1,728;                                                          InCustody
                           18%
                                                                                                    9,495

          MentalHealthHistory
           andHomeless;849;
                  9%

                                                                         NoMentalHealth
                                                                           HistoryandNo
                                                                             Homeless
                                                                         Designation;5,874;
           NoMentalHealth
                                                                                62%
           History,Homeless;
               1,044;11%




                                    MentalHealthHistoryand/orHomeless




                                                     BOPP    Other
                           Sentencedto                                                         Total AverageDaily
                           TDC/StateJail
                                                                                                     Population
                PrisonersServing
                                                                                                     InCustody
                  CountyTime                                                                           9,495

                                                                            PretrialDistrict
               Probationers                                                CourtFeloniesͲ
                 w/oLaw                                                     Otherthan
                Violations                                                     StateJail


            PretrialCountyCourt
               Misdemeanors




                   PretrialDistrict
                   CourtStateJail
                      Felonies


                                        MentalHealthHistoryand/orHomeless
Prepared by the Office of Criminal Justice Coordination     07/19/2016                                              Page 5 of 6
                                 Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 62 of 128
                                                                                    Harris County - Jail Population
                                                                                           June 2016 Report

                                                                                                PretrialDetainees
                              5400


                              5200                                       DistrictCourtsͲ OtherthanStateJailFelonies
                              5000


                              4800
 DailyAverage




                              4600


                              4400
                                                                                                                 JunͲ14toJunͲ16:17%
                              4200


                              4000



                        JunͲ14 JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16
DistrictCourtFelonies 4452 4486 4515 4543 4549 4565 4584 4689 4,652 4,582 4,731 4,753 4,879 4,946 4925 4930 4885 4885 4941 5078 5086 5108 5046 5166 5213


                                  1600


                                  1500                                                  DistrictCourtsͲ StateJailFelonies
                                  1400


                                  1300


                                  1200
 DailyAverage




                                  1100


                                  1000


                                     900                                                                            JunͲ14toJunͲ16:28%

                                     800




                                           JunͲ14 JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16
                    Series2                  0
                    StateJailFelonies 1094       1042   1022   1057    1059    1087    1055    1112   1,187 1,286 1,377 1,410 1,492 1,485    1425    1329   1233   1181   1153   1094   1142   1134   1365   1426   1396



                          600




                          550                                                                                CountyCourts

                          500
 DailyAverage




                          450




                          400

                                                                                                                    JunͲ14toJunͲ16:9%

                          350




                                 JunͲ14 JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16
                 Series2           0
                 CountyCourts       464     473    458    445     464     452     412     438      418    422    483   453   461    505      497     512     503    482    493    498    513    545    546     527    508




                 Prepared by the Office of Criminal Justice Coordination                                          07/19/2016                                                                            Page 6 of 6
 Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 63 of 128


                                            Comparison of Daily Average Jail Population

                                                                         1st Mtg
                                                                                        1 Year             Last          Current        Aug-09       Jul-15        Jun-16
                                                                           of
                                                                                         Ago              Month          Month
                                                                         Council                                                          -              -           -
Category 1                                                               Aug-09         Jul-15            Jun-16          Jul-16        Jul-16       Jul-16        Jul-16
Pretrial Detainees (By Highest Charge)                                                          Inmates                                        Percent Change
DistrictCourtsͲOtherthanStateJailFelonies                                             4,946            5,213           5,257                          6%          1%
DistrictCourtsͲStateJailFelonies                                                        1,485            1,396           1,361                          Ͳ8%         Ͳ3%
CountyCourts                                                                                    505             508            486                          Ͳ4%         Ͳ4%
OtherHarrisCoCourtdetainees(eg:JP,Family,Civil)                                              53            46             41                     Ͳ23%         Ͳ11%
Pretrial Detainees                                                           6,151           6,989            7,163          7,145            16%            2%          0%
                                               % of total in Custody          54%              75%              75%            76%

Probationers (no pending charges):
DistrictCourts                                                                 855              332             351            403                          21%         15%
CountyCourts                                                                    55                  23            25             24                         4%          Ͳ4%
Probationers                                                                    919              355             376            427       Ͳ54%               20%         14%
                                               % of total in Custody            8%               4%               4%             5%

Prisoners Serving County Time: Post-Adjudication
SentencedinCountyCourts                                                                       348             309            293                      Ͳ16%            Ͳ5%
SentencedinDistrictCourtsͲStateJailFelons12.44A                      13182              163             189            157                          Ͳ4%      Ͳ17%
SentencedinDistrictCourtsͲOther                                                             239             245            240                          0%          Ͳ2%
SentencedinJPCourts                                                                               16            16             12                     Ͳ25%         Ͳ25%
Prisoners Serving County Time: Post-Adjudication                             2,919               766             759            702       Ͳ76%               Ͳ8%         Ͳ8%
                                               % of total in Custody          26%                8%               8%             7%

Sentenced to TDC/State Jail: Post-Adjudication
SentencedtoTDC                                                                                 496             526            472                          Ͳ5%      Ͳ10%
SentencedtoStateJail                                                                          132             143            129                          Ͳ2%      Ͳ10%
PendingAppeals                                                                                  139               88             83                     Ͳ40%            Ͳ6%
Sentenced to TDC/State Jail: Post-Adjudication                                  632              767             757            684           8%         Ͳ11%        Ͳ10%
                                               % of total in Custody            6%               8%               8%             7%


Others:
BoardofPardons&Paroles(BOPP)                                               542              271             340            311                          15%         Ͳ9%
Witnesses                                                                        71                  35            37             39                         11%         5%
NonͲHarrisCountyPrisoners                                                                          56            57             44
NotGuiltybyReasonofInsanity(NGRI)                                          99                                  6              5               0%                Ͳ16%
Others                                                                          674              362             440            399       Ͳ41%               10%         Ͳ9%
                                               % of total in Custody            6%               4%               5%             4%
3
    Received, Uncategorized in JIMS                                                              100                 0              4
                                               % of total in Custody                          1.1%             0.0%           0.0%


Total in Harris County Sheriff's Custody                                 11,295 9,339 9,495 9,361                    Ͳ17%               0%          Ͳ1%
                       3
                           AverageinInmateProcessingCenter(IPC) 354      389       386   302
Total Housed by Harris County Sheriff                                    10,941 8,950 9,109 9,059                    Ͳ17%               1%          Ͳ1%
                                                      Total Outsourced 1,040     Ͳ        232   230
Total Housed in Harris County Jail Facilities                            9,901         8,950            8,877          8,829        Ͳ11%               Ͳ1%         Ͳ1%


Total Awaiting Transfer to TDCJ-ID (Paper-Ready)                                461              515             499            424           Ͳ8%        Ͳ18%        Ͳ15%
                                               % of total in Custody            4%               6%               5%             5%

1
 TheinmateCategoryDefinitionsforthisreportwerechangedeffectiveJanuary2011.
DataforAugust2009hasbeenreallocatedtofitthenewcategories.
2
     ValuetakendirectlyfromAugust2009report.
3
     IPCIncludesthoseinintakeandreceiving.
                           Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 64 of 128




                                             Comparison of Daily Average Jail Population vs. Facility Capacity

                                                                                    1st mtg of                               Current     Aug-09        Jul-15      Jun-16
                                                                                                  1 Year Ago   Last Month
                                                                                     Council                                 Month           -            -           -
                     Month/Year                                                      Aug-09        Jul-15       Jun-16       Jul-16       Jul-16       Jul-16      Jul-16


                     Total in HCSO custody                                             11,295        9,339         9,495        9,361      -17%         0%           -1%
                                                                   1
                                                           Less IPC daily average         354          389           386          302      -15%        -22%         -22%
                     Total Housed by HCSO                                              10,941        8,950         9,109        9,059      -17%         1%           -1%
                                                           Less Outsourced              1,040          -             232          230
                     Total Housed in Harris County Jail Facilities                      9,901        8,950         8,877        8,829

                             Harris County Jail Facilities Total Design Capacity        9,434        9,434         9,434        9,434
                                            Total over/(under) design capacity            467         (484)         (557)        (605)
                                         Percent over/(under) design capacity            5.0%        -5.1%         -5.9%        -6.4%
                                                                                                                                              without variance beds
                             Harris County Jail Facilities Total Design Capacity         9,434       9,434         9,434        9,434                    9,434
                                               TCJS Approved Variance Beds2             1,612          680           580         580                       -
                           Harris County Jail Total Capacity approved by TCJS          11,046       10,114        10,014      10,014                     9,434
                                                                       less 7%           (773)        (708)         (701)       (701)                     (660)
                                              Effective Housing Capacity (93%)3        10,273        9,406         9,313       9,313                     8,774

                     Total Housed in Harris County Jail Facilities                       9,901       8,950         8,877        8,829                    8,829
                              Total over/(under) Effective Housing Capacity               (372)       (456)         (436)        (484)                      56
                            Percent over/(under) Effective Housing Capacity              -3.6%       -4.8%         -4.7%        -5.2%                     0.6%

                     1
                         IPC Includes those in intake and receiving.
                     2
                         As of November 6, 2014 the number of approved variance beds was reduced from 680 to 580 beds.

                     3
                       Effective Housing Capacity is equivalent to 93% of the total number of beds available. At any given time, seven percent of beds are unavailable due to
                     classification issues, repairs, construction, etc. thus preventing 100% utilization of all beds in the facility.




                                                                       TotalInmatesHoused
                12,000


                11,500


                11,000


                10,500
DailyAverage




                10,000


                 9,500


                 9,000      Harris County Jail Facilities
                            Effective Housing Capacity 9,313


                 8,500


                 8,000
                                                                                     Aug-09 to Jul-16: -17%

                 7,500
           Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 65 of 128



Observations

InJuly2016theaveragedailyjailpopulationhousedstoodat9,059,down50personsfromthepreviousmonth.
Therewerefewerpostadjudicatedcountyprisoners,TDC/statejailprisoners,andparoleviolators.


Theaveragedailyjailpopulationhousedisdown17%fromthefirstmeetingoftheCouncilinSeptember2009
whenthepopulationtotaled10,941inmates.DuringthemonthofJulyanaverageof230inmateswerehoused
in other Texas counties. Including approved variance beds, the average daily jail population housed in Harris
Countyjailfacilitieswas8829,5.2%belowtheeffectivehousingcapacity.


Pretrialdetaineesrepresent76%(7,145persons)ofthetotaljailpopulation,essentiallythesameastheprevious
monthand4%higher(280persons)thanoneyearago.Thepretrialfelonypopulation(excludingstatejailfelonies)
increasedby47personsto5,213,7%higherthanoneyearago.Thenumberofpretrialstatejailfelonydetainees
declinedby30personsfromlastmonth,6%lessthanoneyearago.Themisdemeanorpretrialdetaineepopulation
declinedby19personsfromlastmonthandis10%higher(47persons)thanoneyearago.

Thenumberofprobationerswithnopendingchargesincreased15%fromlastmonthto403,up21%fromone
yearago.

PostͲadjudicatedCountyprisonersrepresent7.5%ofthetotaljailpopulation,down57personsfromlastmonth,
and8%(64persons)lessthanoneyearago.684personsor7.3%ofthetotalpopulationarepostͲadjudicated
prisonerssentencedtoTDCorstatejail,down11%fromoneyearago.

Thenumberofparoleviolatorsisdown9%(29persons)fromlastmonthto311,15%higherthanoneyearago.

ThenumberofinmatesawaitingtransfertoTDCJͲID(i.e.PaperReady)averaged499,up7%fromoneyearago.

In July 2016, 27% (2,470 persons) of the average daily jail population housed had a mental health history
(previouslydiagnosedorprescribedpsychotropicmedication).795ofthese2,470hadeitherselfͲidentifiedas
beinghomelessorhadreceivedhomelessservicesinthecommunitypriortoincarceration.Anadditional11%
(959persons)oftheaveragedailyjailpopulationhousedmetthesamehomelesscriteria.





Note:Fluctuationinthejailpopulationasreportedhereisinfluencedbyavarietyoffactorssuchasthenumberofcasesfiled,thenumberofpeoplewhoare
releasedonbond,thelengthoftimetocompleteacase,holdsplacedonHarrisCountyinmatesbyotherjurisdictions,lengthofsentenceshandeddown,the
effectofearlyreleaseprograms,paroleboardprocessingofcases,andthelistgoeson.Thechangesobservedinthejailpopulationcategoriesfrommonth
tomonthareimpactedbyanynumberofthesefactorsandcannotbeattributedtoasinglecauseandeffect.

Note:EffectiveHousingCapacityisequivalentto93%ofthetotalnumberofbedsavailable.Atanygiventime,approximatelysevenpercentofbedsare
unavailableduetoclassificationissues,repairs,construction,etc.thuspreventing100%utilizationofallbedsinthefacility.TheTexasCommissiononJail
Standards(TCJS)hasapprovedtheuseof580variancebedsintheHarrisCountyJail.Whenthisadditionalcapacityisaddedtothedesigncapacity,thetotal
numberofbedsrisesto10,014,but7%(701beds)mustbesubtractedfromthisnumbertodeterminetheeffectivehousingcapacitywhichis9,313.(The
numberofvariancebedsissubjecttoperiodicreviewbyTCJS.)


Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 66 of 128


                                                                                                                                                                       Total Daily Average
                                                                                                   BOPPViolators                 Others(Witnesses,
                                          Sentencedto                                                311                      Appeal,JP,Family,Civil)                 Population
                                          TDC/StateJail                                                3%                                129                              In Custody
                                              684                                                                                          1%
                                                                                                                                                                              9,361
                                               7%
                                                                                                                                                                                  IncludesInmate
                                     PrisonersServing                                                                                                                          ProcessingCenter
                                       CountyTime                                                                                                                                andOutsourced
                                           702                                                                                                                                        Inmates
                                            8%

                            Probationersw/o
                             LawViolations
                                  427                                                                                                                                                   PretrialDistrictCourt
                                   5%                                                                                                                                                          Felonies
                                                                                                                                                                                                 5,257
                                                                                                                                                                                                  56%
                            PretrialCounty
                                 Court
                            Misdemeanors
                                  486
                                  5%


                                 PretrialDistrictCourt
                                   StateJailFelonies
                                          1,361
                                           15%




                                                                       HARRISCOUNTYJAILͲ PopulationHousedbyHCSO
                                                                 includesOutsourcedInmates,excludesInmateProcessingCenter(IPC)
                                                                                                                 2009Ͳ 2016
                             11300

                                                                                                                                             10,941         11,099
                                                                                                                                                                       10,939
                                                                                                                                 2009                                                 10,897
                             10800



                                                                                                                                                                                                 10,377
                             10300
                                 2010           10,139                                                                                                                 10,161
                                                                                                                       9,996
 DailyAveragePopulation




                                 2011                                                                                                                                                                     2009

                              9800                                                                                                                                                                        2010
                                                                                                                                                                                                 9,758
                                                                                                                                                                                                          2011
                                                                                                                                                                                                          2012

                              9300                                                                                                                                                                        2013
                                       HarrisCountyJailFacilities
                                                                                                                       9,064                                                                              2014
                                       EffectiveHousingCapacity9,313
                                                                                                                       9,109         9,059                                                                2015
                                                                                                         9,005
                                                                                                                                                                                                          2016
                              8800                                                         8,770
                                 2012                                                                                  8,565
                                 2013           8,576                       8,579
                                                               8,490
                                 2014           8,358                                                                                                                                            8,417
                              8300                                                                                                                                                               8,308
                                 2016
                                                 8,235                                                                                                                                           8,181
                                                8,205
                                 2015

                              7800
                                          Jan            Feb           Mar           Apr           May           Jun           Jul           Aug      Sep        Oct            Nov        Dec
Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 67 of 128



           MentalHealth                                                   Total AverageDaily
        History,NoHomeless                                                   Population
         Designation;1,705;
                                                                                InCustody
                 18%
                                                                                   9,361
                                                                                 IncludesInmate
                                                                                ProcessingCenter
MentalHealthHistory                                                           andOutsourced
 andHomeless;811;                                                                 Inmates
        9%


                                                   NoMentalHealth
                                                     HistoryandNo
                                                       Homeless
 NoMentalHealth                                 Designation;5,850;
 History,Homeless;                                      62%
      991;11%




                          MentalHealthHistoryand/orHomeless




                                    BOPP   Other
                   Sentencedto
                   TDC/StateJail
                                                                            Total AverageDaily
                                                                                Population
        PrisonersServing
                                                                                InCustody
          CountyTime
                                                                                   9,361
                                                                                  IncludesInmate
     Probationers                                                               ProcessingCenter
                                                       PretrialDistrict
       w/oLaw                                                                   andOutsourced
                                                       CourtFeloniesͲ               Inmates
      Violations
                                                         Otherthan
                                                          StateJail
  PretrialCountyCourt
     Misdemeanors




     PretrialDistrict
     CourtStateJail
        Felonies



                           MentalHealthHistoryand/orHomeless
         Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 68 of 128
                                           Harris County - Jail Population
                                                  July 2016 Report

                   PretrialDetainees                                                      PretrialDetainees
                 DistrictCourtFelonies                                           DistrictCourtStateJailFelonies
                                                                                                 MH
                  MH                                                                             14%
                  20%
                                                     Not                                                              Not
                                                  Homeless,No                   MH&                             Homeless,No
        MH&                                      MHHistory                    Homeless                            MHHistory
       Homeless                                      63%                           14%                                 54%
         8%

      Homeless
        9%                                                                          Homeless
                                                                                      18%




                        Probationers                                                            ParoleViolators
          MH
          19%                                                                      MH
                                                                                   21%
                                                      Not                                                               Not
                                                   Homeless,No                                                      Homeless,No
    MH&                                           MHHistory                                                         MHHistory
   Homeless                                           65%                          MH&                                 53%
     7%                                                                           Homeless
                                                                                    11%
    Homeless
      9%                                                                           Homeless
                                                                                     15%



              PretrialDetainees                                                  PrisonersServingCountyTime
          CountyCourtMisdemeanors                                                             MH
                                                                                                13%
                    MH                                                             MH&
                    17%                                                           Homeless
                                                   Not                             7%                                  Not
      MH&                                     Homeless,No                                                        Homeless,No
     Homeless                                    MHHistory                                                           MHHistory
       10%                                         63%                          Homeless                                69%
                                                                                  11%
      Homeless
        10%




             Others(Witnesses,Appeal,
                                                                                      SentencedtoTDC/StateJail
                  JP,Family,Civil)                                                    MH
                                                                                          13%
              MH
              26%                                                               MH&
                                                      Not                     Homeless                                  Not
                                                    Homeless,                   5%                                   Homeless,No
   MH&                                             NoMH                                                            MHHistory
  Homeless                                           History                                                             72%
                                                                           Homeless
    10%                                               49%
                                                                             10%


    Homeless
      15%




Prepared by the Office of Criminal Justice Coordination           08/05/2016                                          Page 6 of 16
                                 Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 69 of 128
                                                                                    Harris County - Jail Population
                                                                                           July 2016 Report

                                                                                                PretrialDetainees
                              5400


                              5200                                       DistrictCourtsͲ OtherthanStateJailFelonies
                              5000


                              4800
 DailyAverage




                              4600


                              4400

                                                                                                                 JulͲ14toJulͲ16:17%
                              4200


                              4000



                        JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16 JulͲ16
DistrictCourtFelonies 4486 4515 4543 4549 4565 4584 4689 4652 4,582 4,731 4,753 4,879 4,946 4,925 4930 4885 4885 4941 5078 5086 5108 5046 5166 5213 5257


                                 1600


                                 1500                                                   DistrictCourtsͲ StateJailFelonies
                                 1400


                                 1300


                                 1200
 DailyAverage




                                 1100


                                 1000


                                     900                                                                                JulͲ14toJulͲ16:31%
                                     800




                                           JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16 JulͲ16
                    Series2                  0
                    StateJailFelonies 1042      1022    1057   1059    1087    1055    1112    1187   1,286 1,377 1,410 1,492 1,485 1,425    1329    1233   1181   1153   1094   1142   1134   1365   1426   1396   1361



                          600




                          550                                                                                CountyCourts

                          500
 DailyAverage




                          450




                          400

                                                                                                                        JulͲ14toJulͲ16:3%
                          350




                                 JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16 JulͲ16
                 Series2           0
                 CountyCourts       473    458     445    464     452     412     438     418      422    483    453     461   505   497     512     503     482    493    498    513    545    546     527    508    486




                 Prepared by the Office of Criminal Justice Coordination                                          08/05/2016                                                                            Page 7 of 16
                                                                                                    TotalHousedbyHCSO
                          10,000



                           9,500



                           9,000            HarrisCountyJailFacilitiesEffectiveHousingCapacity9,313


                           8,500



                           8,000




          DailyAverage
                           7,500                                                                                  Jul-14 to Jul-16: 8%


                           7,000




                                   JulͲ14   AugͲ14 SepͲ14   OctͲ14 NovͲ14 DecͲ14   JanͲ15   FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15   JulͲ15   AugͲ15 SepͲ15   OctͲ15 NovͲ15 DecͲ15   JanͲ16   FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16   JulͲ16
TotalOutsourced                                                                                                          7       154       19                                                                  217     232     230
TotalHousedinHarrisCounty      8439      8349   8,424   8,476   8449   8181    8205     8352   8283    8424   8648   8817    8796     8711    8638    8592    8439   8308    8235     8490   8579    8770   8788   8877    8829
                                                                                                                                                                                                                                        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 70 of 128
                                                                                  Harris County - Jail Population
                                                                                         July 2016 Report


                                                                                        Probationers
                                                                                  withNoNewCharges
                                                                                              DistrictCourts         CountyCourts
                       1,000

                        900

                        800

                        700

                        600

                        500

                        400




DailyAverage
                        300

                        200

                        100                                                                      Jul-14 to Jul-16: -6%
                           0



                               JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15   JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16   JulͲ16
        TotalProbationers      456    443    387    354    324    308     316   347    332    330    359     377     355    346    366    444    465    363     311   340    416    412    386     376     427
        CountyCourts           40     40      33     22     26      21   30     29      24     26     23     23      23     22     25     21     19     20     22      24     25     23     27     25      24
        DistrictCourts        416     403    354    332     298    287   286    318    308     304   336    354     332    324     341    423    446    343    289    316    391    389    359    351      403
                                                                                                                                                                                                                    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 71 of 128




                Prepared by the Office of Criminal Justice Coordination                               08/05/2016                                                                            Page 9 of 16
                                                                                             Harris County - Jail Population
                                                                                                    July 2016 Report



                                                                 PostAdjudicatedͲ ServingCountyTime
                                                          SentencedinJPCourts              SentencedinCountyCourts                    DistrictCourtsͲStateJailFelons             DistrictCourtsͲOther
                              2,500



                              2,000                                                                                                                                                                                   Jan-11 to D



                              1,500



                              1,000




            DailyAverage
                                500

                                                                                                                   Jul-14 to Jul-16: -32%
                                      0



                                          JulͲ14   AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15   JulͲ15   AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16   JulͲ16
TotalInmatesServingCountyTime          1034     1028   1016   1078   1041   907     828   853    782    784    795     773     766      715    734    751    692    654     640   673    739    726    755     759     702
DistrictCourtsͲOther                    273      279    278    289    278    249    236    231    234    221      222   231     239      236    242    250    250    235    231    251     272   224     237    245     240
DistrictCourtsͲStateJailFelons        292      304    310    333    319    284    248    226    172    179      199   175     163      146    138    137    120    108     91     86     109   165     166    189     157
SentencedinCountyCourts                 454      430    415    442    431    363    332    382    363    375      361   352     348      315    336    341    303    294    297    319     339   320     337    309     293
SentencedinJPCourts                     15       15     13     14      13     11     12     14     13     9       13    15      16       18     18     23      20     17     21     17     19     17     15     16      12
                                                                                                                                                                                                                                   Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 72 of 128




           Prepared by the Office of Criminal Justice Coordination                                                08/05/2016                                                                              Page 10 of 16
                                                                                 Harris County - Jail Population
                                                                                        July 2016 Report



                                      PostͲAdjudicatedͲ SentencedtoTDC/StateJail
                                                                   SentencedtoStateJail             PendingAppeals             SentencedtoTDC
                       1,800

                       1,600

                       1,400

                       1,200

                       1,000

                        800

                        600




      DailyAverages
                        400                                                                               Jul-14 to Jul-16: -11%
                        200

                          0



                                                             NovͲ                      MarͲ             MayͲ                                      NovͲ                      MarͲ            MayͲ
                               JulͲ14 AugͲ14 SepͲ14 OctͲ14        DecͲ14 JanͲ15 FebͲ15        AprͲ15         JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15        DecͲ15 JanͲ16 FebͲ16        AprͲ16        JunͲ16 JulͲ16
                                                              14                        15               15                                        15                        16              16
 TOTAL                         768     708    789    796     775   751     689   744   711     673      749    719   767    706    654    632     599   552     472   569   586     646     641    757   684
 SentencedtoTDC              470     444    479    510     501     488   420    453   455    422      494    461    496    457    427   420     401   346    289    365   384     430     437    526    472
 PendingAppeals               147     138    141    151     147     146   146    141   145    136      149    140    139    131    111    88     90     97     82    92     99     94       94    88     83
 SentencedtoStateJail       151     126    169    135     127     117   123    150   111    115      106    118    132    118    116   124     108   109    101    112   103     122     110    143    129
                                                                                                                                                                                                                 Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 73 of 128




Prepared by the Office of Criminal Justice Coordination                                              08/05/2016                                                                              Page 11 of 16
                                                                                       Harris County - Jail Population
                                                                                              July 2016 Report



                                                                  OtherNonͲHarrisCountyPrisoners
                                                       NotGuiltybyReasonofInsanity(NGRI)                    NonͲHarrisCountyPrisoners                Witnesses        BoardofPardons&Parole(BOPP)
                                     1,000

                                      900

                                      800

                                      700

                                      600

                                      500

                                      400

                                      300




                     DailyAverage
                                      200
                                                                                                               Jul-14 to Jul-16: 24%
                                      100

                                        0




                                             JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16 JulͲ16
TOTAL                                         384    379    387    354    326    280     282   339    349    292    306     356   361    357    360    361    321    325     350   358    340    356    427     440   399
BoardofPardons&Parole(BOPP)             286    263     280    264    236    183    196    251    265    205    199    250    271    265    297    305     261   274    282    278    264    265       327    340     311
Witnesses                                     37     61     52     44     43     44     42     38     32     33      48    47     35     34      35     39     46     41     39     39     34     35        41    37      39
NonͲHarrisCountyPrisoners                   61     55     55     46     47     53     44     50     52     54      59    59     56     58      28     17     14     10     29     41     42     53        52    57      44
NotGuiltybyReasonofInsanity(NGRI)                                                                                                                                                         2.72414     7      6      5
                                                                                                                                                                                                                                Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 74 of 128




        Prepared by the Office of Criminal Justice Coordination                                              08/05/2016                                                                                   Page 12 of 16
                                                                                  Harris County - Jail Population
                                                                                         July 2016 Report


                                                                       AwaitingTransfertoTDCJ
                                                                             PaperReady
                     700


                     600


                     500


                     400




DailyAverage
                     300


                     200
                                                                                                     Jul-14 to Jul-16: 5%
                     100
                                                                                                     Jul-15 to Jul-16: -1%
                        0



                              JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15   JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16   JulͲ16
                PaperReady    469    431    467    506    506    486     418   446    474    394    487     465     515    466    424    417    423    340     252   308    362    370    411     499     424
                                                                                                                                                                                                                   Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 75 of 128




           Prepared by the Office of Criminal Justice Coordination                                     08/05/2016                                                                             Page 13 of 16
                             Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 76 of 128
                                                                                          Harris County - Jail Population
                                                                                                 July 2016 Report

                                                                                                        StateJailFelons
                                     1600


                                     1500                                                        PretrialStateJailFelons
                                     1400


                                     1300
   DailyAverage




                                     1200


                                     1100


                                     1000


                                       900
                                                                                                                        JulͲ14toJulͲ16:31%

                                       800



                                                 JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15         JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16          JulͲ16
                                PretrialSJFs     1042   1022   1057   1059   1087   1055   1112   1187 1,286 1,377 1,410 1,492              1,485 1,425 1329      1233   1181   1153   1094   1142   1134   1365   1426   1396            1361




                                                 400


                                                 350                               SentencedinDistrictCourtsͲ StateJailFelons12.44A
                                                 300


                                                 250


                                                 200
   DailyAverage




                                                 150


                                                 100


                                                  50                                                                     JulͲ14toJulͲ16:Ͳ46%

                                                  0



                                                                                                                 MarͲ             MayͲ                                                                    MarͲ            MayͲ
                                                       JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15          AprͲ15           JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16          AprͲ16           JunͲ16 JulͲ16
                                                                                                                  15               15                                                                      16              16
                       SentencedinDistrictCourts     292    304    310    333    319    284    248    226     172     179      199     175    163    146    138    137    120    108     91     86     109     165     166      189      157




                                                400



                                                350
                                                                                                               SentencedtoStateJail
                                                300



                                                250
       DailyAverage




                                                200



                                                150



                                                100

                                                                                                                                 JulͲ14toJulͲ16:Ͳ15%
                                                 50



                                                  0



                                                                                                                                  MayͲ                                                                                     MayͲ
                                                       JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15             JunͲ15 JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16              JunͲ16 JulͲ16
                                                                                                                                   15                                                                                       16
                          SentencedtoStateJail      151    126     169    135    127    117    123    150     111     115      106     118    132    118    116     124    108    109    101    112     103     122     110      143       129




Prepared by the Office of Criminal Justice Coordination                                                                  08/05/2016                                                                                          Page 14 of 16
                                                                                                                  Harris County - Jail Population
                                                                                                                         July 2016 Report

                           DailyAverages
                                                                                                        2012                                                                               2013                                                                  2014
Date                                                                    AprͲ12 MayͲ12 JunͲ12    JulͲ12 AugͲ12 SepͲ12 OctͲ12 NovͲ12 DecͲ12        JanͲ13 FebͲ13 MarͲ13 AprͲ13 MayͲ13 JunͲ13       JulͲ13 AugͲ13 SepͲ13 OctͲ13 NovͲ13 DecͲ13       JanͲ14 FebͲ14 MarͲ14 AprͲ14 MayͲ14 JunͲ14
Pre-Trial Detainees (By Highest Charge)
DistrictCourtsͲOtherthanStateJailFelonies                         4232   4297    4283    4270     4234    4252    4181    4172    4182    4390    4426    4274    4264    4280    4382    4467    4401    4385    4328    4236    4244    4297    4295     4,246 4,310 4,365 4,452
DistrictCourtsͲStateJailFelonies                                     870    895     942     909      922     946     918     932     904     909     922     948     966    1,031   1,003    987     986    1001     977     972     964    1,019    991       973 1,023 1,082 1,094
CountyCourts                                                             559    543     573     575      568     582     551     523     542     577     537     520     544      595     556    590     574     577     546     519     509      554    503       516   530   469   464
OtherHarrisCoCourtdetainees(eg:JP,Family,Civil)                    74     56      63      63       81      84      89      80      73      76      87      96      83       83      79     76      76      82      88      86      73       69     62        60    57    61    59
Pre-Trial Detainees                                                      5735   5791    5861    5817     5805    5864    5739    5707    5701    5952    5972    5838    5857    5989    6020    6120    6037    6045    5939    5813    5790    5939    5851     5795 5920 5977 6069
                                                % of total in Custody    64%    64%     64%     65%      64%     65%     65%     65%     66%      67%    66%     66%     65%     65%     64%     65%     64%     63%     64%     65%     67%      69%    67%      68%     68%    68%    68%

Probationers (no pending charges):
DistrictCourts                                                           649    655     673     664      677     659     630     635     647     612     611     582     590     548     569     563     613     559     562     538     502      466    454      478    452    438    427
CountyCourts                                                              56     53      53      56       59      56      58      59      52      47      46      45      41      43      50      48      43      39      39      34      31       31     33       37     46     47     46
Probationers                                                              705    708     726     720      736     715     688     694     699     659     657     627     631     591     619     611     656     598     601     572     533      497    487      515    498    485    473
                                                % of total in Custody     8%     8%      8%      8%       8%      8%      8%      8%      8%      7%      7%      7%      7%      6%      7%      6%      7%      6%      6%      6%      6%       6%     6%       6%     6%     6%     5%

Post-Adjudication:
PrisonersServingCountyTime:PostͲAdjudication
SentencedinCountyCourts                                                598    627     616     603      648     634     623     606     556     560     597     551     523     574     602     560     576     579     512     483     432      419    435      388     428    436    456
SentencedinDistrictCourtsͲStateJailFelons12.44A                   361    380     365     342      367     378     385     371     353     349     392     436     501     558     577     512     503     501     418     336     282      273    299      296     317    310    316
SentencedinDistrictCourtsͲOther                                      316    327     347     329      315     306     343     338     315     295     302     319     325     313     329     341     339     347     345     322     283      249    256      258     263    320    265
SentencedinJPCourts                                                     14     15      15      15       17      17      15      13      12      17      18      19      16      20      18      19      22      22      18      14      13       15     19       18      19     15     17
PrisonersServingCountyTime:PostͲAdjudication                         1289   1349    1343    1289     1347    1335    1366    1328    1236    1221    1309    1325    1365    1465    1526    1432    1440    1449    1293    1155    1010      956   1009      960    1027   1081   1054
                                                % of total in Custody    14%    15%     15%     14%      15%     15%     15%     15%     14%     14%     14%     15%     15%     16%     16%     15%     15%     15%     14%     13%     12%      11%    12%      11%     12%    12%    12%

PrisonersaxaitingTransport:PostAjudication
SentencedtoTDC                                                          435    462     447     439      438     435     418     379     384     370     409     410     408     440     469     496     507     563     635     616     623      520    581      543    535    526    500
SentencedtoStateJail                                                   134    122     145     143      129     132     136     121     119     128     134     140     143     134     121     100     113     121     119     140     120      134    148      125    136    127    157
Appeals                                                                   169    168     158     158      154     149     136     121     123     118     123     132     134     144     142     136     133     139     139     142     141      130    135      140    141    156    151
PrisonersAwaitingTransport:PostAjudication                            738    752     750     740      721     716     690     621     626     616     666     682     685     718     732     732     753     823     893     898     884      784    864      808    812    809    808
                                                % of total in Custody     8%     8%      8%      8%       8%      8%      8%      7%      7%       7%     7%      8%      8%      8%      8%      8%      8%      9%     10%     10%     10%       9%    10%       9%      9%     9%     9%

Others:
BOPP                                                                      328    330     318     281      274     261     241     249     237     258     281     275     277     291     295     343     369     457     373     309     292      290    276      260    276    277    294
Witnesses                                                                  33     34      34      33       33      38      34      33      32      28      36      30      25      29      27      30      33      40      53      54      49       43     44       50     49     52     53
NonͲHarrisCountyPrisoners                                                52     51      56      46       55      53      63      50      50      41      62      48      55      54      60      53      52      56      56      47      42       50     54       55     56     56     57
NotGuiltybyReasonofInsanity(NGRI)
Others                                                                    413    415     408     360      362     352     338     332     319     327     379     353     357     374     382     426     454     553     482     410     383      383    374      365    381    385    404
                                                % of total in Custody     5%     5%      4%      4%       4%      4%      4%      4%      4%      4%      4%      4%      4%      4%      4%      5%      5%      6%      5%      5%      4%       4%     4%       4%     4%     4%     5%

Received, Uncategorized in JIMS                                            35      47      40      51       62      58      68      62      52      57      77      75      49      36      65      85      64      95     133     101      60      69      98      104     89    80     76
                                                % of total in Custody   0.4%    0.5%    0.4%    0.6%     0.7%    0.6%    0.8%    0.7%    0.6%    0.6%    0.8%    0.8%    0.5%    0.4%    0.7%    0.9%    0.7%    1.0%    1.4%    1.1%    0.7%    0.8%    1.1%     1.2%     1%     1%     1%

Total in Harris County Sheriff's Custody                                8915    9062    9128    8977    9033     9040    8889    8744    8633    8832    9060    8900    8944    9173    9344    9406    9404    9563    9341    8949    8660    8628    8683    8547 8,727 8,817 8,884
     1
    AverageinInmateProcessingCenter(IPC)(RCVCount)                  219     263     245     249     260      269     268     248     233     256     303     288     277     292     280     272     276     301     317     291     243     270     286     304   313   292   319
Total Housed by HCSO                                                     8696    8799    8883    8728    8773     8771    8621    8496    8400    8576    8757    8612    8667    8881    9064    9134    9128    9262    9024    8658    8417    8358    8397    8243 8,414 8,525 8,565
                                           Total Outsourced
Total Housed in Harris County Jail Facilities                            8696   8799    8883    8728     8773    8771    8621    8496    8400    8576    8757    8612    8667    8881    9064    9134    9128    9262    9024    8658    8417    8358    8397     8243    8414   8525   8565
                                                                                                                                                                                                                                                                                               Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 77 of 128




Harris County Jail Capacity                                              9434   9434    9434    9434     9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434    9434     9434    9434   9434   9434
Total Awaiting Transfer to TDCJ-ID (Paper-Ready)                          283    322     289     287      304     317     318     285     242     265     295     297     291     297     328     398     432     497     654     634     627     516     579      535     448    527    490
                                  % of total in Custody                   3%     4%      3%      3%       3%      4%      4%      3%      3%      3%      3%      3%      3%      3%      4%      4%      5%      5%      7%      7%      7%      6%      7%       6%      5%     6%     6%

1IPCIncludesthoseinintakeandreceiving.



                   Prepared by the Office of Criminal Justice Coordination                                                                     08/05/2016                                                                                                        Page 15 of 16
                                                                                                                 Harris County - Jail Population
                                                                                                                        July 2016 Report

                           DailyAverages
                                                                                        2014                                                                               2015                                                                      2016                           JulͲ15    JulͲ16
Date                                                                    JulͲ14 AugͲ14 SepͲ14 OctͲ14 NovͲ14 DecͲ14 JanͲ15 FebͲ15 MarͲ15 AprͲ15 MayͲ15 JunͲ15                          JulͲ15 AugͲ15 SepͲ15 OctͲ15 NovͲ15 DecͲ15 JanͲ16 FebͲ16 MarͲ16 AprͲ16 MayͲ16 JunͲ16   JulͲ16     %           #
Pre-Trial Detainees (By Highest Charge)
DistrictCourtsͲOtherthanStateJailFelonies                        4,486   4,515   4,543   4,549   4,565   4,584   4,689   4652   4582       4731       4753        4879        4946    4925   4930   4885   4885   4941   5078   5086   5108    5046   5166   5213    5257             311
DistrictCourtsͲStateJailFelonies                                   1,042   1,022   1,057   1,059   1,087   1,055   1,112   1187   1286       1377       1410        1492        1485    1425   1329   1233   1181   1153   1094   1142   1134    1365   1426   1396    1361             (124)
CountyCourts                                                             473     458     445     464     452     412     438    418    422        483        453         461         505     497    512    503    482    493    498    513    545     546    527    508     486             (19)
OtherHarrisCoCourtdetainees(eg:JP,Family,Civil)                    55      57      64      64      54      47      45     52     52         45         52          51          53      56     56     59     55     49     48     53     54      60     49     46      41             (12)
Pre-Trial Detainees                                                     6056    6052    6109    6136    6158    6098    6284    6309   6342       6636       6668        6883        6989    6903   6827   6680   6603   6636   6718   6794   6841    7017   7168   7163    7145     2%      156
                                                % of total in Custody   69%     70%      70%    70%     71%     72%     74%     72%    73%        75%        74%         75%         75%     76%    76%    75%    76%    77%    78%    78%    77%     77%    76%    75%     76%              0
                                                                                                                                                                              
Probationers (no pending charges):                                                                                                                                            
DistrictCourts                                                          416     403     354     332     298     287     286    318    308        304         336         354         332     324    341    423    446    343    289    316    391    389     359    351     403             71
CountyCourts                                                             40      40      33      22      26      21      30     29     24         26          23          23          23      22     25     21     19     20     22     24     25     23      27     25      24             1
Probationers                                                             456     443     387     354     324     308     316    347    332        330         359         377         355     346    366    444    465    363    311    340    416    412     386    376     427    20%      72
                                                % of total in Custody    5%      5%      4%      4%      4%      4%      4%     4%     4%         4%          4%          4%          4%      4%     4%     5%     5%     4%     4%     4%     5%     4%      4%     4%      5%
                                                                                                                                                                              
Post-Adjudication:                                                                                                                                                            
PrisonersServingCountyTime:PostͲAdjudication                                                                                                                              
SentencedinCountyCourts                                               454     430      415    442     431     363     332     382   363        375         361         352         348     315    336    341    303    294    297    319    339    320     337    309     293             (55)
SentencedinDistrictCourtsͲStateJailFelons12.44A                  292     304      310    333     319     284     248     226   172        179         199         175         163     146    138    137    120    108     91     86    109    165     166    189     157             (6)
SentencedinDistrictCourtsͲOther                                     273     279      278    289     278     249     236     231   234        221         222         231         239     236    242    250    250    235    231    251    272    224     237    245     240             1
SentencedinJPCourts                                                    15      15       13     14      13      11      12      14    13          9          13          15          16      18     18     23     20     17     21     17     19     17      15     16      12             (4)
PrisonersServingCountyTime:PostͲAdjudication                        1034    1028     1016   1078    1041     907     828     853   782        784         795         773         766     715    734    751    693    654    640    673    739    726     755    759     702     Ͳ8%     (64)
                                                % of total in Custody   12%     12%      12%    12%     12%     11%     10%     10%    9%         9%          9%          8%          8%      8%     8%     8%     8%     8%     7%     8%     8%     8%      8%     8%      7%
                                                                                                                                                                              
PrisonersaxaitingTransport:PostAjudication                                                                                                                                
SentencedtoTDC                                                         470     444     479     510     501     488     420    453    455        422         494         461         496     457    427    420    401    346    289    365    384    430     437    526     472             (24)
SentencedtoStateJail                                                  151     126     169     135     127     117     123    150    111        115         106         118         132     118    116    124    108    109    101    112    103    122     110    143     129             (3)
Appeals                                                                  147     138     141     151     147     146     146    141    145        136         149         140         139     131    111     88     90     97     82     92     99     94      94     88      83             (56)
PrisonersAwaitingTransport:PostAjudication                           768     708     789     796     775     751     689    744    711        673         749         719         767     706    654    632    599    552    472    569    586    646     641    757     684    Ͳ11%     (83)
                                                % of total in Custody    9%      8%       9%     9%      9%      9%      8%      9%     8%         8%         8%          8%          8%      8%     7%     7%     7%     7%     6%     7%     7%      7%     7%     8%      7%
                                                                                                                                                                              
Others:                                                                                                                                                                       
BOPP                                                                     286     263     280     264     236     183     196    251    265        205         199         250         271     265    297    305    261    274    282    278    264    265     327    340     311             40
Witnesses                                                                 37      61      52      44      43      44      42     38     32         33          48          47          35      34     35     39     46     41     39     39     34     35      41     37      39             4
NonͲHarrisCountyPrisoners                                               61      55      55      46      47      53      44     50     52         54          59          59          56      58     28     17     14     10     29     41     42     53      52     57      44             (6)
NotGuiltybyReasonofInsanity(NGRI)                                                                                                                                                                                                                 3       7      6       5             5
Others                                                                   384     379     387     354     326     280     282    339    349        292         306         356         362     357    360    361    321    325    350    358    340    356     427    440     399    10%      37
                                                % of total in Custody    4%      4%      4%      4%      4%      3%      3%     4%     4%         3%          3%          4%          4%      4%     4%     4%     4%     4%     4%     4%     4%     4%      5%     5%      4%
                                                                                                                                                                              
Received, Uncategorized in JIMS                                           48      43      53      62      75      95     122    139    125          87        123         108         100      90     94     92     58    100     81     4       0      0      0 1EͲ04 4   Ͳ96%     (96)
                                                % of total in Custody     1%      0%      1%      1%      1%      1%      1%    2%     1%          1%         1%          1%          1%      1%     1%     1%     1%     0%     1%     0%      0%     0%     0%   0%        0%
                                                                                                                                             
Total in Harris County Sheriff's Custody                                8,746 8,653 8,741 8,780 8,699 8,439 8,521 8,731 8,641 8,801 9,000 9,216 9,339 9,117 9,035 8,960 8,739 8,630 8,572 8,738 8,922 9,157 9,377 9,495 9,361                                                        0%      22
     1
    AverageinInmateProcessingCenter(IPC)(RCVCount)                  307   304   317   304   250   258   316   379   358   378   352   392   389   387   397   368   299   322   337   248   343   387      372     386     302                                                Ͳ22%     (87)
Total Housed by HCSO                                                    8,439 8,349 8,437 8,476 8,449 8,181 8,205 8,352 8,283 8,423 8,648 8,824 8,950 8,730 8,638 8,592 8,440 8,308 8,235 8,490 8,579 8,770 9,005 9,109 9,059                                                        1%      109
                                           Total Outsourced                                                                                   7   154    19                                                 217 232 230
Total Housed in Harris County Jail Facilities                            8439 8349 8437 8476 8449 8181 8205 8352 8283 8423 8648 8817 8796 8711 8638 8592 8440 8308 8235 8490 8579 8770 8788 8877 8829
                                                                                                                                                                                                                                                                                                             Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 78 of 128




Harris County Jail Capacity                                             9434    9434     9434   9434    9434    9434    9434    9434   9434       9434       9434       9434       9434   9434   9434   9434   9434   9434   9434   9434   9434   9434   9434   9434    9434
Total Awaiting Transfer to TDCJ-ID (Paper-Ready)                         469     431      467    506     506     486     418     446    474        394        487         465         515     466    424    417    423    340    252    308    362    370     411    499     424    Ͳ18%     (91)
                                  % of total in Custody                  5%      5%       5%     6%      6%      6%      5%      5%     5%         4%          5%          5%          6%     5%     5%     5%     5%     4%     3%     4%     4%      4%     4%     5%      5%

1IPCIncludesthoseinintakeandreceiving.



                 Prepared by the Office of Criminal Justice Coordination                                                                      08/05/2016                                                                                                             Page 16 of 16
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 79 of 128

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                           )
MARANDA LYNN ODONNELL,                     )
LOETHA MCGRUDER,                           )
ROBERT RYAN FORD                           )
      On behalf of herselfthemselves and all       )
      others )
      similarly situated,                  )
                                           )
              Plaintiffs,                  )
                                           )
v.                                         )
                                           )           Case No. 16-cv-01414
HARRIS COUNTY, TEXAS,                      )           (Consolidated Class Action)
                                           )           The Honorable Lee H. Rosenthal
SHERIFF RON HICKMAN,                       )           U.S. District Judge
                                           )           Expedited Hearing Requested
ERIC STEWART HAGSTETTE,                    )
JOSEPH LICATA III,                         )
RONALD NICHOLAS,                           )
BLANCA ESTELA VILLAGOMEZ,                  )
JILL WALLACE,                              )
                                           )
                                           )
PAULA GOODHART,                            )
BILL HARMON,                               )
NATALIE C. FLEMING,                        )
JOHN CLINTON,                              )
MARGARET HARRIS,                           )
LARRY STANDLEY,                            )
PAM DERBYSHIRE,                            )
JAY KARAHAN,                               )
ANALIA WILKERSON,                          )
DAN SPJUT,                                 )
DIANE BULL,                                )
ROBIN BROWN,                               )
DON SMYTH,                                 )
MIKE FIELDS,                               )
JEAN HUGHES,                               )
LINDA GARCIA                               )
                                           )
              Defendants.                  )
____________________________________)



                                               1
       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 80 of 128

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                                     FIRST AMENDED CLASS ACTION COMPLAINT

                                                           Introduction

             This case is about Harris County jailing some of its poorest people because they cannot

afford to make a monetary payment. Named Plaintiff Maranda Lynn ODonnell is currently being

held in the Harris County jail because she cannot pay a $2,500 money bail after being arrested for

Driving While License Invalid. The Named Plaintiff’s money bail was imposed pursuant to Harris

County’s predetermined money bail schedule and without any inquiry into or findings concerning

her ability to pay. Because she is impoverished and cannot afford the payment required by the

County for her release, she will be kept in a Harris County jail cell.1

             In Harris County, wealthier arrestees are released from custody almost immediately upon

payment of money to the County. Arrestees who are too poor to purchase their release remain in

jail because of their poverty. On any given night, over 500 people arrested for misdemeanors

languish in the Harris County Jail because of a money bail that they cannot afford. Between 2009

and 2015, 55 human beings died in the Harris County Jail awaiting trial after being unable to pay

the amount of money demanded by the County for their release.

             On behalf of the many other arrestees subjected to Harris County’s unlawful and ongoing

post-arrest wealth-based detention scheme, Plaintiff challengesPlaintiffs challenge in this action

the use of secured money bail to detain only the most impoverished of misdemeanor arrestees.


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1
  At the time of filing related case 16-cv-01436 (now administratively closed and consolidated with 16-cv-01414),
Named Plaintiffs Loetha Shanta McGruder, a 22-year-old pregnant mother of two, and Robert Ryan Ford, 26 years
old, were in jail because they could not pay a $5,000 money bail after each was arrested for a misdemeanor offense.
Like Ms. ODonnell, their money bail amounts were imposed pursuant to Harris County’s predetermined money bail
schedule and without any inquiry into or findings concerning their ability to pay. Because they are impoverished and
cannot afford the payment required by the County for their release, they were kept in a Harris County jail cell and
were in jail when their case, 16-cv-01436, was filed.



                                                                2
       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 81 of 128



Harris County’s wealth-based pretrial detention system violates the Equal Protection and Due

Process Clauses of the United States Constitution. It has no place in modern American law.

             By and through hertheir attorneys and on behalf of herselfthemselves and all others

similarly situated, Plaintiff seeksPlaintiffs seek injunctive relief to enjoin the County’s wealth-

based post-arrest detention procedures and a declaration that Defendants cannot detain any person

pursuant toemploy a system of wealth-based detention by imposing and enforcing secured money

bailfinancial conditions of pre-trial release without an inquiry into and findings concerning the

person’sarrestee’s present ability to pay.

                                                           Nature of the Action2

             1.           It is the policy and practice of Harris CountyDefendants to refuse to release

misdemeanor arrestees from custody unless they pay a monetary sum. The amount of money

required is determined by a generic offense-based bail schedule, and it is the policy and practice

of Harris County officials to detain arrestees in jail pursuant toimpose the scheduled amount

without considering the person’s ability to pay. Plaintiff seeks, a practice that results in the

systemic wealth-based detention of those arrestees who are too poor to pay their money bail.

Plaintiffs seek declaratory and injunctive relief prohibiting Defendants’ wealth-based post-arrest

detention scheme.

                                                           Jurisdiction and Venue

             2.            This is a civil rights action arising under 42 U.S.C. § 1983 and 28 U.S.C. § 2201,

et seq., and the Fourteenth Amendment to the United States Constitution. This Court has

jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.



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2
 Plaintiff makesPlaintiffs make the allegations in this Complaint based on personal knowledge as to matters in which
she hasthey have had personal involvement and on information and belief as to all other matters.



                                                                     3
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 82 of 128

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       3.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391.

                                                     Parties

       4.     Maranda Lynn ODonnell is a 22-year-old mother of a 4-year-old daughter. She

represents herself as an individual and a Class of similarly situated people subjected to Defendants’

wealth-based post-arrest detention scheme.

       5.     Loetha Shanta McGruder is a 22-year-old woman who is the mother of a 4-year-

old son and a 9-month-old son. She is seven weeks pregnant. She represents herself as an

individual and a Class of similarly situated people subjected to Defendants’ wealth-based post-

arrest detention scheme.

       6.     Robert Ryan Ford is a 26-year-old man. He represents himself as an individual and

a Class of similarly situated people subjected to Defendants’ wealth-based post-arrest detention

scheme.

       7.     Defendant Harris County is a municipal corporation organized under the laws of

the State of Texas. The Harris County Sheriff’s Department is a division of Harris County and

operates the Harris County Jail and several other detention facilities.

       8.     The Sheriff’s Office is itself responsible for 27 percent of arrests within Harris

County. The Sheriff’s Department also transports arrestees from field stations run by various other

authorities with arresting power to the Harris County Jail, which houses all inmates to be held

pending prosecution within the Harris County courts.           The Sheriff’s Department detains

inmatesarrestees at the Harris County Jail or one of theseand several other facilities after their

arrest. The officers and employees of the Sheriff’s Department are authorized by County policy

to accept money bail as determined by the schedule, release an arrestee, and set a time for an

arrestee’s appearance in court.




                                                 4
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 83 of 128

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       9.     After arrest, Sheriff’s Department employees and agents bring arrestees held on

money bail to a room inside the jail for probable cause hearings and bail setting. Sheriff’s

Department employees and agents supervise, monitor, and give instructions to the arrestees during

the hearing. The Sheriff therefore has knowledge that secured financial conditions of release are

imposed without any inquiry into or findings concerning a person’s ability to pay the amount set.

       10.    The Sheriff is aware of who is in the jail that the Sheriff runs and the basis for each

inmate’s detention, including whether any inmate is subject to any detainers or otherwise ineligible

for pretrial release, and the amount of money bail any inmate is required to pay for immediate

release. The Sheriff therefore has knowledge that the imposition of secured money bail results in

systemic, wealth-based detention, and that there are hundreds of people in his jail every night,

charged only with misdemeanors, who would be released but for their inability to pay a money

bail amount imposed pursuant to the bail schedule used by Harris County.

       )"11. The Sheriff’s Department, by policy and practice, detains arrestees too poor to

afford theirthe money bail amount imposed without inquiry into and findings concerning ability to

pay and releases arrestees who pay their money bail.

       *"12. The Sheriff’s Department is run by the Harris County Sheriff, Defendant Ron

Hickman. The Sheriff is the final policymaker for all law enforcement decisions in Harris County.

He is sued in his individual and official capacitycapacities.

       +"13. Eric Stewart Hagstette, Joseph Licata III, Ronald Nicholas, Blanca Estela

Villagomez, and Jill Wallace are all Harris County Criminal Law Hearing Officers. They are

County employees, who are appointed and are charged with making can be terminated by a two-

thirds vote of a Harris County board composed of three judges of the District Courts of Harris




                                                 5
       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 84 of 128

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County, three judges of the County Criminal Courts at Law, and three justices of the peace.3 They

make probable cause determinations and settingset bail for arrestees pursuant to the County’s

money bail schedule. The hearing officersHearing Officers do not conduct any inquiry into or

make any findings concerning a person’s ability to pay money bail. before imposing secured

financial conditions of release, which results in the detention of only those individuals who are too

poor to pay the money bail amount set. They are sued in their individual and official capacities

for declaratory relief only.4

             14.          Paula Goodhart, Bill Harmon, Natalie C. Fleming, John Clinton, Margaret Harris,

Larry Standley, Pam Derbyshire, Jay Karahan, Analia Wilkerson, Dan Spjut, Diane Bull, Robin

Brown, Don Smyth, Mike Fields, Jean Hughes, and Linda Garcia are the 16 Harris County

Criminal Courts at Law Judges.

             15.          Sitting en banc, they promulgate Harris County’s post-arrest procedures, including

the generally applicable Harris County Bail Schedule applied systemically to all misdemeanor

arrestees.

             16.          Each judge knows that, pursuant to the bail schedule, the Sheriff’s Department

imposes and enforces secured financial conditions of release on every individual the Sheriff’s

Department arrests or accepts into custody, without an inquiry into or findings concerning an

arrestee’s present ability to pay the predetermined amount set.




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    Tex. Code Ann. § 54.852.
4
 Because declaratory relief is unavailable on an emergency, preliminary basis, and because Plaintiffs are suffering
ongoing irreparable harm, Plaintiffs are simultaneously seeking a preliminary injunction against the Hearing Officers,
even though the final judgment Plaintiffs seek is a declaration that the Hearing Officers’ conduct is unconstitutional.



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 85 of 128

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        17.      Each judge is aware of the Hearing Officers’ systemic custom of setting secured

financial conditions of release based on the bail schedule without any inquiry into or findings

concerning an arrestee’s present ability to pay the amount set.

        18.      Each judge has knowledge that hundreds of individuals charged with misdemeanors

are detained in Harris County every day solely because they are too poor to pay the money bail

amounts imposed pursuant to the predetermined bail schedule that they promulgated. Each judge

is further aware that Hearing Officers refuse to consider ability to pay during the initial

magistration hearings, which are recorded on video and audio and kept by the County and the

clerk’s office.

        19.      Each judge provides blanket generic instructions to the Hearing Officers about how

to set bail and when to approve release on personal bonds for individuals assigned to that judge’s

court. Hearing Officers are required to follow each judge’s instructions about whether and when

to release arrestees without secured financial conditions. Each judge has acquiesced in the Hearing

Officers’ open and notorious custom of failing and refusing to consider ability to pay.

        20.      The County Courts at Law Judges are sued in their individual and official capacities

for injunctive and declaratory relief.

                                         Factual Background

        A.       The Named PlaintiffPlaintiffs Will Be Held in Jail Because She IsThey Are
                  Unable To Pay the Money Bail Demanded for HerTheir Release

        ,"21. Maranda Lynn ODonnell is a 22-year-old woman.

        -"22. Ms. ODonnell was arrested on May 18, 2016 and taken into the custody of Harris

County for allegedly driving while her license was invalid. She was informed that, because of the

Harris County bail schedule, she would be released immediately, but only if she paid a money bail




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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 86 of 128

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of $2,500. She was told that she will be detained by Harris County if she does not pay. See Exhibit

1, Declaration of Maranda Lynn ODonnell.

       %$"23. Ms. ODonnell appeared by video from the jail at a probable cause hearing, and a

hearing officerHearing Officer found probable cause for her arrest. She was told by Harris County

Sheriff’s Deputies not to speak at the hearing. The hearing lasted approximatelyless than 60

seconds and, pursuant to the policies and practices described in this Complaint, no inquiry was

made into her present ability to pay. The predetermined money bail amount required by the Harris

County bail schedule was confirmed to be $2,500.

       %%"24. Ms. ODonnell is the mother of a 4-year-old child. She and her child struggle to

meet the basic necessities of life. She receives benefits from the federal government’s Women,

Infants, and Children (WIC) program to help meet the nutritional needs of her daughter. Because

she cannot afford shelter, she stays with a friend. She recently obtained a job at a restaurant within

the past few weeks, but she is worried that her current jailing will cause her to lose her job.

       25.    Loetha Shanta McGruder is a 22-year-old woman.

       26.    Ms. McGruder was arrested on May 19, 2016, for a misdemeanor offense and taken

into the custody of Harris County. She was informed that she would be released immediately, but

only if she paid a money bail of $5,000. She was told that she will be detained by Harris County

if she does not pay. See Exhibit 2, Declaration of Loetha Shanta McGruder.

       27.    Ms. McGruder appeared by video from the jail at a probable cause hearing, and a

Hearing Officer found probable cause for her arrest. The hearing last one minute and 20 seconds,

and pursuant to the policies and practices described in this Complaint, no inquiry was made into

her ability to pay. The predetermined money bail amount required by the Harris County bail

schedule was confirmed to be $5,000.




                                                  8
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 87 of 128

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           28.   Ms. McGruder is the mother of two young children. She and her children struggle

to meet the basic necessities of life. She receives benefits from the federal government’s social

security program to help meet the needs of her older son, who has Downs Syndrome and other

medical needs. She also supports her children using child support payments. She is not currently

working, and lives with her boyfriend. She helps with household expenses when she has a job and

is able.

           29.   Robert Ryan Ford is a 26-year-old man.

           30.   He was arrested on May 18, 2016, for a misdemeanor offense and taken into the

custody of Harris County. See Exhibit 3, Declaration of Robert Ryan Ford.

           31.   Mr. Ford appeared by video from the jail at a probable cause hearing, and a Hearing

Officer found probable cause for his arrest. The hearing lasted 60 seconds, and pursuant to the

policies and practices described in this Complaint, no inquiry was made into his ability to pay.

The predetermined money bail amount required by the Harris County bail schedule was confirmed

to be $5,000.

           32.   Mr. Ford struggles to meet the basic necessities of life. He is not working and lives

with his girlfriend’s parents. He helps with household responsibilities to compensate her family

for giving him a place to live.

           B.     Defendants’ Wealth-Based Detention System Detains Arrestees Who Cannot
                  Pay Their Money Bail Amount While Releasing Those Who Can Pay

                  i. Arrest and the Initial Money Bail-Setting Process

           %&"33. Harris County uses a predetermined money bail schedule, promulgated through

administrative order by the Harris County Criminal CourtCourts at Law Judges, to determine

money bail for everyone who is arrested for a Class A or B misdemeanor in Harris County. Ex.

2.See Exhibit 4, Harris County Bail Schedule. The bail schedule is the exclusive means of setting



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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 88 of 128

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bail “unless otherwise directed by the Judges of the Harris County Criminal Courts at Law.” Id.

(“The initial bail amount shall be determined by application of the bail schedule.”).5

             34.          Harris County itself made 27.9 percent of misdemeanor arrests within the County

in 2015. There are roughly 100 additional agencies within Harris County that have the authority

to make arrests. For example, the City of Houston Police Department made 45.9 percent of arrests

in 2015.6

             35.          When a person is arrested within Harris County, she will be taken to a “field station”

run by the arresting authority. If she is arrested by Harris County, she will be taken either to a

field station or directly to the jail. These field stations vary in size and their capacity to hold and

process arrestees. Some include holding cells. In others, arrestees are made to sit shackled to a

bench while initial post-arrest procedures are conducted.

             36.          Once at a field station, if the person was arrested without a warrant, the arresting

officer callswill determine whether the Harris County District Attorney’s Office wishes to pursue

the charge by calling a hotline that is staffed 24 hours a day, 7 days a week by Harris County’s

assistant district attorneys. The arresting officer describes the allegations to the assistant district

attorney on duty, who makes a charging decision over the phone.

             37.          If the assistant district attorney on hotline duty does not wish to pursue charges, she

tells the officer to release the individual.

             %'"38. If the district attorney decides to pursue the charges, she instructs the arresting

officer to impose money bail is imposed pursuant to the bail schedule. See Ex. 14 (“The district

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 Texas law gives Harris County the authority to cite and release a person being charged with certain misdemeanor
offenses. Tex. C.C.P. Art. 14.06(b)–(d). However, County officials have decided instead as a matter of policy to rely
on the Harris County bail schedule for all individuals charged with any misdemeanor. As a matter of policy, Harris
County has rejected the cite-and-release option.
6
     Harris      County     Pretrial  Services,   2015    Annual        Report   (2015)    at   8,    available    at
https://pretrial.harriscountytx.gov/Pages/Annual-Reports.aspx.



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 89 of 128

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attorney shall affix an initial bail amount at the time a complaint is filed in a county criminal court

at law.”). At no point does any person perform any inquiry into the arrestee’s ability to pay the

money bail amount written on the schedule.

       39.    IfFrom the assistant district attorney does not wish to pursue charges, she tells the

officer to moment a secured bail amount is imposed, all misdemeanor arrestees are eligible for

release if they can pay the money bail amount listed in the individual. Ifpredetermined schedule,

unless they are subject to certain holds (e.g., immigration or probation).

       40.    The ADA setting bail, the district attorney decides to pursue chargesagencies

processing individuals for release from field stations, and the Harris County Sheriff’s Department

all have access to information about whether any given arrestee can pay the bail is subject to any

of a variety of non-monetary holds. These entities therefore know whether a financial condition

of release is the only reason a person is being detained.

       41.    Arrestees free from other non-monetary holds can post bail themselves, make a

phone call to ask a friend or family member to post bail on their behalf, or contact a bonding agent

to assist in posting bail. A person who can afford to pay will be released from the field station,

and will never be transported to the Harris County Jail.

       %("42. The imposition of money bail is the moment of differential treatment: a person with

financial resources will be released almost immediately, the arrestee is released without ever being

booked into the jail. If the district attorney decides to pursue charges after bail is imposed, but

Defendants will continue to require the arresteedetention of a person who cannot pay the money

bail, the County will book the arrestee into the jailafford to pay her bail. This policy and practice

results in systemic and automatic wealth-based detention in Harris County.




                                                  11
       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 90 of 128

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             %)"43. Individuals who are arrested pursuant to warrants are also subjected to the money

bail schedule. In these cases, the district attorney again makes a charging decision on the basis of

allegations by a police officer or another complainant and imposes a money bail amount according

to the bail schedule. The money bail amount is written on the warrant. A judicial officerA Hearing

Officer or County Court at Law Judge makes a finding of probable cause based on the allegations

in the warrant and then signs the warrant. As a matter of policy, the judicial officerHearing Officer

or Judge imposes the monetary bail required by the schedule.

             %*"44. WhenWhether a person is arrested for a misdemeanor, pursuant to a warrant or

pursuant to a warrantless arrest, that person can pay the secured money bail amount

determinedpredetermined by the schedule and be released immediately, from the field station,7

prior to formal booking.8 Those who know about active warrants for their arrest can avoid even




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 Individuals arrested by Harris County officers are generally taken directly to the Harris County Jail. However, as
noted, Harris County itself is only one of roughly 100 agencies with arresting authority in the County.
8
  The vast majority of arrestees use a bail bond agent to secure their release from jail. Typically, if accepted by a for-
profit bail agent, an arrestee will have to pay the for-profit agent a non-refundable fee of 10 percent of the value of the
bond to be released, though the industry standard for low money bail amounts in Harris County exceeds 10 percent.
In 2012, the for-profit bail bond industry in Harris County collected at least $34.4 million dollars in fees. See Gerald
R. Wheeler & Gerald Fry, Project Orange Jumpsuit Report #2, Harris County’s Two-Tier Justice System: Longitudinal
Study of Effects of Harris County Felony and Misdemeanor Defendants’ Legal & Extralegal Attributes on Pretrial
Status        and        Case        Outcome         (Apr.        23,       2014)       at      4,       available       at
http://www.pretrial.org/download/research/Harris%20County's%20Two-
tier%20Justice%20System%20(Project%20Orange%20Jumpsuit)%20-%20Wheeler%20and%20Fry%202014.pdf
[Wheeler & Fry, Report #2]; Michael Barajas, Will Lawmakers Reform the System That Keeps Poor, Legally Innocent
People in Lockup? (Sept. 25, 2015), available at http://www.houstonpress.com/news/will-lawmakers-reform-the-
system-that-keeps-poor-legally-innocent-people-in-lockup-7788583 (quoting bondsman saying that “being poor
raises a red flag”).




                                                           12
       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 91 of 128

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being arrested if they pay a “non-arrest” bond, see infra ¶ 123 & n.45.9 If the individual is unable

to pay, she will be transported to and booked into the jail.10

             45.          The time it takes for an arrestee to be transported to the Harris County Jail varies

depending on a variety of factors, including where the person was arrested.

             46.          Harris County is a large county, and individuals arrested within its borders can be

taken initially to field stations as geographically close to the Harris County Jail as the Houston

Police Stations located a little over a mile from the jail, or as far away as, for example, the City of

Lakeview, which is more than 30 miles away.

             47.          Recently, many people arrested for misdemeanors have been held on money bail

imposed pursuant to the predetermined bail schedule for as long as two or three days or more

before being transferred to the Harris County Jail for a videolink probable cause hearing.11




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  The vast majority of arrestees use a bail bond agent to secure their release from jail. Typically, if accepted by a for-
profit bail agent, an arrestee will have to pay the for-profit agent a non-refundable fee of 10 percent of the value of the
bond to be released, though the industry standard for low money bail amounts in Harris County exceeds 10 percent.
In 2012, the for-profit bail bond industry in Harris County collected at least $34.4 million dollars in fees. See Gerald
R. Wheeler & Gerald Fry, Project Orange Jumpsuit Report #2, Harris County’s Two-Tier Justice System: Longitudinal
Study of Effects of Harris County Felony and Misdemeanor Defendants’ Legal & Extralegal Attributes on Pretrial
Status        and        Case        Outcome         (Apr.        23,       2014)       at      4,       available       at
http://www.pretrial.org/download/research/Harris%20County's%20Two-
tier%20Justice%20System%20(Project%20Orange%20Jumpsuit)%20-%20Wheeler%20and%20Fry%202014.pdf
[Wheeler & Fry, Report #2]; Michael Barajas, Will Lawmakers Reform the System That Keeps Poor, Legally Innocent
People in Lockup? (Sept. 25, 2015), available at http://www.houstonpress.com/news/will-lawmakers-reform-the-
system-that-keeps-poor-legally-innocent-people-in-lockup-7788583 (quoting a bondsman saying that “being poor
raises a red flag”).
10
     Wheeler & Fry, Report #2, supra note 38, at 1.
11
   For example, according to the case records on the Harris County District Clerk’s website and the Houston Police
Department’s website, as of about 7:30 a.m. EST on August 30, 2016, the following individuals were among those
individuals being detained on money bail and awaiting transfer to the jail for a probable cause hearing for at least two
or three days after arrest: Julio Ruiz, arrested on August 28 for possession of marijuana under two ounces and held on
a $500 bail; Blanchard B. Stewart, arrested on August 25 for possession of marijuana under two ounces and held on
a $5,000 bail; Michael Ray Mata, arrested on August 28 for interfering with the duties of a public servant and held on
a $4,500 bail; and Oscar Balarbo, arrested on August 28 for trespass and held on a $5,000 bail. According to Harris
County’s website, these individuals had no non-monetary holds and were in custody solely because they had not paid
their money bail. None had seen a Hearing Officer.



                                                            13
        Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 92 of 128

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          48.   Sometime after arrest, an arrestee’s case documents become publicly available on

the District Court Clerk’s website. Once the arrestee is in Harris County custody, the arrestee’s

online case records will indicate that fact. The arrestee’s specific location will be listed as “in

processing” at 1201 Commerce Street.

          49.   While the individual is in processing, she is completely unavailable for an attorney

(or other) visit and cannot be contacted. Jail officials state that individuals who are in processing

are actually located in the basement of one of four jail buildings, and the only way to find a specific

person is for a guard to walk through the cell blocks and call the person’s name.

          50.   However, jail officials also state that if a person who is in processing is able to pay

the scheduled money bail, she will be found and released. Thus, during this period of time, poor

arrestees are held incommunicado, but an individual who has money can purchase her release from

jail.

          51.   Sometime after a person arrives at the Jail — and usually before she is assigned to

a housing unit — she will be taken by Sheriff’s Department employees to a room in the jail with

several dozen other new arrestees to appear before a Hearing Officer, who will determine probable

cause. This appearance takes place by videolink. It usually takes between 8 and 24 hours for a

person arrested in Harris County to be given a probable cause hearing, but hundreds of people

every month must wait several days as a matter of practice.

          %+"52. These policies have consistently, for years, resulted in the needless and devastating

jailing of impoverished people accused of misdemeanor offenses.              In 2012, 81 percent of

misdemeanor arrestees were booked into the jail because they were unable to immediately pay for




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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 93 of 128



their release.12 Other arrestees with financial means were able to pay their predetermined money

bail and avoid the booking process altogether. In 2014, 40 percent of misdemeanor arrestees were

still sitting in jail cells at the time their case was resolved.

             53.          In 2014 and 2015, about 40 percent of misdemeanor arrestees were still sitting in

jail cells at the time their misdemeanor case concluded because of their inability to afford the

secured financial condition set for their release.13

                           ii. Probable Cause Hearings and Approval of Bail According to the Bail
                                Schedule

             %,"54. The Harris County Sheriff’s Department, through its jail personnel, assembles

groups of roughly 20 to 45 people, many of them charged with minor misdemeanors, throughout

the day, every day.14

             55.          Sheriff’s Department employees and agents routinely tell arrestees not to say

anything during these hearings.

             %-"56. Generally within 24 hours of arrest, these groups of recent arrestees, dressed in

orange jumpsuits or street clothes and located inside the Harris County Jail, appear via videolink

before one of the five Defendant Harris County hearing officers.Hearing Officers. The hearing

officerHearing Officer determines probable cause for the arrest and reviews the bail amount

previously imposed to ensure that it conforms to the bail schedule and the systemic general policy


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12
   Gerald R. Wheeler & Gerald Fry, Project Orange Jumpsuit: The Misdemeanor Report #1 (Jan. 22, 2016), available
at http://themisresearch.org/files/MISD_2016_REPORT.pdf [Wheeler & Fry, Report #1].
13
      Harris    County     Pretrial   Services,  2014      Annual     Report     (2014)     at    8,   available  at
http://www.harriscountytx.gov/CmpDocuments/59/Annual%20Reports/2014%20Annual%20Report.pdf, (showing
in Table B.1 that roughly 60 percent of misdemeanor arrestees post money bail); Pretrial Services 2015 Annual Report,
supra note. 6 at 8.
14
  In 2014, an average of 144 people were admitted to the jail every day on misdemeanor charges. See Harris County
Pretrial   Services,    2014    Annual     Report     (2014),     supra    note   12    at    3,   available   at
http://www.harriscountytx.gov/CmpDocuments/59/Annual%20Reports/2014%20Annual%20Report.pdf (stating that
52,506 people whose most serious charge was a misdemeanor were admitted to the jail in 2013).



                                                           15
       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 94 of 128

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instructions from Harris County CourtCriminal Courts at Law Judges. about how to administer the

predetermined schedule. Throughout the hearing, the arrestees remain in the Harris County jail,

supervised by Sheriff’s Department employees, while the hearing officerHearing Officer and a

prosecutor are in a courtroom in the Harris County Courthouse.

             &$"57. These hearings are referred to locally as “magistrations,” “Article 15.17 hearings,”

or “probable cause hearings.”

             58.          The County strives to hold these hearings within 24 hours of arrest for people

charged with misdemeanors. However, arrestees often are not transported to the length ofJail in

time between arrestto meet that deadline, and probable cause, even when they are, the Sheriff

sometimes fails to ensure that all inmates in his custody receive a hearing depends on how long

the Sheriff’s booking process takes and the number of arrestees.within 24 hours. Hearing

officersOfficers represent that, on occasion,, and the County’s online case records show, that the

hearings do not always take place within 24 hours of arrest.15 At any point in the booking process,

thean arrestee can pay his or her predetermined money bail and be released.

             &%"59. If a person pays, a probable cause determination in her case will be made at a

subsequent court appearance.

             &&"60. An assistant district attorney participates in the probable cause hearings by arguing

for the hearing officerHearing Officer to make a finding of probable cause and sometimes asking

the hearing officerHearing Officer to impose bail in an amount higher than the amount on the

schedule or on the warrant. One prosecutor stated the policy recently at a probable cause hearing:

pursuant to Harris County’s bail schedule procedure, if an arrestee “can’t pay, they sit in jail.”


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  For example, Named Plaintiff Robert Ryan Ford was arrested at 8:17 p.m. on May 18, 2016, but did not have a
probable cause hearing until May 20 at 4:17 a.m. See Harris County Criminal Courts at Law Case Records Online,
available at http://www.hcdistrictclerk.com/eDocs/Public/Search.aspx.



                                                           16
       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 95 of 128

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             &'"61. Harris County does not provide defense attorneys at this hearing for those who are

unable to afford to hire an attorney.

             &("62. Almost one-third of Harris County arrestees lack a high school education and one

in five have serious mental health problems.16

             &)"63. The prosecutor and hearing officersHearing Officers sometimes engage in ex parte

conversations before the videolink is turned on. ForTo take one representative example,: during

one docket in March, outside the arrestees’ hearing, the prosecutor and the hearing officerHearing

Officer commented on the fact that one of the arrestees on the docket had been arrested multiple

times in a two-week period for trespassing at the same place. The hearing officerHearing Officer

and the prosecutor agreed privately that the individual, who was homeless, would not be released

without a money bail. The hearing officerHearing Officer imposed a $5,000 money bail. After

the hearing, the hearing officerHearing Officer said, “He’s a pest to society.” Unable to pay the

money bail, the man appeared several days later at his first court date and pled guilty.

             &*"64. In no case is a money bail determined with consideration for an arrestee’s ability to

pay., and in no case does a Hearing Officer make an inquiry into or findings concerning a person’s

present ability to pay.


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16
   Pretrial Services 2014 Annual Report, supra note 6,12 at 2. Harris County received $150,000 in May 2015 from the
MacArthur Foundation to create a proposal that would lead to a more just and effective legal system. See Press
Release, MacArthur Announces 20 Jurisdictions to Receive Funding to Reduce Jail Use (May 26, 2015), available at
https://www.macfound.org/press/press-releases/macarthur-announces-20-jurisdictions-receive-funding-reduce-jail-
use/. Harris County subsequently convened a Criminal Justice Coordinating Council, which investigated ways to
reduce incarceration. Among the most important reforms that participants discussed was to provide defense attorneys
at the probable cause hearings. Early in January 2016, the Coordinating Counsel submitted its grant proposal to the
MacArthur Foundation, seeking $4 million over two years to put its plans into effect. The final document included a
proposal for counsel only for individuals who are mentally ill. Meagan Flynn, Bail Hearings: Where Prosecutors and
Magistrates      Ensure    Defenseless     People     Stay      In   Jail   (Jan.    11,    2016),   available   at
http://www.houstonpress.com/news/bail-hearings-where-prosecutors-and-magistrates-ensure-defenseless-people-
stay-in-jail-8058308. On April 13, 2016, Harris County was awarded a $2 million MacArthur grant to reform its
criminal justice system. See Harris County receives $2 million grant to reform criminal justice system (Apr. 13,
2106), available at http://www.click2houston.com/news/watch-live-harris-county-receives-2-million-grant-to-
reform-criminal-justice-system.



                                                           17
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 96 of 128

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       65.    When the videolink is turned on, arrestees appear on a television screen, sitting in

rows of chairson benches in a room at the jail.

       &+"66. The hearing officerHearing Officer calls an individual’s name and reads the charge.

That individual gets up and stands in the middle of a red square on the floor of the room in the jail.

An assistant district attorney then reads from the complaint. The hearing officerHearing Officer

decides whether there is probable cause, finding probable cause in almost every case, and, almost

always, sets secured money bail according to the predetermined schedule. Sometimes the hearing

officerHearing Officer increases the money bail from that applied earlier at the Harris County jail,

where it was imposed pursuant toamount required by the bail schedule.

       &,"67. The process of setting bail and finding probable cause is a rote exercise, and the

hearings last approximately one minute as a matter of routine.

       &-"68. As a matter of policy and practice, hearing officersHearing Officers make no

attempt to determine an arrestee’s financial situation, and they make no inquiry into or findings

concerning an arrestee’s ability to pay the money bail amount that they impose.

       '$"69. In addition to making no affirmative inquiry into or findings concerning ability to

pay, hearing officersHearing Officers affirmatively refuse to hear any argument that an arrestee

raises about her ability to pay. If an arrestee tells the hearing officerHearing Officer that she cannot

pay the money bail, the hearing officerHearing Officer, as a matter of policy and practice, tells the

arrestee that considering a reduction of money bail from the schedule is not the purpose of that

hearing and that the arrestee should have her attorney raise the issue with the County Court at Law

Judge handling her case at her first court date after an attorney is assigned. As one hearing

officerHearing Officer stated recently, probable cause hearings are “not the forum” for discussing

a person’s ability to pay money bail or raising any related issues, and hearing officers




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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 97 of 128

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believeHearing Officers state that such questions must be addressed in an adversarial setting after

appointment of counsel.

             '%"70. On one recent occasion that is typical of standard policy, after a hearing

officerHearing Officer made a bail decision according to the money bail schedule, the arrestee

asked the hearing officerHearing Officer, “Can I say something?” The hearing officerHearing

Officer responded, “You can talk to me all you want, but it’s not going to change the outcome.

I’m setting it according to the schedule. Talk to your lawyer about it in the morning.”

             '&"71. After completing a docket of probable cause hearings in March, another hearing

officerHearing Officer was asked by an observer whether the officer is allowed to consider an

arrestee’s ability to pay when setting the money bail.           The hearing officerHearing Officer

responded, “What can I do about that? They have a bail schedule. I can’t do anything about that.”

             ''"72. Pursuant to policy and practice, it is not possible for arrestees to challenge the

constitutionality of their money bail before the hearing officer. Hearing officers determining the

question of probable causeOfficer. Hearing Officers refuse to consider deviation from the bail

schedule based on indigenceability to pay and refuse to hear evidence or argument concerning

ability to pay.

             '("73. In almost all cases, the hearing officerHearing Officer affirms the money bail

previously set pursuant to the bail schedule.17 If, however, the district attorney or arresting officer

erred in setting the money bail (i.e., the monetary amount did not conform to the bail schedule),

the hearing officerHearing Officer will alter the money bail — by raising or lowering the monetary

amount — so that it meets the schedule.




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     Flynn, supra note. 715.



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 98 of 128

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         ')"74. Sometimes district attorneys will argue for a money bail that exceeds what the

schedule requires. One district attorney recently gave the following example: If someone is

charged with unauthorized use of a vehicle, but is also being investigated for armed robbery of the

same vehicle, the district attorney will ask the judge to impose a money bail commensurate with

the more severe charge. The district attorney stated that she would ask for the higher bail to ensure

that the person will be detained because a person suspected of “something like armed robbery”

should not be released on a low money bail like $2,000.

         75.   Hearing Officers sometimes raise bail punitively and arbitrarily, doubling it if, for

example, as happened recently, an arrestee responds to a question by stating, “Yeah,” instead of

“Yes.”

         '*"76. If an individual doesis not appear atbrought to the probable cause hearing due to

medical reasons, the hearing officerHearing Officer will make a finding of probable cause and set

money bail in that person’s absence according to the predetermined schedule.

         '+"77. In Harris County, money bail is imposed based solely on the alleged offense and

the person’s criminal history and without reference to a person’s ability to pay, resulting in the

detention of arrestees based on their poverty.

                iii. The Use of Personal Bonds

         ',"78. Hearing officersOfficers sometimes recommend arrestees for release on “personal

bonds,” which meansDefendants use to mean release without any secured financial conditions.

         '-"79. Recommendations for release on personal bonds are based solely on the person’s

criminal charge and criminal history — they have nothing to do as a matter of policy and practice

with indigence or a person’s ability to pay a money bail. The vast majority of arrestees, due to the




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       Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 99 of 128

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charge against them or their criminal history, are deemed “ineligible” for personal bonds as a

matter of policy.

             80.          Only about 8 percent of misdemeanor arrestees were recommended for actually

released on personal bonds in 2014.18 According to County policies, 92% of misdemeanor

arrestees were deemed ineligible for such release. and 2015.19

             ($"81. Personal bonds are not based on any inquiry into ability to pay, and hearing

officersHearing Officers refuse to conduct such inquiries.

             (%"82. Even when individuals are recommended for personal bonds, they are not released

immediately, and they may not be released at all. Pretrial Services must first “verify” the person’s

references. — for example, because Defendants’ policy is to require references to confirm an

address, a person who is homeless cannot even “qualify” for release without payment of the

scheduled amount of bail, see infra. Sometimes, references cannot be verified for days or a week.

Sometimes they cannot be verified at all. In those cases, the person will not be released on a

personal bond and will be detained unless she can pay the money bail.

             (&"83. At any point in the verification process, the arrestee can pay the money set

bypursuant to the schedule and be released immediately.

             ('"84. Recommendations for personal bonds in misdemeanor cases are further constrained

by the instructions of the County and District CourtCourts at Law Judges, who provide strict

directives to the hearing officersHearing Officers about the money bail-setting process.




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18
  Pretrial Services 2014 Report, supra note 6, at 9.
19
  Pretrial Services 2014 Annual Report, supra note 12 at 9; Pretrial Services 2015 Annual Report, supra note 6 at 9,
available at https://pretrial.harriscountytx.gov/Library/2015%20Annual%20Report.pdf.




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 100 of 128

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             (("85. For example, hearing officersHearing Officers are instructed that they may never

recommend homeless individuals for personal bonds.release without secured financial conditions.

Some judges have told hearing officersHearing Officers never to issue personal bondsnon-

financial conditions for any defendant who is assigned to their courtroom at all,20 or for individuals

who have previously been given personal bonds in other cases. Other judges have told hearing

officersHearing Officers to consider personal bondsnon-secured financial conditions only for

“students.”21 Hearing Officers often deem an arrestee “not qualified” for a personal bond if she

just moved to the Houston area.

             45.86. In all cases, personal bonds are not granted on the basis of inabilityan inquiry into

ability to pay.

             (*"87. One hearing officerHearing Officer, pursuant to policy, recently told a group of

arrestees: “Don’t ask me for a personal bond.” He informed them that he would consider release

on a personal bond if he was authorized to consider it, and “if I’m going to give you one, I will,”

warning them again, “Don’t ask.”

             88.          At another hearing during which a Hearing Officer set an arrestee’s bond at $1,000

for driving on a suspended license, the arrestee pleaded with the officer for release without

requiring secured bail, stating that he had “no money in the world” and needed to attend a custody

hearing so he could keep his family together. The Hearing Officer refused to consider the person’s

ability to pay or permit him to be released with non-financial conditions of release.




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  James Pinkerton and Laura Caruba, Tough bail policies punish the poor and the sick, critics say (Dec. 26, 2015),
available at http://www.houstonchronicle.com/news/houston-texas/houston/article/Tough-bail-policies-punish-the-
poor-and-the-sick-6721984.php?t=373b57d418&cmpid=email-premium.
21
     Id.



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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 101 of 128

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         (+"89. An arrestee’s indigence or ability to pay is never a factor in determining whether to

recommend or approve a personal bond, and arrestees are not permitted to raise that issuenon-

financial conditions of release. Hearing Officers routinely prohibit arrestees from sharing that

information, and always refuse to consider it when setting money bail or granting a personal bond,

even when it is brought to their attention.

                  iv. Assignment to a Housing Unit

         90.     Any arrestee who was not assigned to a housing unit before her probable cause

hearing will remain inaccessible to attorneys and everyone else outside the jail after the hearing

until the jail assigns the individual to a housing unit.

         91.     It is only after being assigned to a housing unit that an arrestee can be contacted by

anyone outside the jail and will be scheduled for a hearing in a County Court at Law.

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         (-"92. Some arrestees cannot be contacted, even by attorneys, between magistration and

first appearance. A sheriff’s deputy at the jail building at 1201 Commerce Street was recently

asked to produce for attorney visits several individuals who had hadattended their probable cause

hearings within the previous 24 hours. After looking for the men for an hour, the deputy stated

that the men could not be seen, even by an attorney, until after they had been assigned to a housing



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 102 of 128

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unit in the jail., which had not yet happened. He said that the individuals were all in the basements

of one of four buildings, but he did not know which one. The deputy provided a list of the four

facilities in which the arrestees might be located (1200 Baker Street Jail; 701 North San Jacinto;

711 North San Jacinto Street; 1307 Baker Street).

       )$"93. Shortly after that conversation, a sheriff’s deputy at the jail building at 1200 Baker

Street confirmed that the same men could not be contacted until after they had been assigned to a

housing unit.

       )%"94. The deputies stated that it would take 24 to 36 hours for that to happen, during

which time no one would be able to reach these men, including any attorney. The sheriff’s deputy

said that they could not be found for the purpose of an attorney visit, but they would be found and

released if money bond was posted.

       95.     In total, it takes a minimum of 24 hours, and frequently 3 or 4 days, for an arrested

person to be fully booked into the jail, assigned to a housing unit, and made available for an

attorney or family visit. It can be another several days before a person appears in a County Court

at Law and is assigned an attorney. At any point during this period of time, a person can pay her

money bail and be released.

                 vi. First Appearances

       96.     If, after the probable cause hearing, an arrestee is still unable to purchase her release

from jail, she will be taken to a County Court at Law, usually within 24 to 48 hours of the probable

cause hearing. However, arrestees who have their probable cause hearings on Friday morning will

not see a County Court at Law Judge until the following Monday at the earliest. Individuals who

attend probable cause hearings on Friday afternoon or evening or over the weekend are unlikely

to see a Judge until the following Tuesday at the earliest.




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 103 of 128

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             )&"97. Detained individuals are assigned court-appointed attorneys at the first appearance

hearing, but there is, as a matter of practice, no review of the money bail amount previously

imposed. The County Courts at Law Judges reduce money bail amounts previously imposed in

less than 1 percent of cases.22

             53.98. Detained individuals remain in lock-up outside of the courtroom and are usually

not even brought into the courtroom on this court date unless they are pleading guilty, which many

who are detained because they are too poor to pay their money bail do because they are told that

they can get out of custody more quickly by pleading guilty if they cannot afford to pay their

money bail.

             54.99. One of the purposes and effects of Harris County’s post-arrest detention is to coerce

and process large numbers of guilty pleas prior to any person conducting any legal or factual

investigation into the charges, let alone the complete and zealous investigation and defense

required by professional standards and the Sixth Amendment to the United States Constitution.

             ))"100.                    On one typical morning in March 2016, County Court at Law Judge Pam

Derbyshire accepted four guilty pleas from detained individuals in six minutes. These individuals

had just met their attorneys, and their attorneys had conducted no meaningful investigation into

the facts or circumstances of the cases. None of the defendants had been able to pay the scheduled

money bail since their arrest several days prior. They appeared before the judge in orange

jumpsuits, handcuffed together. Several of them were sentenced to three days in jail with credit

for the three days they served between their arrest and guilty plea. This is a routine, everyday

occurrence in Harris County’s misdemeanor criminal legal system. Almost 80 percent: every one

of individuals the 16 County Courts at Law judges routinely accepts guilty pleas from individuals


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     Pinkerton & Caruba, supra note 1018.



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     Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 104 of 128

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who are in jail solely because they are too poor to pay money bail. 76.8 percent of detained

pretrialdefendants plead guilty, while only 5652.8 percent of individuals who are released

pretrialdefendants plead guilty. 23

             101. The County Courts at Law Judges — and every other actor in the County’s post-

arrest system (as well as anyone who has observed probable cause hearings or first appearances)

— know that many of the detained individuals who appear in front of them charged with

misdemeanors are being held in jail solely because they are too poor to pay the money bail amount

set by the predetermined schedule. They all have access to information about other holds that

might be keeping the person in jail. The judges and Sheriff’s Department employees and agents

have knowledge that, in hundreds of people’s cases every day, there is no reason for a person’s

detention other than the person’s inability to make the monetary payment set. The Hearing

Officers and County Courts at Law Judges have access to basic financial information if an arrestee

has been interviewed by Pretrial Services, and they therefore know that a large majority of those

appearing before them (who have not been able to pay money bail prior to the appearance) are

entirely destitute, severely impoverished, or otherwise qualify for court-appointed counsel and do

not have the assets to afford the secured financial condition of release prescribed by the

predetermined schedule.

             102. Sheriff’s Department employees and agents also observe the probable cause

hearings, which occur several times per day, and witness the Defendant Hearing Officers routinely

failing and refusing as a matter of policy and practice to consider ability to pay or alternatives to

secured financial conditions when imposing secured financial conditions of release.



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23
 Heaton, et al., The Downstream Consequences of Misdemeanor Pretrial Detention at 13 (forthcoming Stanford Law
Review) (July 14, 2016), available at http://papers.ssrn.com/sol3/papers.cfm?abstract_id=2809840.



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 105 of 128

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       103. The County Courts at Law Judges are aware of the Hearing Officers’ open,

notorious, and systemic failure to account for ability to pay. Hearing Officers frequently state that

they are refusing to consider ability to pay because of blanket instructions from the Defendant

County Courts at Law Judges. Those instructions include that recognizance release may not be

given to individuals who are homeless or to people who have previously been given personal

bonds. Additionally, arrestees who are too poor to pay money bail appear directly in front of the

Defendant County Courts at Law Judges. Those same judges routinely find those arrestees to be

indigent for purposes of appointing counsel. Further, audio-visual recordings of all of the probable

cause hearings are maintained by the County and the County Clerk.

       )*"104.        If a defendant does not plead guilty at thisher first appearance, a defense

attorney can file a motion for a reduction of the money bail amount. It typically takes at least one

week for that motion to be heard. Thus, in a typical case, it can take well over a week after arrest

for a person who cannot afford the predetermined money bail amount set by the schedule to obtain

any meaningful review of that amount.

       )+"105.        This pretrial detention scheme means that ana typical individual without

financial means will be detained solely because of her inability to make a monetary payment for

at least two days and usually three or fourto more than seven days without any opportunity for

release or to raise any issues concerning her ability to pay. Most impoverished arrestees are

detained far longer. At any moment in this process, an arrestee who can pay the money bail set by

the schedule can walk out of the doors of the jail.

       58.106.        In 2012, 22 percent of the most impoverished misdemeanor arrestees —

those who were unable to pay even a $500 money bail (the minimum amount according to the




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 106 of 128

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predetermined schedule) — were detained at disposition, having been in jail an average of almost

9 days.24

             107. In 2015, almost 17 percent of people whose money bail amount was $500 never

posted bond, and nearly 25 percent of people given a bond of $501 to $1,999 never posted it.25

             )-"108.                    In 2014 and 2015, 40 percent of misdemeanor arrestees with money bail

imposed were still in jail when their case was disposed of.26 Individuals detained pretrial wereare

more likely to be sentenced to jail, less likely to be sentenced to probation, and wereare given

sentences more than twice as long as those received by individuals who were released pretrial.27

             C.            The Harris County Jail

             *$"109.                    The Harris County Jail is the largest jail in Texas and the third largest jail

in the United States.28 It books on average 120,000 individuals per year and 330 individuals per

day.29 Most individuals arrested in Harris County are taken first to field stations run by the City

of Houston, Harris County Jail, though others may be held at, or some other arresting authority.

Anyone who does not post bail immediately after arrest will be transported to the Harris County-

run facilities or a brief period of time before being transferred to the Jail.


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  See Wheeler & Fry, Report #2, supra note 38, at 9. Only 9.7 percent of individuals detained at disposition are not
convicted, compared with 44.2 percent of individuals who are free when their case is resolved. Moreover, for people
given a $500 bail, 80.6 percent of people detained at disposition were given jail sentences, compared to 25.6 percent
of defendants released on bail at disposition. Id.
25
     Pretrial Services 2015 Annual Report, supra note 6 at 8.
26
  Pretrial Services 2014 ReportAnnual Report, supra note 6,12 at 8 (showing in Table B.1 that roughly 60 percent of
misdemeanor arrestees post money bail); Pretrial Services 2015 Annual Report, supra note 6 at 8; Pinkerton & Caruba,
supra note 1018 (stating that about half of arrestees pay bondsmen for their release).
27
     Heaton, et al., supra note 21 at 4.
28
    Sarah R. Guidry, et al., A Blueprint for Criminal Justice Policy Solutions in Harris County at 1,
http://www.americanbar.org/content/dam/aba/events/legal_aid_indigent_defendants/2015/ls_sclaid_summit_03_tcjc
_2015_harris_county_blueprint.authcheckdam.pdf [ABA Report].
29
     Id. at 9.




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 107 of 128

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             *%"110.                    The vast majority of human beings in Harris County Jail cells are not there

because they have been convicted of a crime.30 Instead, most inmates — 77 percent — are being

kept in jail cells prior to trial, despite the presumption of innocence, because they cannot afford to

pay money bail. If they could pay the money bail assigned to them, they could walk out of the

doors of the jail at any time.

             *&"111.                    In March 2016, a typical month, the average daily population of the Harris

County Jail was 8,579 individuals, 6,841 of whom were pretrial detainees. About 8 percent of

those pretrial detainees — 545 individuals — had been arrested for misdemeanors. The average

daily population of misdemeanor pretrial detainees in April was 546, and in May, it was 527.

Almost all of these individuals were there only because they were unable to afford money bail of

$5,000 or less.31

             *'"112.                    Although the jail population fell by 2,500 individuals between 2009 and

2014, the pretrial population fell by only 15 inmates.32

             *("113.                    In the past year prior to March 2016, the population of pretrial misdemeanor

detainees grew by 29 percent.33




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30
   See Office of Criminal Justice Coordination, Harris County–Jail Population March 2016 Report (April 4, 2016) at
1, on file with undersigned counsel.at 1 [Exhibit 5].
31
  Jail Population Report, supra note 18, at 3, 1. See id.; Office of Criminal Justice Coordination, Harris County–Jail
Population June 2016 Report; Office of Criminal Justice Coordination, Harris County–Jail Population July 2016
Report [Exhibits 6, 7].
32
     ABA Report, supra note 16,26 at 3.
33
     Jail Population Report, supra note 18Exhibit 5 at 1.




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 108 of 128

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             *)"114.                    Eight percent of the pretrial population regularly consists of misdemeanor

offenders. These individuals are generally in jail solely because they cannot afford their money

bail.34

             **"115.                    In 2008, the Department of Justice investigated the Harris County Jail and

launched an era of federal oversight because of the serious and systemic violations of constitutional

rights that pervaded the facility.35 The investigation led the County to form the Harris County

Criminal Justice Coordinating Council in an effort to address the overcrowding in the jail.36 Since

then, Harris County has struggled to stay within its operating capacity.37 In 2013, taxpayers spent

almost $500,000 per day to operate the jail.38

             116. Researchers recently concluded that if, from 2008 to 2013, those defendants for

whom the minimum $500 money bail was imposed had instead been released without requiring

$500 money bail, the County would have released 40,000 additional individuals, avoided almost

5,900 criminal convictions, reduced incarceration days by more than 400,000, and prevented the

commission of 1,600 felonies and 2,400 misdemeanors due to the criminogenic effects of even

brief pretrial custody. The County would have saved roughly $20 million in supervision costs

alone.39



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34
   Meagan Flynn, The Houston Man Who Refused to Plead Guilty Does Not Want an Apology (Aug. 15, 2016),
available at http://www.houstonpress.com/news/the-houston-man-who-refused-to-plead-guilty-does-not-want-an-
apology-8667533 (reporting on the case of Gilbert Cruz, a disabled veteran, whose $3,500 bail was set in his absence;
Mr. Cruz refused to plead guilty, leading to more than two months in jail, during which time he lost his job and his
car, before the charges were dismissed for lack of probable cause).
35
     ABA Report, supra note 16,26 at 2.
36
     Id.
37
     Id.
38
     Id.
39
     Heaton, et al., supra note 21 at 45–46.




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 109 of 128

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             *+"117.                    Between 2009 and 2015, 55 human beings died while in pretrial custody in

the Harris County Jail.40

             *,"118.                    Most recently, onOn April 5, 2016, arrestee Patrick Brown — who was

being held on a $3,000 bail he could not afford after being charged with misdemeanor theft —

died in the Harris County Jail.41

             *-"119.                    In March 2016, 26 percent of the average daily population had a

documented mental health history.42

             +$"120.                    There is a documented history of inmate abuse by jail guards, deaths and

suicides in the jail, inadequate training of jail staff, and lack of access to medications and medical

services. For years, the County has been aware of these intolerable conditions, which exist largely

because of the overcrowding resulting from the volume of inmates who cannot afford to pay money

bail. It has failed to remedy them.43

             +%"121.                    On a typical day, hundreds of new arrestees, presumed innocent, are

arrested and booked into this jail.44 BetweenIn 2015, 40 and 50.3 percent of them will be unable

to afford their money bail.45 Thus, atthe more than 50,000 misdemeanor arrestees never posted

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40
     Pinkerton & Caruba, supra note 1018.
41
   Ebenezer Nah, one of the inmates charged with aggravated assault in connection with the death, was eligible for
release solely because he could afford to pay for his release. He had just posted money bail and was being processed
out of the jail at the time of the fatal assault. Meagan Flynn, Inmate Beaten To Death After Spending Less Than 48
Hours In Harris County Jail (Apr. 13, 2016), available at http://www.houstonpress.com/news/inmate-beaten-to-
death-after-spending-less-than-48-hours-in-harris-county-jail-8319129.
42
     Jail Population Report for March 2016, supra note 18,29 at 3.
43
   The Houston Chronical, Jailhouse Jeopardy: Uncovering abuses at Harris County’s jail (Oct. 3, 2015–Mar. 6,
2016), available at http://www.houstonchronicle.com/local/investigations/jailhouse-jeopardy/ (providing links to a
series of articles written by several reporters).
44
  ABA Report, supra note 16,26 at 13 (stating that there are 330 bookings per day); Pretrial Service 2014 Report,
supra note 11 at 3 (stating that, in 2014, 52,506 people were arrested on misdemeanor charges, which averages 144
per day).
45
     Pretrial Services 2014 Report, supra note. 6, at 8 (Table B.1.).




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 110 of 128

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bond.46 At any given moment, there are hundreds of people charged only with misdemeanors who

are being detained byin the Harris County Jail solely because they cannot afford money bail.47

Every single one of these individuals could walk out of the jail if they were wealthy enough to pay

their money bail amount. None of them received any inquiry into their ability to pay. Only those

individuals who are too poor to purchase their release are subjected to these conditions and the

health and safety risks of pretrial jailing.

        D.                 Defendant’sDefendants’ Wealth-Based Detention Scheme Will Cause
                           PlaintiffPlaintiffs To Be Jailed Solely Due To HerTheir Inability To Pay Bail

             +&"122.                    The named PlaintiffPlaintiffs would not have to endure a minute of

incarceration if shethey paid the amount of money required by Defendants.

             +'"123.                    Individuals with outstanding warrants are frequently contacted by for-profit

bonding agencies who offer them the opportunity to pay for “non-arrest bonds” approved and used

by the County which allow them to avoid arrest altogether.48

             +("124.                    For individuals who are aware of outstanding warrants for their arrest and

able to afford to hire counsel, lawyers are sometimes able to arrange “walk-throughs” for their

clients, whereby the person charged with a crime goes to the courthouse, pays the money bail, and

gets a court date without ever going through the arrest and booking process. Arrestees able to pay

for an attorney or for a non-arrest bond are able to pay to avoid detention.




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46
     Pretrial Services 2015 Annual Report, supra note 6 at 8 (Table B.1.).
47
 See, e.g., ABA Report, supra note 1626, at 15 (noting that, in 2013 alone, there were 3,120 misdemeanor arrestees
who could not post the $500 money bail that Harris County demanded of them).
48
      All About Bail Bonds,               Services    for    Non-Arrest      Bonds    in    Houston, available at
http://www.allaboutbailbondshouston.com/services/non-arrest-bail-bonds/; All Access Bail Bonds, Services,
available at http://www.allaccessbailbonds.com/index.php/services (“A ‘Non-Arrest’ Bond lifts the warrant and
initiates the process of scheduling your day in court. This relieves the stress and worry about being arrested.”).



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 111 of 128

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       +)"125.        Arrestees    are   given    a   right   to   release    pending    trial,   but

Defendant’sDefendants’ wealth-based detention system conditions their release on their ability to

afford money bail, thus tying their pretrial freedom to their wealth status.

       +*"126.        As a matter of policy and practice, when a new arrestee is brought to the

Harris County Jail, county employees inform the arrestee that she will be released from jail

immediately if she pays her money bail amount. The arrestee is told that she will remain in jail if

she is not able to make that payment.

       ++"127.        The Harris County Sheriff’s Department collects arrestees’ money bail

payments. It is the policy and practice of the Harris County Sheriff’s Department to release only

those arrestees who pay their money bail amount.

       +,"128.        In a typical week, the Sheriff’s Department releases hundreds of individuals

who pay their money bail amount.

       +-"129.        It is the policy and practice of the Sheriff’s Department to detain individuals

who do not pay their money bail amount. Before an individual’s probable cause hearing, it is the

policy and practice of the Sheriff’s Department to detain the individual based on a money bail

amount set pursuant to a predetermined bail schedule. After a probable cause hearing, it is the

policy and practice of the Sheriff’s Department to detain the individual based on a money bail

amount approved by a hearing officerHearing Officer pursuant to the County’s bail schedule.

       ,$"130.        If a person cannot pay her money bail after her first court appearance before

a County Court at Law Judge, it is the policy and practice of the Sheriff’s Department to continue

to detain that individual unless and until she makes a monetary payment.

       ,%"131.        Under Defendants’ wealth-based procedures, those wealthy enough to pay

are released from the County jail. Some poorer arrestees eventually make arrangements with




                                                  33
     Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 112 of 128

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private bail bond companies, after spending hours, days, or weeks in jail.49 And many others who

are poorer still are left to languish in jail until the resolution of their case.

E.           Harris County’sDefendants’ Use of Money Bail Is Not Narrowly Tailored — Nor Is
             It as Effective as Many Other Methods — in Securing Court Attendance or Public
             Safety

             ,&"132.                    The empirical evidence isshows that there is no relationship between

requiring money bail as a condition of release and defendants’ rates of appearance in court.50

             ,'"133.                    While tying pretrial freedom to wealth status is the norm in Harris County,

other jurisdictions throughout the country do not hold people in jail because of their poverty.

Instead of relying on money, other jurisdictions release arrestees with pretrial supervision practices

and procedures that can help increase court attendance and public safety without requiring

detention.

             ,("134.                    Other jurisdictions employ numerous less restrictive methods of

maximizing public safety and court appearances when necessary to guard against a particular risk.

These include: unsecured bond, reporting obligations, phone and text message reminders of court

dates, rides to court for those without transportation or a stable address, counseling, drug and

alcohol treatment, batterer intervention programs, anger management courses, alcohol monitors,

or, in extreme cases of particular risk, electronic monitoring, among other services.




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49
   Because of the common availability of commercial bail bonds, those who remain in the custody of Harris County
jail are typically those that cannot even afford to pay a third-party bonding agent. The amount charged by a bonding
agent to post a $500 cash bail is typically $150, although such agents are free to refuse to pay for the release of an
arrestee for any reason or for no reason. Thus, the availability of third-party agents, at least for those arrestees who
can afford $50 but not $500, is no guarantee. The Named Plaintiffs cannot afford such a bail.
50
  Arpit Gupta, Christopher Hansman, & Ethan Frenchman, The Heavy Costs of High Bail: Evidence from Judge
Randomization (May 2, 2016) at 195, available at http://www.columbia.edu/~cjh2182/GuptaHansmanFrenchman.pdf;
(“We find no evidence that money bail increases the probability of appearance.”); Wheeler & Fry, Report #1, supra
note 511, at 4.



                                                                 34
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 113 of 128

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       ,)"135.       Other jurisdictions also employ non-monetary conditions of release,

including unsecured or “signature” bonds (which do not require payment up front for release but

instead allow immediate release upon a promise to pay the monetary amount if the person does

not appear as required), stay-away orders, curfews, or even home detention.

       ,*"136.       Harris County isDefendants are permitted by law to use these alternatives

but, as a matter of routine, choose not to for impoverished misdemeanor arrestees. The vast

majority of Harris County arrestees are processed and detained through Harris County’s money

bail scheme rather than non-monetary supervision methods. As a matter of policy and practice,

Harris County doesDefendants do not consider less restrictive alternatives rather than detention

based on money bail that a person cannot afford.

       ,+"137.       Jurisdictions with robust pretrial services and non-monetary conditions of

release achieve court-appearance rates over 90 percent, with more than 85 percent of those released

pretrial remaining arrest-free (and 98-–99 percent remaining arrest-free for violent crimes).

       ,,"138.       Empirical evidence proves that unsecured bond alone is just as effective at

ensuring appearance in court as secured money bail.

       ,-"139.       Detention on money bail increases the likelihood of conviction. A person

who is detained pretrial is 13 percent more likely to be convicted and 21 percent more likely to




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 114 of 128

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plead guilty.51 Additionally, individuals detained pretrial will be given longer jail sentences.52

Money bail is disproportionately imposed on non-white arrestees.53

             -$"140.                    Individuals who are detained — instead of released on money bail or on a

personal bond — when their case is resolved have worse case outcomes. 54 For example, 7.2

percent of individuals who are detained at disposition in Harris County are not convicted, while

34.1 percent of individuals who are free at disposition resolve their case without a conviction.

Additionally, individuals who are being confined on $500 money bail when their case is resolved

will spend a median of three days in jail (which costs the County about $1,000), while individuals

who are able to pay the $500 bail in cash (or the $150 non-refundable fee to a commercial bonding

agent) and are free at disposition will spend an average of only one day in jail.55


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51
   Megan Stevenson, Distortion of Justice: How the Inability to Pay Bail Affects Case Outcomes (May 2, 2016) at 18,
available at https://www.law.upenn.edu/cf/faculty/research/details.cfm?research_id=14047; see also Gupta, et. al,
supra note 34,47 at 13 (finding a 12 percent increase in the likelihood of conviction using the same data).); Heaton, et
al., supra note 21 at 21.
52
   Stevenson, supra note 35 at 18; see also Gupta, et. al, supra note 34, at 18–19 (“Criminal defendants assessed bail
amounts appear frequently unable to produce the required bail amounts, and receive guilty outcomes as a result.
Entered guilty pleas by defendants unwilling to wait months prior to trial and unable to finance bail likely contribute
to this result.”). Stevenson, supra note 48 at 18; Heaton, et al., supra note 21 at 21.
53
     Gupta, et. al, supra note 34,47 at 184–5.
54
  Id. at 7; See ABA Report, supra note 16, Stevenson, supra note 48 at 18; Gupta, et. al, supra note 47 at 13 (finding
a 12 percent increase in the likelihood of conviction using the same data); Heaton, et al., supra note 21 at 21; ABA
Report, supra note 26 at 13 (“[D]efendants who are not released pre-trial are more likely to be incarcerated following
a conviction, and they generally receive longer sentences upon conviction.”); Lise Olson, Study: Inmates who can’t
afford bond face tougher sentences (Sept. 15, 2013), available at http://www.houstonchronicle.com/news/houston-
texas/houston/article/Study-Inmates-who-can-t-afford-bond-face-tougher-4817053.php (discussing Carlos Mathis, an
African-American man, who was held in jail for seven months on minor drug and theft charges because he could not
afford money bail, and whose charges were dismissed); Isami Arifuku & Judy Wallen, Racial Disparities at Pretrial
and Sentencing and the Effects of Pretrial Services Programs (Mar. 11, 2013), available at
http://www.pretrial.org/download/research/Racial%20Disparities%20at%20Pretrial%20and%20Sentencing%20and
%20the%20Effects%20of%20Pretrial%20Services%20Programs%20-%20NCCD%202013.pdf; Cynthia E. Jones,
“Give Us Free”: Addressing Racial Disparities in Bail Determinations, 16 N.Y.U. Legis. & Pub. Pol’y 919 (2013);
Tina L. Freiburger, et. al, The Impact of Race on the Pretrial Decision, American Journal of Criminal Justice (2010),
available at http://libres.uncg.edu/ir/asu/f/Marcum_CD_2010_Impact_of_Race.pdf.
55
  Wheeler & Fry, Report #1, supra note 5,11 at 6–7; Lowenkamp, et al., The Hidden Costs of Pretrial Detention at 3,
19                       (Nov.                       2013),                     available                        at
http://www.pretrial.org/download/research/The%20Hidden%20Costs%20of%20Pretrial%20Detention%20-
%20LJAF%202013.pdf (studying 153,407 defendants and finding that “when held 2-3 days, low risk defendants are




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 115 of 128

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             -%"141.                    Setting a secured money bail without an inquiry into ability to pay and in

an amount higher than a person can afford by definition defeats the entire purpose of money bail

— to incentivize a person to return to court — and removes any legitimate (let alone compelling)

state interest in the setting of a financial condition. Nor is setting money bail without findings

concerning ability to pay the most narrowly tailored way to meet any other legitimate or

compelling government interest.56

             -&"142.                    Harris County’sThe Defendants’ use of money bail schedule leads

disproportionately to the detention of people of color as compared to whites. Regardless of the

amount of money bail imposed, people of color are more likely to be detained at disposition than

whites.57

             -'"143.                    Unnecessary pretrial detention causes instability in employment, housing,

and care for dependent relatives. Studies show that those detained pretrial face worse outcomes at

trial and sentencing than those released pretrial, even when charged with the same offenses.

Detained defendants are more likely to plead guilty just to shorten their jail time, even if they are

innocent. They have a harder time preparing for their defense, gathering evidence and witnesses,

and meeting with their lawyers. Studies also show that just two days of pretrial detention increases

the likelihood of future arrests and increases the future risk level of low level offenders.



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almost 40 percent more likely to commit new crimes before trial than equivalent defendants held no more than 24
hours”); Arnold Foundation, Pretrial Criminal Justice Research Summary (2013) at 5, available at:
http://www.arnoldfoundation.org/sites/default/files/pdf/LJAF-Pretrial-CJ-Research-brief_FNL.pdf (finding that
“low-risk defendants held 2-–3 days were 17 percent more likely to commit another crime within two years” and that
those detained “4-–7 days yielded a 35 percent increase in re-offense rates.”).
56
   Independently, none of the robust procedures required for a valid order of preventative detention exists, including
that there is no inquiry, let alone an inquiry with counsel and basic evidentiary norms, into whether a compelling
interest exists to detain a particular defendant, whether any particular identifiable danger or risk exists, and whether
there are alternatives to the use of secured money bail that could mitigate any particularized risk.
57
     Id.; see also Wheeler & Fry, Report #1, supra note 5,11 at 3.



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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 116 of 128

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             -("144.                    Pretrial detention is more than ten times more expensive than effective

pretrial supervision programs. Through non-monetary tools, pretrial supervision programs can

save taxpayer expense while maintaining high public safety and court appearance rates.

                                                           Class Action Allegations

             95.145.                    The named Plaintiff bringsPlaintiffs bring this action, on behalf of

herselfthemselves and all others similarly situated, for the purpose of asserting the claims alleged

in this Complaint on a common basis.

             96.146.                    A class action is a superior means, and the only practicable means, by which

the named PlaintiffPlaintiffs and unknown Class members can challenge the County’sDefendants’

unlawful wealth-based post-arrest detention scheme.

             97.147.                    This action is brought and may properly be maintained as a Classclass

action pursuant to Rule 23(a)(1)-()–(4) and Rule 23(b)(2) of the Federal Rules of Civil Procedure.

             98.148.                    This action satisfies the numerosity, commonality, typicality, and adequacy

requirements of those provisions.

             99.149.                    The Plaintiff proposesPlaintiffs propose a single Class seeking declaratory

and injunctive relief. The Declaratory and Injunctive Class is defined as: All individualsClass A

or Class B misdemeanor arrestees who are or will be detained byin Harris County custody for any

amount of time after arrest because they are unable to pay money bail.

             A.           Numerosity. Fed. R. Civ. P. 23(a)(1)

             %$$"150.                   In March 2016, the average daily population of misdemeanor arrestees

being held pretrial on money bails they could not afford was 545 individuals.58 This was a typical



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58
     Jail Population Report, supra note 18, at 1.




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      Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 117 of 128

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month. The population of pretrial misdemeanor detainees grew by 29 percent in the past year.59

Eight percent of the pretrial population, which numbers in the thousands on any given day,

regularly consists of misdemeanor offenders unable to pay a money bail.

             101.151.                   On any given day, there are thousands of outstanding misdemeanor arrest

warrants issued byin Harris County, and every day the County issues dozens more are issued.

             102.152.                   Arrestees are held in jail for varying lengths of time depending on how long

it takes them to make the cash payment that the County requiresis required for their release.

             103.153.                   Some arrestees are able to pay immediately for their release. Others are

forced to wait one or two days until they or family members can make the payment. Others will

never be able to come up with any amount of money to pay for their release.

             104.154.                   The number of current and future arrestees subject to this policy — if it is

not enjoined — numbers well into the thousands.

             B.           Commonality. Fed. R. Civ. P. 23(a)(2).

             105.155.                   The relief sought is common to all members of the Class, and common

questions of law and fact exist as to all members of the Class. The named Plaintiff seeksPlaintiffs

seek relief concerning whether the County’sDefendants’ policies, practices, and procedures violate

the rights of the Class members and relief mandating that the CountyDefendants change itstheir

policies, practices, and procedures so that the constitutional rights of the Class Membersmembers

will be protected in the future.

             106.156.                   Common legal and factual questions arise from one central scheme and set

of policies and practices: the County’sDefendants’ post-arrest wealth-based detention scheme.

The County operatesDefendants operate this scheme openly and in materially the same manner


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59
     Id.



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 118 of 128

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every day. The material components of the scheme do not vary from Class Membermember to

Class Membermember, and the resolution of these legal and factual issues will determine whether

all of the members of the classClass are entitled to the constitutional relief that they seek.

       Among the most important, but not the only, common questions of fact are:

             • Whether Harris County hasthe Defendants have a policy and practice of using a
                predetermined schedule to determine the amount of money required to secure post-
                arrest release;
             • Whether Harris County requiresthe Defendants require that scheduled amount of
                money to be paid up front before it will release releasing a person from itsthe jail;
             • Whether Defendants, at any stage in the post-arrest process, inquire into a person’s
                ability to pay the predetermined amount of money and make findings concerning
                an arrestee’s present ability to pay any amount set;
             • What standard post-arrest procedures Harris County performsthe Defendants
                perform on misdemeanor arrestees; for example, whether Harris County
                usesDefendants use any other alternate procedures for promptly releasing indigent
                people determined otherwise eligible for release but who are unable to afford a
                monetary payment.

              107.157.Among the most important common questions of law is:

             • Whether a secured “bail schedule” setting generic amounts of money required up
                front to avoid post-arrest detention without any inquiry or findings into a person’s
                present ability to pay the amount set violates the Fourteenth Amendment’s Due
                Process and Equal Protection provisions.

       C.      Typicality. Fed. R. Civ. P. 23(a)(3).

       108.158.        The named Plaintiff’sPlaintiffs’ claims are typical of the claims of the other

members of the Class, and she hasthey have the same interests in this case as all other Class

Membersmembers. Each Class Membermember is threatened with imminent and/or ongoing

confinement in jail because she cannot afford to pay the County’sa standardized cash bail amount.

The answer to whether the County’sDefendants’ wealth-based detention scheme is

unconstitutional will determine the claims of the named PlaintiffPlaintiffs and every other Class

member.

       109.159.        If the named Plaintiff succeedsPlaintiffs succeed in the claim that the


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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 119 of 128

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County’sDefendants’ policies and practices concerning post-arrest detention violate hertheir

constitutional rights, that ruling will likewise benefit every other member of the Class.

       D.     Adequacy. Fed. R. Civ. P. 23(a)(4).

       110.160.       The      named        Plaintiff     is     anPlaintiffs     are      adequate

representativerepresentatives of the Class because hertheir interest in the vindication of the legal

claims that she raisesthey raise is entirely aligned with the interests of the other Class members,

each of whom has the same basic constitutional claims. She is a memberThey are members of the

Class, and hertheir interests do not conflict with those of the other Class members.

       111.161.       There are no known conflicts of interest among members of the proposed

Class, all of whom have a similar interest in vindicating their constitutional rights in the face of

Defendants’ pay-for-freedom post-arrest detention system.

     112.162.Plaintiff isPlaintiffs are represented by attorneys from Equal Justice Under Law,

Texas Fair Defense Project, and Susman Godfrey who have experience in litigating complex civil

rights matters in federal court and extensive knowledge of both the details of Defendants’ scheme

and the relevant constitutional and statutory law. Counsels’ relevant qualifications are more fully

set forth in the contemporaneously filed Motion for Class Certification.

     113.163.The combined efforts of Class counsel have so far included extensive investigation

into fixed money bail schemes over a period of months, including numerous interviews with

witnesses, court employees, jail inmates, families, judges, attorneys practicing in courts throughout

the region, community members, statewide experts in the functioning of state and local courts,

empirical researchers, and national experts in constitutional law, post-arrest procedure, law

enforcement, judicial procedures, criminal law, pretrial services, and jails.

       114.164.       Class counsel hashave a detailed understanding of state law and practices




                                                 41
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 120 of 128

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as they relate to federal constitutional requirements. Counsel have studied the way that these

systems function in other cities and counties in order to investigate the wide array of lawful options

in practice for municipalities.

       115.165.       As a result, counsel have devoted enormous time and resources to becoming

intimately familiar with Defendants’ scheme and with all of the relevant state and federal laws and

procedures that can and should govern it. Counsel hashave also developed relationships with many

of the individuals and families most victimized by unlawful wealth-based pretrial detention

practices. The interests of the members of the Class will be fairly and adequately protected by the

PlaintiffPlaintiffs and hertheir attorneys.

           E. Rule 23(b)(2)

       116.166.       Class action status is appropriate because the CountyDefendants, through

the policies, practices, and procedures that make up its wealth-based post-arrest detention scheme,

hashave acted in the same unconstitutional manner with respect to all classClass members. The

County enforcesDefendants apply and enforce a wealth-based system of pretrial justice: some

arrestees can purchase their immediate release, while other arrestees must remain in jail solely

because they cannot pay.

       117.167.       The Class therefore seeks declaratory and injunctive relief to enjointhat will

prevent the CountyDefendants from detaining arrestees who cannot afford cash payments.

Because the putative Class challenges the County’sDefendants’ scheme as unconstitutional

through declaratory and injunctive relief that would apply the same relief to every member of the

Class, Rule 23(b)(2) is appropriate and necessary.

       118.168.       Injunctive relief compelling the CountyDefendants to comply with these

constitutional rights will similarly protect each member of the Class from being subjected to the




                                                 42
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 121 of 128

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City’sDefendants’ unlawful policies and practices. A declaration and injunction stating that

Defendants cannot detain arrestees due to their inability to make a monetary payment would

provide relief to every Class Membermember. Therefore, declaratory and injunctive relief with

respect to the Class as a whole is appropriate.

       %%-"169.       Plaintiff seeksPlaintiffs seek the following relief.

                                         Claim for Relief

          Count One: Defendants Violate Plaintiff’sPlaintiffs’ Rights By Jailing HerThem
    Because SheThey Cannot Afford A Monetary Payment.
       
       %&$"170.    Plaintiff incorporates Plaintiffs incorporate by reference the allegations in

paragraphs 1-119169.

       %&%"171.       The Fourteenth Amendment’s Equal Protection and Due Process Clauses

prohibit jailing a person because of her inability to make a monetary payment. Defendants violate

Plaintiff’sPlaintiffs’ fundamental right to pretrial liberty by keeping herenforcing against them a

system of wealth-based detention that keeps them in jail solely because shethey cannot afford to

pay money bail amounts imposed without providing any inquiry into or findings concerning

hertheir present ability to pay.




                                        Request for Relief

       WHEREFORE, PlaintiffPlaintiffs and the other Class members request that this Court

issue the following reliefprospective relief against the Defendants, who are all government actors,

pursuant to 42 U.S.C. § 1983 and, independently, directly under the Fourteenth Amendment to the

United States Constitution, so that they cease ongoing constitutional violations:




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     Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 122 of 128

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      a. A declaratory judgment that the Defendants violate the named Plaintiff’sPlaintiffs’ and
          Class Members’members’ constitutional rights by keepingoperating a system of wealth-
          based detention that keeps them in jail solely because they cannot make a monetary
          paymentafford to pay money bail amounts imposed without an providing any inquiry into
          andor findings concerning their present ability to pay;

      b. A declaratory judgment that the Hearing Officer Defendants violate the named Plaintiffs’
          and Class members’ constitutional rights by setting secured financial conditions of release
          without first providing an inquiry into an arrestee’s present ability to pay money bail and
          making findings that an arrestee has the present ability to pay any monetary amount set;

      c. An order preliminarily enjoining the Hearing Officer Defendants from imposing secured
          financial conditions of release without first providing an inquiry into an arrestee’s present
          ability to pay money bail and making findings that an arrestee has the present ability to pay
          any monetary amount set;

      d. An order and judgment preliminarily and permanently enjoining the Defendants —
          including all officers,Sheriff and his employees, and agents of from requiring any
          individual arrested by the Sheriff’s Department to satisfy a secured financial condition of
          release unless the Sheriff’s Department is informed and believes in good faith that there
          has first been an inquiry into the person’s present ability to pay the money bail amount and
          findings that the arrestee has the present ability to pay the sum;

      e. An order and judgment preliminarily and permanently enjoining the Sheriff and his
          employees and agents from accepting any arrestee into the Sheriff’s custody on the basis
          of an unfulfilled secured financial condition of release, unless the Sheriff is informed and
          believes in good faith that there has first been an inquiry into the person’s present ability
          to pay the money bail amount and findings that the arrestee has the present ability to pay
          the sum;

      f. An order and judgment preliminarily and permanently enjoining the Harris County — from
          using money bail to detain any person without procedures that ensure an inquiry into
          andCourts at Law Judges, who sit en banc to develop and oversee systemic post-arrest
          policies applicable to all arrestees in Harris County and on whose behalf all of the other
          Defendants operate the County’s money bail system, from implementing and enforcing a
          system of wealth-based detention that keeps arrestees in jail solely because they cannot
          afford to pay money bail amounts imposed without first providing an inquiry into the
          person’s present ability to pay the money bail amount and making findings that the arrestee
          has the present ability to pay the sum;60



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60
  This relief is requested in the alternative in the event that the Court concludes that the County Courts at Law Judges
are not final policymakers for post-arrest detention policies for Harris County and are instead agents of the State of
Texas or for some other entity.




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     Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 123 of 128

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      g. A declaratory judgment that the Harris County Courts at Law Judges violate the named
          Plaintiffs’ and Class members’ constitutional rights by permitting secured financial
          conditions of release to be imposed without providing for an inquiry into an arrestee’s
          present ability to pay money bail and findings that an arrestee has the present ability to pay
          any monetary amount set; 61

         "h.      Any other order and judgment this Court deems necessary to preliminarily and
            permanently enjoin Defendants — whether acting on behalf of the State, the County, or
            some other government entity — from implementing and enforcing a system of wealth-
            based detention that keeps arrestees in jail solely because they cannot afford to pay money
            bail amounts imposed without first providing an inquiry into and making findings
            concerning the person’s present ability to pay any monetary amount set.the sum;

        "i.An order and judgment granting reasonable attorneys’ fees and costs pursuant to 42 U.S.C.
            § 1988, and any other relief this Court deems just and proper.

                                                               Respectfully submitted,

                                                               /s/ Neal S. Manne____________
                                                               Neal S. Manne
                                                               Lexie G. White
                                                               1000 Louisiana Street, Suite 5100
                                                               Houston, TX 77002
                                                               Phone: (713) 651-9366
                                                               nmanne@susmangodfrey.com
                                                               lwhite@susmangodfrey.com
                                                               Michael Gervais
                                                               560 Lexington1301 Avenue, 15th of the Americas, 32nd
                                                       Floor
                                                               New York, NY 1002210019
                                                               Phone: (212) 336-8330
                                                               mgervais@susmangodfrey.com

                                                               /s/ Rebecca Bernhardt____________
                                                               Rebecca Bernhardt
                                                               Texas Bar No. 24001729
                                                               rbernhardt@fairdefense.org
                                                               Susanne Pringle
                                                               Texas Bar No. 24083686
                                                               springle@fairdefense.org
                                                               Texas Fair Defense Project
                                                               314 E. Highland Mall Blvd.


61
  This relief is requested in the alternative in the event that the Court concludes that the County Courts at Law Judges,
whether County or State actors, are acting in their judicial capacity when they commit the unconstitutional acts
challenged herein, and are subject only to declaratory relief in the first instance.



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    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 124 of 128

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                               Suite 180
                               Austin, Texas 78752
                               Telephone: (512) 637-5220
                               Facsimile: (512) 637-5224

                                /s/ Alec Karakatsanis_______________
                               Alec Karakatsanis (D.C. Bar No. 999294)
                               (Pro Hac Vice Application Pending)
                               Elizabeth Rossi (Pro Hac Vice Application Pending)
                               Attorneys, Equal Justice Under Law
                               601 Pennsylvania Ave. NW
                               South Building, 9th Floor
                               Washington, DC 20004
                               (202) 670-1004
                               alec@equaljusticeunderlaw.org
                               erossi@equaljusticeunderlawl.org

                               Attorneys for PlaintiffPlaintiffs




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  Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 125 of 128




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                    )
MARANDA LYNN ODONNELL,              )
LOETHA MCGRUDER,                    )
ROBERT RYAN FORD                    )
     On behalf of themselves and all)
     others similarly situated,     )
                                    )
            Plaintiffs,             )
                                    )
v.                                  )
                                    )         Case No. 16-cv-01414
HARRIS COUNTY, TEXAS,               )         (Consolidated Class Action)
                                    )         The Honorable Lee H. Rosenthal
SHERIFF RON HICKMAN,                )         U.S. District Judge
                                    )
ERIC STEWART HAGSTETTE,             )
JOSEPH LICATA III,                  )
RONALD NICHOLAS,                    )
BLANCA ESTELA VILLAGOMEZ,           )
JILL WALLACE,                       )
                                    )
PAULA GOODHART,                     )
BILL HARMON,                        )
NATALIE C. FLEMING,                 )
JOHN CLINTON,                       )
MARGARET HARRIS,                    )
LARRY STANDLEY,                     )
PAM DERBYSHIRE,                     )
JAY KARAHAN,                        )
ANALIA WILKERSON,                   )
DAN SPJUT,                          )
DIANE BULL,                         )
ROBIN BROWN,                        )
DON SMYTH,                          )
MIKE FIELDS,                        )
JEAN HUGHES,                        )
LINDA GARCIA                        )
                                    )
            Defendants.             )
____________________________________)
  Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 126 of 128




                                        ORDER

      Upon consideration of Plaintiffs’ Motion to File First Amended Complaint and to

Incorporate Previously-Filed Motions, it is ORDERED that the motion is GRANTED.

      Ordered this ___ day of _______________, 2016.



                                                Hon. __________________, District Judge
  Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 127 of 128




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                    )
MARANDA LYNN ODONNELL,              )
LOETHA MCGRUDER,                    )
ROBERT RYAN FORD                    )
     On behalf of themselves and all)
     others similarly situated,     )
                                    )
            Plaintiffs,             )
                                    )
v.                                  )
                                    )         Case No. 16-cv-01414
HARRIS COUNTY, TEXAS,               )         (Consolidated Class Action)
                                    )         The Honorable Lee H. Rosenthal
SHERIFF RON HICKMAN,                )         U.S. District Judge
                                    )
ERIC STEWART HAGSTETTE,             )
JOSEPH LICATA III,                  )
RONALD NICHOLAS,                    )
BLANCA ESTELA VILLAGOMEZ,           )
JILL WALLACE,                       )
                                    )
PAULA GOODHART,                     )
BILL HARMON,                        )
NATALIE C. FLEMING,                 )
JOHN CLINTON,                       )
MARGARET HARRIS,                    )
LARRY STANDLEY,                     )
PAM DERBYSHIRE,                     )
JAY KARAHAN,                        )
ANALIA WILKERSON,                   )
DAN SPJUT,                          )
DIANE BULL,                         )
ROBIN BROWN,                        )
DON SMYTH,                          )
MIKE FIELDS,                        )
JEAN HUGHES,                        )
LINDA GARCIA                        )
                                    )
            Defendants.             )
____________________________________)
    Case 4:16-cv-01414 Document 54 Filed on 09/01/16 in TXSD Page 128 of 128




                                             ORDER

       Upon consideration of Plaintiffs’ Motion for Preliminary Injunction, it is ORDERED that

the motion is GRANTED.

       Defendants must cease enforcing unconstitutional wealth-based detention policies and

practices against the Named Plaintiffs and all similarly-situated arrestees. Specifically, the Court

orders the following preliminary injunctive relief:

       1. The Hearing Officer Defendants may not impose secured financial conditions of release
           without providing an inquiry into an arrestee’s present ability to pay any secured
           financial condition of release and making findings that an arrestee has the present
           ability to pay any monetary amount set;

       2. The Sheriff and his employees and agents may not require any individual arrested by
           the Sheriff’s Department to satisfy a secured financial condition of release unless the
           Sheriff’s Department is informed and believes in good faith that there has first been an
           inquiry into the person’s present ability to pay the money bail amount and findings that
           the arrestee has the present ability to pay the sum;

       3. The Sheriff and his employees and agents may not accept any arrestee into the Sheriff’s
           custody on the basis of an unfulfilled secured financial condition of release, unless the
           Sheriff is informed and believes in good faith that there has been an inquiry into the
           person’s present ability to afford the secured financial condition of release and findings
           that the arrestee has the present ability to pay the sum;

       4. Harris County and the Harris County Courts at Law Judges may not implement or
           enforce a system of wealth-based detention that keeps arrestees in jail solely because
           they cannot afford to pay money bail amounts imposed without providing an inquiry
           into the person’s present ability to pay the money bail amount and making findings that
           the arrestee has the present ability to pay the sum;

       Ordered this ___ day of _______________, 2016.



                                                      Hon. __________________, District Judge


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